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From:                                Jones, Christopher L <Christopher.L.Jones@ice.dhs.gov>
Sent:                                Friday, September 23, 2022 5:12 PM
To:                                  Mariza Gayeski; Joyner, Jerimee R; Cary Walker; william.shipley@serbestlaw.com; Cynthia
                                     Cincotta; Deidre Ross-Pearson; Aurora Nurses; Steven Byrne
Cc:                                  Anhtuan Pham; metin@serbestlaw.com; Black, Nichole; Jarvis, Christopher; Rabe,
                                     Christopher A; Garcia, Sarah C
Subject:                             RE: [EXTERNAL] request for medical intervention and September 2022 records for Serhat
                                     BOZKUS

Flag Status:                         Flagged


Please complete the medical record request and let us know when they are ready for us to pickup.

Christopher Jones
Officer in Charge
(720) 354-6626

Sent with BlackBerry Work
(www.blackberry.com)



From: Mariza Gayeski <mgayeski@geogroup.com>
Date: Friday, Sep 23, 2022 at 15:44
To: Joyner, Jerimee R <Jerimee.R.Joyner@ice.dhs.gov>, Cary Walker <Cary.Walker@geogroupconsultants.com>,
william.shipley@serbestlaw.com <william.shipley@serbestlaw.com>, Cynthia Cincotta <ccincotta@geogroup.com>, Deidre
Ross-Pearson <drpearson@geogroup.com>, Aurora Nurses <auroranurses@geogroup.com>, Steven Byrne
<sbyrne@geogroup.com>
Cc: Anhtuan Pham <apham@geogroup.com>, metin@serbestlaw.com <metin@serbestlaw.com>, Black, Nichole
<Nichole.Black@ice.dhs.gov>, Jones, Christopher L <Christopher.L.Jones@ice.dhs.gov>, Jarvis, Christopher
<Christopher.Jarvis@ice.dhs.gov>, Rabe, Christopher A <Christopher.A.Rabe@ice.dhs.gov>, Garcia, Sarah C
<Sarah.C.Garcia@ice.dhs.gov>
Subject: Re: [EXTERNAL] request for medical intervention and September 2022 records for Serhat BOZKUS

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sender. Please use the Cofense Report Phishing button to report. If the button is not present, click here and follow instructions.

Who is the consulate attorney? and does the consulate attorney general actually needing this record???




Mariza B. Gayeski
MRC Geo Secure Services

The GEO Group, Inc.®
Aurora Processing Center
3130 Oakland Street
Aurora, CO 80010-1525
Tel: 303-361-6612 Fax: 303-341-2652
Email: mgayeski@geogroup.com
Website: www.geogroup.com
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                                                                                                                             1
This email and any files transmitted with it are confidential and are intended solely for the use of the individual or
entity to which they are addressed. If you are not the intended recipient or the person responsible for delivering the
email to the intended recipient, be advised that you have received this email in error, and that any use, dissemination,
forwarding, printing or copying of this email is strictly prohibited. If you have received this email in error, please
immediately notify by replying to this email.




From: Joyner, Jerimee R <Jerimee.R.Joyner@ice.dhs.gov>
Sent: Friday, September 23, 2022 2:41 PM
To: Cary Walker <Cary.Walker@geogroupconsultants.com>; william.shipley@serbestlaw.com
<william.shipley@serbestlaw.com>; Cynthia Cincotta <ccincotta@geogroup.com>; Deidre Ross-Pearson
<drpearson@geogroup.com>; Aurora Nurses <auroranurses@geogroup.com>; Steven Byrne <sbyrne@geogroup.com>
Cc: Anhtuan Pham <apham@geogroup.com>; metin@serbestlaw.com <metin@serbestlaw.com>; Black, Nichole
<Nichole.Black@ice.dhs.gov>; Jones, Christopher L <Christopher.L.Jones@ice.dhs.gov>; Jarvis, Christopher
<Christopher.Jarvis@ice.dhs.gov>; Rabe, Christopher A <Christopher.A.Rabe@ice.dhs.gov>; Garcia, Sarah C
<Sarah.C.Garcia@ice.dhs.gov>
Subject: RE: [EXTERNAL] request for medical intervention and September 2022 records for Serhat BOZKUS

Good Afternoon,

Can we get a copy of the complete medical records for the detainee (220 712 429). ERO will begin the process of his
removal and the complete medical records are needed to setup a continuation of care plan with his consulates office.

Respectfully,

Jerimee Joyner
Acting Assistant Officer in Charge
Detained Unit
Denver Field Office
Enforcement and Removal Operations
U.S. Immigration and Customs Enforcement
Cell: (619) 847-8997


From: Cary Walker <Cary.Walker@geogroupconsultants.com>
Sent: Friday, September 23, 2022 1:22 PM
To: william.shipley@serbestlaw.com; Cynthia Cincotta <ccincotta@geogroup.com>; Deidre Ross-Pearson
<drpearson@geogroup.com>; Aurora Nurses <auroranurses@geogroup.com>; Steven Byrne <sbyrne@geogroup.com>
Cc: Anhtuan Pham <apham@geogroup.com>; Joyner, Jerimee R <Jerimee.R.Joyner@ice.dhs.gov>;
metin@serbestlaw.com
Subject: Re: [EXTERNAL] request for medical intervention and September 2022 records for Serhat BOZKUS

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sender. Please use the Cofense Report Phishing button to report. If the button is not present, click here and follow instructions.

Good Afternoon-

This detainee has been seen 2-3 times a week for his psych and medical issues since arrival on 7/19/22. I will
break down his diagnosis and treatment plans.

    1. Allergic rhinitis- Currently on flonase. Not significant as vitals signs and labs are stable. CBC 15.8 (
        within normal range). He has never been to medical with a nose bleed.
                                                                 2
                                                                                                                             2
    2. L ear drum rupture- Chronic. Came to the facility with this issue. He has been treated with ear drops
        for otitis externa since arrival. ENT referral ordered.
    3. Periodic dizziness- secondary to ear drum rupture. Treated with antivert which is helping.
    4. PTSD- currently on zyprexa, remeron, and vistaril. Seen weekly by psych.
    5. Severe anxiety/depression
    6. Chronic food intolerance- Pt says this issue has been chronic , but has worsened since facility arrival.
    7. 16 pound weight loss in 60 days- Weight 148 on arrival, now 132. Unsure if issue is a matter of just not
        liking the food or anxiety. Pt has been given crackers with meds, protein shakes with meals, gastritis
        medications , and nausea medications. Labs and vitals have always been stable. He is receiving daily
        weight checks.
    8. Hypertension- On BP meds and seen and evaluated/followed per ICE protocol.
    9. Constipation- On stool softeners and improving
I am concerned for his weight loss and we are watching him closely in medical. The documents sent to you are
accurate on my review. Our psychologist, Dr. Willson, and I are in agreement that the majority of his issues
stem from his mental health issues and poor insight. We do not believe he is malingering or that his food
intolerance issues are caused by a treatable medical issue. It is likely that if this behavior continues we will
escalate his mental health management to inpatient treatment as he may be a risk to himself.


Dr. Cary Walker
Medical Director
Aurora Contract Detention Facility | ICE
3130 North Oakland Street
Aurora, CO 80010


From: william.shipley@serbestlaw.com <william.shipley@serbestlaw.com>
Sent: Friday, September 23, 2022 11:42 AM
To: Cynthia Cincotta <ccincotta@geogroup.com>; Deidre Ross-Pearson <drpearson@geogroup.com>; Aurora Nurses
<auroranurses@geogroup.com>; Cary Walker <Cary.Walker@geogroupconsultants.com>; Steven Byrne
<sbyrne@geogroup.com>
Cc: Anhtuan Pham <apham@geogroup.com>; 'Joyner, Jerimee R' <Jerimee.R.Joyner@ice.dhs.gov>;
metin@serbestlaw.com <metin@serbestlaw.com>
Subject: RE: [EXTERNAL] request for medical intervention and September 2022 records for Serhat BOZKUS

Dear Ms. Cincotta,

Thank you for your assistance. I wanted to ask how those records are coming along. It’s been two days since our
request. I believe you provided us with more records in less time earlier this month, so I would have thought this would
have been enough time to download Serhat’s medical records. I believe Serhat’s actually in the medical unit now so it
shouldn’t be a challenge to get his vitals or assessment of his present state of health, so I’d greatly appreciate any
updates as to your progress with respect to our request for his records month-to-date.

I’d also greatly appreciate it if you could please inform me of any status updates with respect to the following issues:
-whether Serhat’s actually being provided with any of the accommodations we requested for a means of bathing himself
other than the showers which those trigger his PTSD and the other difficulties he’s been having with his mobility and
inability to eat solid food;
-whether or not Serhat’s receiving or going to receive any of the medical treatments or medical procedures we’ve been
requesting (especially repairing his ear drum so he doesn’t lost his hearing, dental work to fix fillings some of which now
require root canals, so he can chew solid food);

                                                             3
                                                                                                                     3
-whether or not Serhat’s been seen by, or going to be seen by, any of the physicians we’ve requested he be allowed to
see for his multiple health conditions, especially an ENT for his ears and throat (to ensure his ability to hear and swallow)
a neurologist for the neurological challenges he is having (with his motor functions and to determine if these are caused
by or related to the herniated disc in his neck or aggravated by his mental health conditions);
-any additional steps medical staff are taking to stabilize his weight given his present difficulties swallowing and keeping
down anything but water at this point.

I realize you’re handling a lot simultaneously, but if you’re unable to provide status update(s) on the above, or if you’re
not the appropriate person to whom to direct these inquiries, I’d appreciate if you could please immediately forward
this email to the appropriate persons responsible for any information or further feedback they can provide with respect
to these questions.

And anything you could do to expedite the availability of Serhat’s medical records that we’ve been requesting would
also be very much appreciated. I’d respectfully ask if you could provide them by c/o/b today or, failing that, provide
some explanation for the further delay and guidance as to when you anticipate being able to do so.

I thank you in advance for your timely attention to this extremely pressing matter.

Sincerely,

William B. Shipley, Esq. | Senior Associate
Law Offices of Metin Serbest LLC
Chicago Office
2200 E Devon Ave, Ste. 358
Des Plaines, IL 60018
312-473-5500 ext. 204




From: Cynthia Cincotta <ccincotta@geogroup.com>
Sent: Wednesday, September 21, 2022 11:29 AM
To: william.shipley@serbestlaw.com; Deidre Ross-Pearson <drpearson@geogroup.com>; Aurora Nurses
<auroranurses@geogroup.com>; Cary Walker <Cary.Walker@geogroupconsultants.com>; Steven Byrne
<sbyrne@geogroup.com>
Cc: Anhtuan Pham <apham@geogroup.com>; 'Joyner, Jerimee R' <Jerimee.R.Joyner@ice.dhs.gov>;
metin@serbestlaw.com
Subject: Re: [EXTERNAL] request for medical intervention and September 2022 records for Serhat BOZKUS

Mr. Shipley,

I am in the process of downloading the latest records for you. I will send them when
they are ready. Please let me know if there is anything else that I can help with.

Thank you,

Cindy Cincotta
Medical Records Clerk, Geo Secure Services
The GEO Group, Inc.®
Aurora Processing Center
                                                              4
                                                                                                                      4
3130 Oakland Street
Aurora, CO 80010-1525

(303) 361-6612 Ext. 217
Fax (303) 360-8825

ccincotta@geogroup.com


From: william.shipley@serbestlaw.com <william.shipley@serbestlaw.com>
Sent: Wednesday, September 21, 2022 10:24 AM
To: Deidre Ross-Pearson <drpearson@geogroup.com>; Aurora Nurses <auroranurses@geogroup.com>; Cary Walker
<Cary.Walker@geogroupconsultants.com>; Steven Byrne <sbyrne@geogroup.com>
Cc: Cynthia Cincotta <ccincotta@geogroup.com>; Anhtuan Pham <apham@geogroup.com>; 'Joyner, Jerimee R'
<Jerimee.R.Joyner@ice.dhs.gov>; metin@serbestlaw.com <metin@serbestlaw.com>
Subject: RE: [EXTERNAL] request for medical intervention and September 2022 records for Serhat BOZKUS

Thank you Ms. Ross,

I understand that after your last email that our client Serhat Bozkus may have received some kind of medical attention
yesterday, but I have not been able to speak to him to confirm this, nor received any information from anyone as to his
location, health status, or medical treatment he’s receiving (if any) for any of his conditions.

We remain extremely concerned about his precarious state of health. Are there any updates on the health status,
medical care he’s receiving, where, and from whom, or copies of those medical records we requested?

Please advise on the above as soon as possible.

Thank you,

William B. Shipley, Esq. | Senior Associate
Law Offices of Metin Serbest LLC
Chicago Office
2200 E Devon Ave, Ste. 358
Des Plaines, IL 60018
312-473-5500 ext. 204


From: Deidre Ross-Pearson <drpearson@geogroup.com>
Sent: Tuesday, September 20, 2022 3:40 PM
To: william.shipley@serbestlaw.com; Aurora Nurses <auroranurses@geogroup.com>; Cary Walker
<Cary.Walker@geogroupconsultants.com>; Steven Byrne <sbyrne@geogroup.com>
Cc: Cynthia Cincotta <ccincotta@geogroup.com>; Anhtuan Pham <apham@geogroup.com>; 'Joyner, Jerimee R'
<Jerimee.R.Joyner@ice.dhs.gov>; metin@serbestlaw.com
Subject: Re: [EXTERNAL] request for medical intervention and September 2022 records for Serhat BOZKUS

Yes, we will do a wellness check on him now!!! Thanks

Deidre Ross Rn
Geo Secure Services
Aurora Processing Center
                                                           5
                                                                                                                  5
3130 Oakland Street
Aurora, CO 80010-1525
Tel: 303-361-6612 Fax: 303-341-2652




From: william.shipley@serbestlaw.com <william.shipley@serbestlaw.com>
Sent: Tuesday, September 20, 2022 2:25 PM
To: Aurora Nurses <auroranurses@geogroup.com>
Cc: Cynthia Cincotta <ccincotta@geogroup.com>; Anhtuan Pham <apham@geogroup.com>; 'Joyner, Jerimee R'
<Jerimee.R.Joyner@ice.dhs.gov>; metin@serbestlaw.com <metin@serbestlaw.com>
Subject: [EXTERNAL] request for medical intervention and September 2022 records for Serhat BOZKUS

Dear Nursing Staff of the Medical Unit of Aurora ICE Detention Facility,

I was referred to you by ICE ERO (Denver) S.D.D.O. Joyner (cc’d) for updated medical records concerning our client
Serhat BOZKUS A# 220-712-429. I am one of the legal counsel representing Mr. Bokus in his asylum and other
proceedings.

Due to Serhat’s difficulties eating and swallowing (among other mental and physical health conditions from which he is
suffering) he is dangerously underweight and in an extremely vulnerable state of health. I understand from his family
that he has suffered an additional incident yesterday of vomiting and bleeding through his nose while unsuccessfully
attempting to ingest liquids, which is all he has been able to keep down.

I’d therefore ask if you could please conduct a wellness check on him today, and also provide myself and S.D.D.O. Joyner
with his updated medical status and medical records as soon as possible (we already have his records through
September 1st, but we do not have records for this month). His signed waiver for the sharing of this medical information
is attached.

Thank you for your work attending to the medical care and medical needs of ICE detainees in custody at the Aurora ICE
Detention Center, and in particular Mr. Bozkus.

Sincerely,

William B. Shipley, Esq. | Senior Associate
Law Offices of Metin Serbest LLC
Chicago Office
2200 E Devon Ave, Ste. 358
Des Plaines, IL 60018
312-473-5500 ext. 204




                                                             6
                                                                                                                     6
From:                                Jones, Christopher L <Christopher.L.Jones@ice.dhs.gov>
Sent:                                Tuesday, September 27, 2022 11:49 AM
To:                                  william.shipley@serbestlaw.com
Cc:                                  Davies, Gregory; Black, Nichole
Subject:                             RE: Automatic reply: consideration for ATD, compassionate release, and request for
                                     medical intervention for BOZKUS A#220-712-429

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Good morning,

The request for release for your client has been reviewed. In this review, all pertinent facts of the immigration case and
medical records, both submitted by you and from facility medical, were reviewed.

Your client was housed in medical for observation from September 20, 2022 until this morning. He was released back to
general population due to his request. Your client’s medical needs have been attended too and will continue to be so
long has as he is in custody.

The BIA appeal of the immigration judge ruling denying your client Asylum, Withholding, and CAT has been denied.

Your client will not be released from custody as ERO is now in the process of beginning the removal process. Your client
will be provided with paperwork explaining this process and what his role in that process is. Any attempts to thwart the
removal process will see your client identified as a Failure to Comply case and this will simply prolong his detention.

Please let me know if you have any questions on this.

Christopher L. Jones
Acting Deputy Field Office Director/Officer in Charge
Denver Contract Detention Facility
Enforcement and Removal Operations
U.S. Immigration and Customs Enforcement
3130 North Oakland Street
Aurora, CO 80010
(O) (303) 361-6612, Ext. 130
(C) (720) 354-6626

From: william.shipley@serbestlaw.com <william.shipley@serbestlaw.com>
Sent: Tuesday, September 20, 2022 11:18 AM
To: Denver.Outreach <Denver.Outreach@ice.dhs.gov>
Cc: metin@serbestlaw.com; 'Anhtuan Pham' <apham@geogroup.com>; 'Cynthia Cincotta' <ccincotta@geogroup.com>;
Garcia, Sarah C <Sarah.C.Garcia@ice.dhs.gov>; Black, Nichole <Nichole.Black@ice.dhs.gov>; Jones, Christopher L
<Christopher.L.Jones@ice.dhs.gov>; Jarvis, Christopher <Christopher.Jarvis@ice.dhs.gov>; Rabe, Christopher A
<Christopher.A.Rabe@ice.dhs.gov>; Joyner, Jerimee R <Jerimee.R.Joyner@ice.dhs.gov>
Subject: FW: Automatic reply: consideration for ATD, compassionate release, and request for medical intervention for
BOZKUS A#220-712-429
Importance: High

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sender. Please use the Cofense Report Phishing button to report. If the button is not present, click here and follow instructions.
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Dear ICE ERO Denver Field Office,

The ongoing detention of our client Serhat Bozkus, a Kurdish asylum-seeker fleeing anti-Kurdish persecution in Turkey, is
putting his life at risk. He suffers from chronic PTSD and related anxiety (including panic attacks and sleeplessness from
insomnia or “night terrors”), Major Depression - recurrent, as well as a “mood problem” as diagnosed by mental health
clinicians at the previous facility where he was detained between April 20th and July 19 th (Cibola County Correctional
Center – see attached) according to his medical records. He also suffers from a perforated tympanic membrane
(multiple holes in his eardrum), a herniated disc in his neck causing nerve or neurological problems limiting his ability to
move, and untreated severe chronic pharyngitis, all of which cause severe pain in his neck and make it extremely
difficult to swallow or to swallow without severe pain. Also, he had multiple untreated dental problems (untreated
decay underneath his fillings), some of which have advanced to the point of requiring oral surgery (root canals) due to
the non-treatment. I’d note this is not in keeping with the Performance Based National Detention Standards (PBNDS)
2011 (rev. 2016) Ch. 4.3 (Medical Care).

Additionally, Serhat’s exposure to the steam of the showers triggers his PTSD, which, in combination with the nerve
and/or neurological problems from his neck, risks a panic attack (whose risk is heightened anxiety by his prolonged
detention), or his passing out, either of which risk possible physical injury, all of which has also happened at least once
already. His multiple requests to the detention facility to provide him some ability to bathe himself through means
other than a shower have not been accommodated. Therefore, he must risk triggering his PTSD and possible injury by
showering, or have to clean himself in a way that is inadequate and/or does not otherwise afford him privacy or dignity.

Serhat’s ongoing detention has rendered him increasingly unable to maintain his basic life functions (chewing, eating,
swallowing, sleeping, and bathing). Immediately prior to his transfer by the ICE ERO El Paso Field Office to ICE’s Denver
office, we were assured by both his SDDO and the Warden at Cibola County Correctional Center that some of the
requested medical treatment requested would be provided. After I further indicated to them that the failure to
accommodate his impairments constituted a violation of Section 504 of the Rehabilitation Act, he was unilaterally
transferred to the Aurora ICE Detention Facility. This transfer was also not in keeping with ICE policy regarding the
transfer of detainees (ICE Policy 11022.1 Detainee Transfers issued and in effect a/o 4 Jan 2012 (Federal Enterprise
Architecture Number 306-112-002b), and resulted in our client being infected with the coronavirus and contracting
COVID-19, as is also indicated in his medical records (specifically “Med records-Bozkus pt. 3.pdf” indicating a negative
COVID test at the time of his departure followed by a positive COVID test after his arrival at the Aurora facility).

I realize you cannot speak to the treatment at Cibola County Correctional Center which is outside of your area of
responsibility, or the decisions of the El Paso ICE ERO Field Office in that regard, I would hope you would agree that no
humanely operated facility would force anyone to make a choice between their cleanliness and their mental health;
intentionally or unintentionally deprive someone of their physical health, their hearing, or their sanity; or negotiating in
bad faith after promising to finally provide care, instead, transferring him without notice to his legal counsel and then
getting him infected with COVID and starting the process of attempting to obtain required medical care all over again.

The need for his care is long overdue. His health has degraded to a state of precariousness no human being should be
forced to endure. U.S. Immigration and Customs Enforcement (ICE) Enforcement and Removal Operations (ERO) holds
itself out as securing “an orderly immigration system that treats individuals humanely” (per your office’s March 2021
press conference announcing ICE Case Review (ICR) process for appropriate cases – of which Serhat’s is one)
(https://www.ice.gov/news/releases/ice-announces-case-review-process). I trust you’d agree that it is not in the public
interest for ICE to continue to detain him under these circumstances, either with respect to the United States’
immigration and asylum laws, regulations, and adjudication procedures, or with respect to the public interest in federal
agencies (intentionally or unintentionally) fail to accommodate an individual’s depriving persons in federal custody of
their mental and physical health, or subjecting them to treatment amounting to a form of cruel and unusual
punishment.



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Therefore, on our client’s behalf, and in light of Deportation Officer Sarah Garcia’s absence, and S.D.D.O. Joyner’s denials
(see emails immediately following, below), I’m requesting an internal case review by the Senior Reviewing Official in the
Denver Field Office, of the denial of our requests for compassionate release, humanitarian parole, and consideration
under Fraihat, pursuant to ICE ERO policy under these circumstances (in particular, the attached medical records,
medical research, and medical expert opinions on the impact of prolonged detention on the health and wellness of
detainees seeking asylum).

Please confirm your receipt of this request for immediate review by your Senior Reviewing Official at the ICE ERO Denver
Field Office. In light of the emergency circumstances of our client’s extremely vulnerable state of health, and because
you have all the medical information necessary to make a determination, we’d request that this Review be expedited
and would appreciate it if you could please give some indication as soon as possible but no later than today as to
whether or not you will authorize off-site medical care for our client, release our client to his sponsor so that he can seek
and obtain needed medical care, or, failing that, what steps you will be taking to provide our client minimally adequate
stabilizing medical care, treatment, and nutrition and caloric intake as of today to prevent his health from suffering any
further degradation.

I thank you in advance for your timely attention to this request under these emergency circumstances.

Sincerely,

William B. Shipley, Esq.
Law Offices of Metin Serbest




From: Joyner, Jerimee R <Jerimee.R.Joyner@ice.dhs.gov>
Sent: Tuesday, September 20, 2022 10:19 AM
To: william.shipley@serbestlaw.com
Cc: Denver.Outreach <Denver.Outreach@ice.dhs.gov>; Anhtuan Pham <apham@geogroup.com>; 'Cynthia Cincotta'
<ccincotta@geogroup.com>; metin@serbestlaw.com; Garcia, Sarah C <Sarah.C.Garcia@ice.dhs.gov>; Black, Nichole
<Nichole.Black@ice.dhs.gov>; Jones, Christopher L <Christopher.L.Jones@ice.dhs.gov>; Jarvis, Christopher
<Christopher.Jarvis@ice.dhs.gov>; Rabe, Christopher A <Christopher.A.Rabe@ice.dhs.gov>
Subject: RE: consideration for ATD, compassionate release, and request for medical intervention for BOZKUS A#220-712-
429

Good Morning,

Your client is currently ineligible for parole release under 8 CFR 212.5(b)(1) and 8 CFR 212.5(b)(5) as it pertains to
noncitizens who are considered arriving alien and as a result of a positive credible fear finding by an asylum officer was
issued a Notice to Appear. Your client was issued a Notice to Appear after he was apprehended illegally entering the
United States.

As to the medical concerns. We have consulted, and continue to consult with both the Field Medical Coordinator and
GEO medical and they have assured us that your client is receiving adequate care. We are unable to release certain
medical information due to HIPAA unless you have a release of information signed by your client on file, which I do not
see in his medical file. If you require any further information regarding your client’s medical concerns you can email
auroranurses@geogroup.com. Just note they will ask for a release of information.


Respectfully,

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Jerimee Joyner
Acting Assistant Officer in Charge
Detained Unit
Denver Field Office
Enforcement and Removal Operations
U.S. Immigration and Customs Enforcement
Cell: (619) 847-8997




From: Garcia, Sarah C <Sarah.C.Garcia@ice.dhs.gov>
Sent: Tuesday, September 20, 2022 9:59 AM
To: william.shipley@serbestlaw.com
Subject: Automatic reply: consideration for ATD, compassionate release, and request for medical intervention for
BOZKUS A#220-712-429

I am currently out of the office until March 22, 2022. Please contact any available Supervisor or the Duty Deportation
Officer for assistance otherwise I can reply after I return.

Thank you.

Officer Garcia




From: william.shipley@serbestlaw.com <william.shipley@serbestlaw.com>
Sent: Tuesday, September 20, 2022 9:58 AM
To: 'Garcia, Sarah C' <Sarah.C.Garcia@ice.dhs.gov>; jerimee.r.joyner@ice.dhs.gov
Cc: Denver.Outreach@ice.dhs.gov; 'Anhtuan Pham' <apham@geogroup.com>; 'Cynthia Cincotta'
<ccincotta@geogroup.com>; metin@serbestlaw.com
Subject: RE: consideration for ATD, compassionate release, and request for medical intervention for BOZKUS A#220-712-
429
Importance: High

Dear Ofcr. Garcia,

I left a message with you yesterday afternoon that our client Serhat Bozkus has been throwing up the water and tea he
was drinking yesterday which is all he has been able to ingest to keep him alive. His vomiting was so severe he was
bleeding from his nose and he is critically ill.

We cannot wait any longer for ICE to follow its own guidelines to afford him the necessary medical care to begin to
stabilize from his multiple serious health conditions. He has lost 25% of his body weight on top of his multiple other
untreated physical conditions and mental health conditions. The weight loss alone puts him at an objectively serious risk
of severe harm as his BMI is below 18.5.

Please confirm what actions ICE and/or the facility are taking to stabilize our client’s extremely precarious medical state
and/or afford him the medical care he needs. And please confirm your response to our requests (below) for parole
under 8 C.F.R. § 212.5(b)(1) and 8 C.F.R. § 212.5(b)(5), as well as our request for reconsideration of your Fraihat denial in
light of the ICE ERO policy which indicates Serhat “should continue to be detained only after individualized consideration
of the risk of severe illness or death” which risk appears to be manifesting itself now.

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If Serhat is unable to keep down any water, food, or liquids, as appears to be the case, then he is going to die soon.
ICE and the Aurora Detention Center facility need to take action taken on his behalf as soon as possible – i.e. TODAY – to
stabilize him and provide him with the emergency care he needs.

In light of the critical situation here, please confirm your responses to the above today and be sure to cc our principal
attorney Metin Serbest (cc’d here).
If you’d like to discuss directly by phone please reach me on my cell: 312-216-7161.

Thank you,

William B. Shipley, Esq. | Senior Associate
Law Offices of Metin Serbest LLC
Chicago Office
2200 E Devon Ave, Ste. 358
Des Plaines, IL 60018
312-473-5500 ext. 204


From: william.shipley@serbestlaw.com <william.shipley@serbestlaw.com>
Sent: Wednesday, September 14, 2022 7:37 PM
To: 'Garcia, Sarah C' <Sarah.C.Garcia@ice.dhs.gov>; jerimee.r.joyner@ice.dhs.gov
Subject: RE: consideration for ATD, compassionate release, and request for medical intervention for BOZKUS A#220-712-
429
Importance: High

Dear Officer Garcia and S.D.D.O. Joyner,

Thank you for your reply, for your office’s expedited consideration of our request for consideration under Fraihat, and
for S.D.D.O. Joyner’s consideration of our request. I did not see any reference here to our requests for parole under 8
C.F.R. § 212.5(b)(1) and 8 C.F.R. § 212.5(b)(5).
Will you be replying separately to those requests (and if so, when)? Or should I direct those to another department?

With respect to these parole requests, and in-line with your own policy quoted above, I’d ask for ICE’s specific and
explicit consideration of the professional opinions of his mental health care providers with respect to the impact of
prolonged and continued detention on his multiple serious mental health conditions, as well as of our medical evidence
submitted to you on this point (indicating that prolonged detention for persons with PTSD, anxiety, and depression has
serious and detrimental impacts on their health).

As for your response to our request under Fraihat, while I appreciate at least receiving a formal reply to our Fraihat
request, contrary to the assertions in your reply, there is no evidence in support of the conclusion that our client is a
flight risk, other than his initial means of entry, after which he voluntarily surrendered himself for the express purpose of
applying for asylum after entering without inspection. He has no prior immigration record, and multiple community ties
and sponsors willing to care for him.

Neither does the record support your contention that our client is receiving adequate medical care in detention – in fact,
all evidence indicates the opposite: that his health continues to decline precipitously which poses an unnecessary risk of
irreparable harm to him.
His health is not being adequately maintained – indeed, he hasn’t been able to eat any solid food for at least two weeks,
and he is vomiting up the liquid diet with which he is being provided. Our client now weighs 135 lbs. despite being 5’11-
6’0 tall. He has lost 25% of his body weight since entering detention (his weight having been recorded as 180 lbs. when
he entered ICE custody). He is weak and emaciated and he still cannot eat, sleep, or properly bathe himself without
triggering his PTSD and inducing severe anxiety and panic attacks. He doesn’t even have the energy to walk on his own
or carry on a conversation longer than 30 minutes.
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This situation is untenable and cannot continue without serious and unnecessary risk to our client’s life, health, well-
being, and future ability to function long-term as an independent adult even after the process for which he is being
detained has concluded.

It is arbitrary and capricious for you to baldly assert, in the face of this evidence, that our client is fine and being cared
for adequately without providing any further individualized review of the medical evidence to the contrary, or
explanation as to why ICE disagrees with the medical evidence before it, or explanation why ICE refuses to abide by our
client’s medical care plan, or explanation why ICE has refused and continues to refuse to provide authorization for the
specific medical procedures his health providers have indicated are immediately necessary and must take place as soon
as possible, but which cannot take place without ICE’s permission and prior authorization which has yet to be provided.

Your department’s own COVID-19 Requirements presently in force (attached) state as follows (at p. 30):
“When making a custody re-determination for a Fraihat subclass member, the SDDO shall ensure that the presence
of a Risk Factor is given significant weight. Only in rare cases should a Fraihat subclass member not subject to
mandatory detention remain detained, and as previously instructed in the ongoing docket review, a justification for
continued detention is required. Fraihat subclass members subject to INA § 236(c) mandatory detention must also
receive custody determinations. The SDDO must not apply the Docket Review Guidance rule against release of
aliens detained pursuant to INA § 236(c) detainees so inflexibly that none of the Fraihat subclass members are
released. Although traditional factors, such as danger to the community and risk of flight, may be considered, under
the terms of the PI, aliens subject to detention pursuant to INA § 236(c) should continue to be detained only after
individualized consideration of the risk of severe illness or death, with due regard to the public health emergency.
Blanket or cursory denials do not comply with the court’s requirement that ERO make individualized
determinations. Fraihat subclass members that are released should be enrolled into a GPS program when possible.”
[emphasis in original]

With all due respect to you and your office, you did not assign any weight to any of the risk factors, nor provide any
explanation beyond repeating that our client is allegedly a “flight risk.” Your reply failed to specifically address or
consider the specific impacts of continued detention on any of his risk factors; the medical evidence of his declining
state of health over the past several months; the professional medical opinions of his health care providers in detention
concerning his need for immediate care and of the negative impact prolonged detention is having and will continue to
have on his PTSD, Depression, Anxiety, and his multiple physical health conditions; or the clinical reports indicating all
the ways his health is worsening in detention. In light of our client’s medical evidence, as well as the other evidence we
provided concerning the impact of prolonged detention on persons with the same mental health conditions from which
our client suffers, your response does not comport with your office’s own COVID-19 Requirements which require
individualized consideration of these risk factors notwithstanding the assertion that our client is a “flight risk” – which,
again, is not substantiated with any evidence.

Therefore I would qualify your one-page form response as a “blanket or cursory denial” which does not comport with
your own department’s policy or with the federal court’s requirements that the ERO make individualized determinations
“only after individualized consideration of the risk of severe illness or death, with due regard to the public health
emergency.”

We have done everything we can to expedite the consideration of our client’s appeal and to follow appropriate channels
to make these repeated requests for medical intervention on our client’s behalf. In the meantime, ICE has an obligation
to provide for his immediate care needs and accommodate the mental and physical health conditions from which he
suffers to ensure ICE and its agents and partners maintain a minimally adequate standard of care and reasonable
accommodation for his physical and mental impairments which includes, at a minimum, basic reasonable measures to
ensure our client’s health does not decline further and that any risk untreated conditions result in serious harm or
permanent injury does not manifest itself. Right now, the evidence indicates that ICE is willfully disregarding the
obvious and immediate medical needs of our client, as well as failing to accommodate his mental and physical
disabilities.

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If ICE will not provide our client with any alternatives to detention which are called for by your own policy under these
circumstances, nor release our client from custody, then ICE needs to meet his basic health needs and accommodate his
disabilities, which thus far, ICE has failed to do with respect to our client’s above-referenced medical conditions. Failing
any reconsideration on your part, if ICE continues to insist he remain in custody no matter the cost to his physical and
mental health (not to mention the cost to the public of his detention), then ICE has a legal obligation to authorize or
otherwise provide the basic medical care he needs in order to support his minimally essential life functions and avoid
irreparable harm, permanent injury, and possible disability due to the impairment of those essential life functions that
are occasioned by the aggravation of his medical conditions due to this lack of care during his prolonged detention in ICE
custody, and I would expect some explanation as to when and how his acute medical needs are going to be met.

While I realize the majority of our client’s time in detention (and the lack of care in connection with that detention) was
spent in New Mexico under the aegis of ICE ERO – El Paso, our client is still in dire need of medical care that cannot wait
any longer. The ENT care and procedure to repair his eardrum were deemed medically necessary by Cibola County
Correctional Center’s Medical Unit per the records in your possession in APRIL and again in the first week of
JUNE. However, ICE’s authorization for that care outside of the detention facility was required, and to the best of my
knowledge, that authorization from the ICE ERO office (in either El Paso or Denver) has not been forthcoming, despite its
medical necessity, despite repeated requests from our client and his legal counsel every month for the past 4 months,
and despite written requests from his medical care providers that ICE authorize this necessary emergency care.

Therefore, I would appreciate an answer as to whether and when our client can expect to receive in-person consultation
with an Ear, Nose, and Throat (ENT) doctor to examine his ear, throat, and neck for his ruptured eardrum, chronic
pharyngitis, and an appropriate provider to examine the herniated disc in his neck, as well as assess the chronic pain
he’s experiencing relating to these conditions, and to see a dentist for the dental care he has been needing since April
for his decaying molars, which conditions are collectively preventing him from being able to eat, chew, drink, and
swallow properly. I’d also like to know whether and when ICE will provide specific authorization for the basic operation
our client needs to repair his ruptured ear drum so he does not permanently lose his hearing in that ear. Forcing our
client to endure the slow decline in his physical health and capabilities combined with an ever-increasing aggravation of
his mental health conditions and concomitant deterioration of his mental health, combined with a growing inability to
maintain his basic essential life functions, collectively constitute a form of cruel and unusual punishment that is not in
keeping with your own policies, legal obligations, or with the standards of a civilized society. Therefore, I urge you to
reconsider your insistence on detention under these circumstances, or in the alternative, provide us with further
explanation as to why you refuse to accommodate our client’s conditions or provide our client with the urgent medical
care he needs.

My thanks again for ICE’s timely consideration of our client’s acute mental and physical health conditions and what steps
(if any) ICE is taking (and when) to preserve our client’s health under the circumstances.


Sincerely,

William B. Shipley, Esq. | Senior Associate
Law Offices of Metin Serbest LLC
Chicago Office
2200 E Devon Ave, Ste. 358
Des Plaines, IL 60018
312-473-5500 ext. 204


From: Garcia, Sarah C <Sarah.C.Garcia@ice.dhs.gov>
Sent: Wednesday, August 24, 2022 4:37 PM
To: william.shipley@serbestlaw.com

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Subject: RE: consideration for ATD, compassionate release, and request for medical intervention for BOZKUS A#220-712-
429

Please see attached decision for your client.

Thank you.

Best Regards,

Sarah C. Garcia
Deportation Officer
Department of Homeland Security
Immigration Customs Enforcement
Enforcement Removal Operations - Detained Unit
Phone: 303-361-6612 x 182
Fax: 303-361-0694

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From: william.shipley@serbestlaw.com <william.shipley@serbestlaw.com>
Sent: Friday, August 19, 2022 5:01 PM
To: Garcia, Sarah C <sarah.c.garcia@ice.dhs.gov>
Cc: Joyner, Jerimee R <jerimee.r.joyner@ice.dhs.gov>
Subject: consideration for ATD, compassionate release, and request for medical intervention for BOZKUS A#220-712-429

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sender. Please use the Cofense Report Phishing button to report. If the button is not present, click here and follow instructions.

Dear Officer Garcia,

Thank you for taking the time to speak with me today in regards to our client Serhat Bozkus A# 220-712-429. Mr. Bozkus
is a legitimate ethnic Kurdish asylum-seeker from a politically active family in Turkey who has suffered torture and
persecution there and who suffers here from Major Depression, chronic PTSD from past torture in Turkey, and a
partially-diagnosed mood disorder – which were diagnosed while in ICE custody in the month following the hearing that
resulted in the denial of his asylum claim in April but which is currently on appeal and which we have every confidence
will result in an affirmation of his legitimate asylum claim. Below are links found on the DOJ EOIR’s website of relevant
and reliable Country Conditions evidence specific to Turkey which speak to the systematic persecution Kurds in Turkey
face there:
-Minority Rights International: https://minorityrights.org/minorities/kurds-2/ (outlining the systemic and historic
persecution of Kurds in Turkey, including outlawing all publications in Kurdish, all Kurdish-language education, outlawing
Kurdish parents from giving their children Kurdish by outlawing any names with the letters “q,” “w,” and “x,” and “a
heavily discriminatory policy towards the community as a whole” including "the removal of Kurdish public officials,
harassment of Kurdish political groups, targeting of Kurdish media outlets and the arrest of Kurdish politicians for
holding party gatherings in Kurdish," and conflating any effort to promote Kurdish rights, such as use of the Kurdish
language, with support for "PKK terrorists.")
-US Department of State report on Turkey: https://www.state.gov/wp-content/uploads/2021/10/TURKEY-2020-
HUMAN-RIGHTS-REPORT.pdf (details include a ruling party member’s posting photos and videos of torture of detainees
at a state facility in Diyarbakir, the largest ethnic Kurdish city in the majority-Kurdish region in southeastern Turkey at p.
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6, and other credible complaints of torture, forced disappearances, and suspicious deaths of ethnic Kurds and perceived
opponents of Turkey’s mono-ethnic state, etc.)

Our client was the victim of this persecution including torture at the hands of Turkish police on multiple occasions, for
which he suffers from Depression and chronic PTSD which was unfortunately inadequately assessed and undiagnosed at
the time of his hearing and which likely impacted his ability to easily answer questions around the details of his
trauma. He also suffers from periodic anxiety attacks as a result of his PTSD, some of which is triggered when he’s
exposed to the hot water and steam in the shower which has already resulted in one episode where he passed out and
injured himself at the previous facility.

His mental health is severely detrimentally impacted by his continued detention which is now going on 10 months. His
physical health has also worsened considerably since he was first held in ICE custody as he has not received adequate
treatment for several health conditions including chronic pharyngitis, a ruptured eardrum, tooth decay underneath his
existing fillings on both sides of his mouth, a herniated disc in his neck, among other issues.

He continues to suffer from further deterioration to both his physical and mental health which is at an extremely acute
stage. He’s barely able to chew and swallow due to the combination of his chronic pharyngitis, the herniated disc in his
neck, the decaying teeth in his mouth several of which – because the decaying fillings were not treated – now require a
root canal, and his ruptured eardrum, from which he’s probably already lost hearing in his ear due to its not being
treated despite multiple requests, and he’s barely able to walk due to his herniated disc as well as general dizziness from
a neurological disorder which may be in part due to his ear.

He’s rapidly losing weight to the point of extreme danger to his life, as he’s unable to keep down solid food and is on a
liquid protein diet, and he’s still not able to bathe himself properly due to the lack of access to bathing facilities other
than showers which trigger his PTSD.

Per our conversation, I’m forwarding you and your office the previous requests we made to ICE in April, May, June (in
the form of our bond redetermination request which was opposed by ICE on the basis of a cursory, inaccurate, and
incomplete reading of his medical records) and July just prior to his transfer, including:
-letter to ICE D.O. of April 19th, 2022 reporting his health conditions and requesting consideration pursuant to the
standing injunction in the Fraihat case.
-follow-up email of May 3rd, 2022 requesting the same, as well as medical intervention to address his health care needs
-the medical evidence from our request for a bond hearing in June 2022 as well as our reply to DHS’s opposition to that
request (clarifying the record with respect to that medical evidence)
-additional medical evidence concerning the detrimental effects of ongoing detention on the mental health of asylum
seekers, particularly with respect to PTSD, Depression, and anxiety, all of which are mental health conditions our client
suffers from;
-my prior correspondence with his previous D.O. and S.D.D.O. at ICE ERO – El Paso Field Office, and with the Warden at
Cibola County Correctional Center, repeating these requests – and the follow-up from our conference call to resolve the
crisis resulting from our client’s threatened hunger strike which he took out of desperation for his ill-treatment at that
facility – the advocacy around which appears to have resulted in his unilateral transfer by those officials to your facility
and jurisdiction.

I am repeating the same requests here for your consideration of Alternatives to Detention for our client and for his
immediate release from ICE custody on humanitarian grounds in light of his extremely acute medical needs which have
not been met and still are not being met, as well as the facility’s failure to accommodate his incapacities including in
particular his inability to bathe himself properly and his inability to chew or swallow which are the result of the decaying
teeth in his mouth for which he has received only partial care at Cibola just prior to his transfer (in mid-July) after I finally
got through to the new Warden at that facility who assured me he’d get the necessary care he needed just days before
he was unilaterally transferred to Denver for reasons that were never explained.



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We are again requesting his immediate release for which he qualifies under 8 C.F.R. § 212.5(b)(1) “Aliens who have
serious medical conditions in which continued detention would not be appropriate” and 8 C.F.R. § 212.5(b)(5) “Aliens
whose continued detention is not in the public interest as determined by those officials identified in paragraph (a) of this
section,” as well as for the fact that his continued detention without adequate medical care is causing severe and
possibly irreparable harm to his physical and mental health.

While I realize similar requests may include some hyperbole by advocates representing detained clients, the medical
evidence shows clearly that it is not hyperbole to say that his life is at risk and if he is not released or provided with
adequate medical care that allows him to swallow, chew and eat solid food, to bathe himself properly, and which does
not further aggravate his PTSD, Depression, anxiety, and mental health issues, without which he may very well die in
your custody.

I have done everything in my power to pursue good-faith efforts with DHS and ICE to release my client who should never
have been detained in the first place. He has no criminal record. He has no prior immigration record. He is not a flight
risk. He has no desire to return to Turkey and his only motivation in coming here was fleeing the anti-Kurdish
persecution that is systemic throughout Turkey. His only “crime” was entering without inspection, which was done for
the sole purpose of seeking asylum, which is his right as a person fleeing persecution to pursue. He has multiple
sponsors ready and willing to receive him pending the outcome of his asylum application proceedings. I know you are
aware of who these sponsors are and we can put you in touch with them if you have not done so already.

I ask you sincerely to evaluate the facts of his situation and release him immediately, and in the meantime, authorize
medical procedures to repair his eardrum, to repair the fillings in his teeth, to consult with an Ear, Nose, and Throat
doctor to treat his pharyngitis so the man can eat and swallow food at least. His circumstances should never have
become this dire.

Given the extreme acuity of his present situation, I ask you to respond to this request within the next 7 days.

I thank you in advance for you prompt attention to this matter.

Sincerely,

William B. Shipley, Esq. | Senior Associate
Law Offices of Metin Serbest LLC
Chicago Office
2200 E Devon Ave, Ste. 358
Des Plaines, IL 60018
312-473-5500 ext. 204




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From:                                Joyner, Jerimee R <Jerimee.R.Joyner@ice.dhs.gov>
Sent:                                Friday, September 23, 2022 3:41 PM
To:                                  Cary Walker; william.shipley@serbestlaw.com; Cynthia Cincotta; Deidre Ross-Pearson;
                                     Aurora Nurses; Steven Byrne
Cc:                                  Anhtuan Pham; metin@serbestlaw.com; Black, Nichole; Jones, Christopher L; Jarvis,
                                     Christopher; Rabe, Christopher A; Garcia, Sarah C
Subject:                             RE: [EXTERNAL] request for medical intervention and September 2022 records for Serhat
                                     BOZKUS

Flag Status:                         Flagged


Good Afternoon,

Can we get a copy of the complete medical records for the detainee (220 712 429). ERO will begin the process of his
removal and the complete medical records are needed to setup a continuation of care plan with his consulates office.

Respectfully,

Jerimee Joyner
Acting Assistant Officer in Charge
Detained Unit
Denver Field Office
Enforcement and Removal Operations
U.S. Immigration and Customs Enforcement
Cell: (619) 847-8997


From: Cary Walker <Cary.Walker@geogroupconsultants.com>
Sent: Friday, September 23, 2022 1:22 PM
To: william.shipley@serbestlaw.com; Cynthia Cincotta <ccincotta@geogroup.com>; Deidre Ross-Pearson
<drpearson@geogroup.com>; Aurora Nurses <auroranurses@geogroup.com>; Steven Byrne <sbyrne@geogroup.com>
Cc: Anhtuan Pham <apham@geogroup.com>; Joyner, Jerimee R <Jerimee.R.Joyner@ice.dhs.gov>;
metin@serbestlaw.com
Subject: Re: [EXTERNAL] request for medical intervention and September 2022 records for Serhat BOZKUS

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sender. Please use the Cofense Report Phishing button to report. If the button is not present, click here and follow instructions.

Good Afternoon-

This detainee has been seen 2-3 times a week for his psych and medical issues since arrival on 7/19/22. I will
break down his diagnosis and treatment plans.


      1. Allergic rhinitis- Currently on flonase. Not significant as vitals signs and labs are stable. CBC 15.8 (
         within normal range). He has never been to medical with a nose bleed.
      2. L ear drum rupture- Chronic. Came to the facility with this issue. He has been treated with ear drops
         for otitis externa since arrival. ENT referral ordered.
      3. Periodic dizziness- secondary to ear drum rupture. Treated with antivert which is helping.
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    4. PTSD- currently on zyprexa, remeron, and vistaril. Seen weekly by psych.
    5. Severe anxiety/depression
    6. Chronic food intolerance- Pt says this issue has been chronic , but has worsened since facility arrival.
    7. 16 pound weight loss in 60 days- Weight 148 on arrival, now 132. Unsure if issue is a matter of just not
       liking the food or anxiety. Pt has been given crackers with meds, protein shakes with meals, gastritis
       medications , and nausea medications. Labs and vitals have always been stable. He is receiving daily
       weight checks.
    8. Hypertension- On BP meds and seen and evaluated/followed per ICE protocol.
    9. Constipation- On stool softeners and improving

I am concerned for his weight loss and we are watching him closely in medical. The documents sent to you are
accurate on my review. Our psychologist, Dr. Willson, and I are in agreement that the majority of his issues
stem from his mental health issues and poor insight. We do not believe he is malingering or that his food
intolerance issues are caused by a treatable medical issue. It is likely that if this behavior continues we will
escalate his mental health management to inpatient treatment as he may be a risk to himself.



Dr. Cary Walker

Medical Director

Aurora Contract Detention Facility | ICE

3130 North Oakland Street

Aurora, CO 80010




From: william.shipley@serbestlaw.com <william.shipley@serbestlaw.com>
Sent: Friday, September 23, 2022 11:42 AM
To: Cynthia Cincotta <ccincotta@geogroup.com>; Deidre Ross-Pearson <drpearson@geogroup.com>; Aurora Nurses
<auroranurses@geogroup.com>; Cary Walker <Cary.Walker@geogroupconsultants.com>; Steven Byrne
<sbyrne@geogroup.com>
Cc: Anhtuan Pham <apham@geogroup.com>; 'Joyner, Jerimee R' <Jerimee.R.Joyner@ice.dhs.gov>;
metin@serbestlaw.com <metin@serbestlaw.com>
Subject: RE: [EXTERNAL] request for medical intervention and September 2022 records for Serhat BOZKUS

Dear Ms. Cincotta,

Thank you for your assistance. I wanted to ask how those records are coming along. It’s been two days since our
request. I believe you provided us with more records in less time earlier this month, so I would have thought this would
have been enough time to download Serhat’s medical records. I believe Serhat’s actually in the medical unit now so it
shouldn’t be a challenge to get his vitals or assessment of his present state of health, so I’d greatly appreciate any
updates as to your progress with respect to our request for his records month-to-date.

I’d also greatly appreciate it if you could please inform me of any status updates with respect to the following issues:



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-whether Serhat’s actually being provided with any of the accommodations we requested for a means of bathing himself
other than the showers which those trigger his PTSD and the other difficulties he’s been having with his mobility and
inability to eat solid food;
-whether or not Serhat’s receiving or going to receive any of the medical treatments or medical procedures we’ve been
requesting (especially repairing his ear drum so he doesn’t lost his hearing, dental work to fix fillings some of which now
require root canals, so he can chew solid food);
-whether or not Serhat’s been seen by, or going to be seen by, any of the physicians we’ve requested he be allowed to
see for his multiple health conditions, especially an ENT for his ears and throat (to ensure his ability to hear and swallow)
a neurologist for the neurological challenges he is having (with his motor functions and to determine if these are caused
by or related to the herniated disc in his neck or aggravated by his mental health conditions);
-any additional steps medical staff are taking to stabilize his weight given his present difficulties swallowing and keeping
down anything but water at this point.

I realize you’re handling a lot simultaneously, but if you’re unable to provide status update(s) on the above, or if you’re
not the appropriate person to whom to direct these inquiries, I’d appreciate if you could please immediately forward
this email to the appropriate persons responsible for any information or further feedback they can provide with respect
to these questions.

And anything you could do to expedite the availability of Serhat’s medical records that we’ve been requesting would
also be very much appreciated. I’d respectfully ask if you could provide them by c/o/b today or, failing that, provide
some explanation for the further delay and guidance as to when you anticipate being able to do so.

I thank you in advance for your timely attention to this extremely pressing matter.

Sincerely,

William B. Shipley, Esq. | Senior Associate
Law Offices of Metin Serbest LLC
Chicago Office
2200 E Devon Ave, Ste. 358
Des Plaines, IL 60018
312-473-5500 ext. 204




From: Cynthia Cincotta <ccincotta@geogroup.com>
Sent: Wednesday, September 21, 2022 11:29 AM
To: william.shipley@serbestlaw.com; Deidre Ross-Pearson <drpearson@geogroup.com>; Aurora Nurses
<auroranurses@geogroup.com>; Cary Walker <Cary.Walker@geogroupconsultants.com>; Steven Byrne
<sbyrne@geogroup.com>
Cc: Anhtuan Pham <apham@geogroup.com>; 'Joyner, Jerimee R' <Jerimee.R.Joyner@ice.dhs.gov>;
metin@serbestlaw.com
Subject: Re: [EXTERNAL] request for medical intervention and September 2022 records for Serhat BOZKUS

Mr. Shipley,

I am in the process of downloading the latest records for you. I will send them when
they are ready. Please let me know if there is anything else that I can help with.

Thank you,

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Cindy Cincotta


Medical Records Clerk, Geo Secure Services

The GEO Group, Inc.®

Aurora Processing Center

3130 Oakland Street

Aurora, CO 80010-1525



(303) 361-6612 Ext. 217

Fax (303) 360-8825



ccincotta@geogroup.com



From: william.shipley@serbestlaw.com <william.shipley@serbestlaw.com>
Sent: Wednesday, September 21, 2022 10:24 AM
To: Deidre Ross-Pearson <drpearson@geogroup.com>; Aurora Nurses <auroranurses@geogroup.com>; Cary Walker
<Cary.Walker@geogroupconsultants.com>; Steven Byrne <sbyrne@geogroup.com>
Cc: Cynthia Cincotta <ccincotta@geogroup.com>; Anhtuan Pham <apham@geogroup.com>; 'Joyner, Jerimee R'
<Jerimee.R.Joyner@ice.dhs.gov>; metin@serbestlaw.com <metin@serbestlaw.com>
Subject: RE: [EXTERNAL] request for medical intervention and September 2022 records for Serhat BOZKUS

Thank you Ms. Ross,

I understand that after your last email that our client Serhat Bozkus may have received some kind of medical attention
yesterday, but I have not been able to speak to him to confirm this, nor received any information from anyone as to his
location, health status, or medical treatment he’s receiving (if any) for any of his conditions.

We remain extremely concerned about his precarious state of health. Are there any updates on the health status,
medical care he’s receiving, where, and from whom, or copies of those medical records we requested?

Please advise on the above as soon as possible.

Thank you,

William B. Shipley, Esq. | Senior Associate
Law Offices of Metin Serbest LLC
Chicago Office
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2200 E Devon Ave, Ste. 358
Des Plaines, IL 60018
312-473-5500 ext. 204


From: Deidre Ross-Pearson <drpearson@geogroup.com>
Sent: Tuesday, September 20, 2022 3:40 PM
To: william.shipley@serbestlaw.com; Aurora Nurses <auroranurses@geogroup.com>; Cary Walker
<Cary.Walker@geogroupconsultants.com>; Steven Byrne <sbyrne@geogroup.com>
Cc: Cynthia Cincotta <ccincotta@geogroup.com>; Anhtuan Pham <apham@geogroup.com>; 'Joyner, Jerimee R'
<Jerimee.R.Joyner@ice.dhs.gov>; metin@serbestlaw.com
Subject: Re: [EXTERNAL] request for medical intervention and September 2022 records for Serhat BOZKUS

Yes, we will do a wellness check on him now!!! Thanks


Deidre Ross Rn

Geo Secure Services

Aurora Processing Center

3130 Oakland Street

Aurora, CO 80010-1525

Tel: 303-361-6612 Fax: 303-341-2652




From: william.shipley@serbestlaw.com <william.shipley@serbestlaw.com>
Sent: Tuesday, September 20, 2022 2:25 PM
To: Aurora Nurses <auroranurses@geogroup.com>
Cc: Cynthia Cincotta <ccincotta@geogroup.com>; Anhtuan Pham <apham@geogroup.com>; 'Joyner, Jerimee R'
<Jerimee.R.Joyner@ice.dhs.gov>; metin@serbestlaw.com <metin@serbestlaw.com>
Subject: [EXTERNAL] request for medical intervention and September 2022 records for Serhat BOZKUS

Dear Nursing Staff of the Medical Unit of Aurora ICE Detention Facility,

I was referred to you by ICE ERO (Denver) S.D.D.O. Joyner (cc’d) for updated medical records concerning our client
Serhat BOZKUS A# 220-712-429. I am one of the legal counsel representing Mr. Bokus in his asylum and other
proceedings.

Due to Serhat’s difficulties eating and swallowing (among other mental and physical health conditions from which he is
suffering) he is dangerously underweight and in an extremely vulnerable state of health. I understand from his family
that he has suffered an additional incident yesterday of vomiting and bleeding through his nose while unsuccessfully
attempting to ingest liquids, which is all he has been able to keep down.

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I’d therefore ask if you could please conduct a wellness check on him today, and also provide myself and S.D.D.O. Joyner
with his updated medical status and medical records as soon as possible (we already have his records through
September 1st, but we do not have records for this month). His signed waiver for the sharing of this medical information
is attached.

Thank you for your work attending to the medical care and medical needs of ICE detainees in custody at the Aurora ICE
Detention Center, and in particular Mr. Bozkus.

Sincerely,

William B. Shipley, Esq. | Senior Associate
Law Offices of Metin Serbest LLC
Chicago Office
2200 E Devon Ave, Ste. 358
Des Plaines, IL 60018
312-473-5500 ext. 204




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                               CURRICULUM VITAE

                             HADLEY C. OSRAN, M.D.

                               Atascadero State Hospital
                                    P. O. Box 7001
                              Atascadero, California 93423
                                     805-468-2046
                                   Fax 805-468-2954

                                  Private Practice:
                                   P. O. Box 180
                          Atascadero, California 93423-0180


BIRTH: Evanston, Illinois; August 16, 1960
CITIZENSHIP: United States
CALIFORNIA MEDICAL LICENSE NUMBER: G 61672
DEA NUMBER: BO 1242609

EDUCATION:

Undergraduate: Creighton University, Omaha Nebraska, 1978-1982. B.S., 1982
Chemistry, Magna Cum Laude

Graduate: University of Illinois College of Medicine, Rockford, Illinois 1982-1986 M.D.,
1986

PSYCHIATRY INTERNSHIP AND RESIDENCY:

University of California, Irvine, Department of Psychiatry and Human Behavior, 1986-
1990

FORENSIC PSYCHIATRY FELLOWSHIP:

University of Southern California, School of Medicine, Department of Psychiatry and
Behavioral Sciences, Institute of Psychiatry, Law and Behavioral Sciences, July 1990 to
June 1992




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BOARD CERTIFICATIONS:

Diplomate American Board of Psychiatry and Neurology, 1992 (lifetime), added
qualifications in Forensic Psychiatry, 1994-2004 and 2009 to 2019.


APPOINTMENTS:

Chief Resident, Department of Psychiatry, Long Beach Veterans Administration Medical
Center, July 1989-June 1990

Assistant Ward Chief, Special Treatment Unit Department of Psychiatry, Long Beach
Veterans Administration Medical Center, July 1998-June 1990

Resident Representative Education and Curriculum Committee University of California,
Irvine, Department of Psychiatry and Human Behavior, April 1987-June 1990

Resident Representative, Executive Council, Orange County psychiatric Society, July
1989-June 1990

Senior Psychiatrist Specialist, Atascadero State Hospital, July 1999 – current

Chief of Staff, Atascadero State Hospital 2015 to 2019, 2021 to 2022

Vice Chief of Staff, Atascadero State Hospital 2002 to 2005, 2020 to 2021

Chair, Department of Psychiatry, Atascadero State Hospital 2005 to 2007, 2008-2010



RESEARCH EXPERIENCE:

“Adrenal Androgen Dissociation in Patients with Major Depression,” Department of
Psychiatry and Internal Medicine, university of California, Irvine Long Beach Veterans
Administration Medical Center. July to December 1987. Adviser: Lawrence Parker,
M.D., Chistopher Reist, M.D.




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“Double - Blind, Dose Ranging Trial Comparing the Extra pyramidal (EPS) Liability of
CGP-19486A to Haloperidol in Hospital Patients with Chronic Schizophrenia.”
Department of Psychiatry, University of California, Irvine, Long Beach Veterans
Administration Medical Center. July 1989-June 1990. Adviser: Christopher Reist, M.D.

Factors clinicians use to identify the “dangerous” patient. Atascadero State Hospital,
Forensic Services. Co-investigator: Angela Kedzior, M.D., January 1998

EMPLOYMENT:

Atascadero State Hospital, Atascadero, California . August 2007 to present. Senior
Psychiatrist Specialist, Duties: Chief of Trial Competency Project, forensic consultation
and report writing, education of psychiatry staff in Forensic Psychiatry

Department of Corrections and Rehabilitation (CDCR) Sate of California, February 2007
to July 2007. Staff Psychiatrist, Duties: treatment of mentally ill inmates

Atascadero State Hospital; Atascadero, California. February 1997 to February 2007.
Appointed as Chief of Forensic Psychiatry July 1999., Duties: Forensic evaluation and
testimony, consultation and education of medical staff, teaching and supervision of
Forensic psychiatry fellows, clinical care of patients

Medical College of Virginia, Department of Psychiatry; work assignment to Central State
Hospital, Petersburg, Virginia as Medical Director of Forensic Unit. March 1994 to
February 1997. Duties: oversee medical treatment, supervision of medical staff, program
development, patient treatment and forensic evaluation.

Correctional Health Services, Maricopa County, Arizona, September 1992 to March
1994. Duties: psychiatric consultant, treatment of inpatient and outpatient adults,
juveniles and forensic evaluation.

West End Family Counseling, Ontario, California. April 1988 to June 1992 (inclusive).
Psychiatric Consultant. Duties: psychiatric consultant, treatment and evaluation of adults
and children, consultation to staff.

ACADEMIC APPOINTMENTS/ TEACHING EXPERIENCE:

Director, Atascadero State hospital rotation, University of California at Los Angeles,
Forensic Psychiatry Fellowship, April 1997 to June 2001

Director, University of California, San Francisco (UCSF) - Atascadero State Hospital -
Forensic Psychiatry Fellowship Program and Assistant Clinical Professor of Psychiatry -
3




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UCSF, April 1997 to June 1998. Duties: Direct forensic psychiatry education for
forensic psychiatry fellows.

Assistant Professor and Director of Forensic Psychiatry, Department of Psychiatry,
Medical College of Virginia - Virginia Commonwealth University, 1994 to 1997. Duties:
Direct forensic psychiatry education for forensic psychiatry fellow, psychiatry residents
and teach medical students.

Clinical Instructor, University of Southern California, School of Medicine, Department of
Psychiatry and Behavioral Sciences, July 1990 - June 1992. Duties: Supervise forensic
psychiatry experience for psychiatry residents.

Assist in teaching mental health professionals, Basic Forensic Psychiatry and NGRI
evaluation, for Department of Mental Health, Substance Abuse and Mental Retardation,
State of Virginia, March 1994 to 1997.

JUDICIAL APPOINTMENTS:

Maricopa County Superior Court, Mental Health Panel, 1992-1994

State of Virginia, Psychiatric Forensic Review Panel, 1994 to 1997

San Luis Obispo Country Superior Court Mental Health Panel 1997 to 2006

PUBLICATIONS:

Adrenal Androgens and Cortisol in Major Depression, Osran H, Reist C, Chen C, Lifrak
E, Chicz DeMet A, Parker L, American Journal of psychiatry 1993; 150:806-809.

Personality Disorders and “Restoration of Sanity”, Osran H, Weinberger L, Bulletin of
the American Academy of Psychiatry and the Law, 1994; Vol. 22, No. 2:257-267.

Cocaine and Criminal Responsibility, Osran H , Sharma K, Weinberger L., American
Journal of Forensic Psychiatry, 1996; Vol 17, No.3:37-52.

The Impact of Surgical Castration on Sexual Recidivism Among Sexually Violent
Predatory Offenders, Weinberger L, Sreenivasan S, Garrick T, Osran H., The Journal of
the American Academy of Psychiatry and Law, 2005; Vol.33, No.1: 16-36

Living Outside the Wire: Toward a Transpersonal Resilience Approach for OIF/OEF
Veterans Transitioning to Civilian Life, Osran H., Smee D., Sreenivasan S., Weinberger
L., The Journal of Transpersonal Psychology, 2010 Vol. 42, No.2 209-235

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PRESENTATIONS:

Adrenal Androgens and Cortisol in Major Depression. Osran H, Reist C, Chen C, Lifrak
E, Parker L, presented American Psychiatric Association, 143rd Annual Meeting, NY,
NY, May 14, 1990.

Personality Disorders and “Restoration of Sanity”. Osran H, Weinberger L, presented
American Academy of Forensic Sciences, New Orleans, LA, 44th Annual Meeting,
February 22, 1992.

Cocaine and Criminal Responsibility, Osran H, Sharma K, presented American Academy
of Forensic Sciences, New Orleans, LA, 44th Annual Meeting, February 22, 1992.

Jail Treatment and Dual Agency. Forensic Symposium, Charlottesville, VA May 1994
May 10, 1996.

Schizophrenia and Violence: Panel Discussion, Forensic Symposium, Charlottesville,
VA, May 10, 1996.

Towards an Integrative Model of Dangerousness. Osran H, Sharma K, presented
American Academy of Forensic Sciences, San Francisco, CA 50th Annual Meeting,
February 12, 1998.

Clinical Factors Correlated with the Finding of Dangerousness in Mentally Disordered
Offenders. Osran H, presented American Academy of Forensic Sciences, Reno, Nevada,
February 26, 2000.

The Bullet Train to Competency, Osran H., Gaines Gayle, presented Forensic Mental
Health Conference, Patton State Hospital, Patton California, October 1, 2009

The Bullet Train to Competency, Osran H., Gaines Gayle, presented Forensic Mental
Health Association of California, Seaside, California March 25, 2010



AWARDS:

Senior Resident Research Award, First Prize, June 15, 1990.

MILITARY EXPERIENCE:

United States Army Reserve, Medical Corp, Commissioned Officer: 2004 to 2019, rank
Colonel.
5




                                                                                       31
Deployed:
1. March to June 2007, Iraq, assigned to the 399th Combat Support Hospital
2. February to May 2009, Iraq assigned to the 55th Combat Stress Control Company
3. March to June 2011, Kosovo, assigned to the 115th Hospital Detachment
4. April to July 2012, Keller Army Hospital, West Point, NY
5. April to July 2014, Landstuhl Regional Medical Center, Germany
6. June to September 2019, Walter Reed Military Medical Center, Bethesda Maryland




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    Research letters




   Mental health of detained asylum seekers
   Allen S Keller, Barry Rosenfeld, Chau Trinh-Shevrin, Chris Meserve, Emily Sachs, Jonathan A Leviss, Elizabeth Singer, Hawthorne Smith,
   John Wilkinson, Glen Kim, Kathleen Allden, Douglas Ford

   Asylum seekers arriving in the USA are likely to be held in                           The US Immigration and Naturalization Services (INS)
   detention for months or years pending adjudication of their                        permitted access to detention facilities in New York, New
   asylum claims. We interviewed 70 asylum seekers detained in                        Jersey, and Pennsylvania. These facilities included two INS
   New York, New Jersey, and Pennsylvania. We used self-report                        detention centres run by private contractors. These jails are
   questionnaires to assess symptoms of anxiety, depression,                          virtually windowless converted warehouses where only
   and post-traumatic stress disorder. At baseline, 54 (77%)                          non-criminal INS detainees are incarcerated. Additionally,
   participants had clinically significant symptoms of anxiety,                       access was permitted to three local government-run jails in
   60 (86%) of depression, and 35 (50%) of post-traumatic                             which criminals are also held. In all of these facilities,
   stress disorder; all symptoms were significantly correlated                        asylum seekers are heavily guarded, required to wear jail
   with length of detention (p=0·004, 0·017, and 0·019,                               uniforms, and are shackled whenever they are transported
   respectively). At follow-up, participants who had been                             outside of the detention facilities. The INS did not allow us
   released had marked reductions in all psychological                                access to a random sample of detained asylum seekers at
   symptoms, but those still detained were more distressed than                       these facilities. Therefore, we asked six local organisations
   at baseline. Our findings suggest detention of asylum seekers                      providing pro-bono legal representation to detained asylum
   exacerbates psychological symptoms.                                                seekers to contact clients and ask about their willingness to
                                                                                      be interviewed. Detainees were informed by researchers of
   Lancet 2003; 362: 1721–23                                                          the voluntary nature of the study and that participation
   Worldwide, there is a growing trend toward detention of                            would not affect their asylum applications. We obtained
   asylum seekers arriving in industrialised countries for                            written informed consent from all participants. The study
   months or even years pending adjudication of their asylum                          was approved by the Institutional Review Board of New
   claims.1 In the USA, 5000 asylum seekers are estimated to                          York University School of Medicine and a review
   be held in detention,1–3 although reliable statistics on the                       committee for Physicians for Human Rights.
   number of detained asylum seekers are unavailable.                                    Detainees were interviewed by physicians experienced in
   Detention of asylum seekers has concerned health                                   caring for refugees; translators assisted if necessary.
   professionals and human rights advocates, in part because                          Standardised psychological symptom measures were used:
   of the potential detrimental effects on the mental health of                       the Hopkins symptom checklist-25 (HSCL-25)4 and the
   detainees.1,3 Research on this subject, however, has been                          post-traumatic stress disorder subscale of the Harvard
   limited by difficulties in gaining access to detention                             trauma questionnaire (HTQ).5 Both measures have been
   centres. The Bellevue New York University (NYU)                                    used in studies of refugee populations and previously
   Program for Survivors of Torture and Physicians for                                translated and back-translated in several languages,
   Human Rights have done a systematic and longitudinal                               including French, Spanish, and Arabic. For participants
   study of the effects of postmigration detention on the                             who spoke other languages, scales were translated by the
   mental health of asylum seekers.                                                   interpreter. Demographic information and history of
                                 Detained (n=35)                                                Released (n=26)
                                 Number (%) above                Symptom scores,                Number (%) above                           Symptom scores,
                                 recommended cut-off*            mean (SD)                      recommended cut-off*                       mean (SD)
   Baseline
   Anxiety                       28 (80%)                        2·40 (0·71)                    19 (73%)                                    2·33 (0·72)
   Depression                    30 (86%)                        2·52 (0·69)                    22 (85%)                                    2·45 (0·65)
   PTSD                          19 (54%)                        2·52 (0·62)                    10 (39%)                                    2·45 (0·62)
   Follow-up
   Anxiety                       30 (86%)                        2·58 (0·80)                     9 (35%)                                    1·59 (0·56)
   Depression                    31 (89%)                        2·73 (0·70)                    10 (39%)                                    1·65 (0·59)
   PTSD                          21 (60%)                        2·63 (0·71)                     3 (12%)                                    1·80 (0·56)
   Change in symptom scores†
   Anxiety                         ··                            0·17 (0·61)                     ··                                        –0·75 (0·84)
   Depression                      ··                            0·21 (0·42)                     ··                                        –0·80 (0·81)
   PTSD                            ··                            0·12 (0·51)                     ··                                        –0·64 (0·64)
   PTSD=post-traumatic stress disorder. *Cut-offs: 1·75 for HSCL-25 depression and anxiety subscales, 2·5 for HTQ. †p not significant for changes in any symptom
   score in detained group. p=0·0001 for all three symptom score changes in released group. Mean (SD) values are group mean at each assessment.
   Change=change in mean score from baseline assessment.
   Psychological symptoms of asylum seekers still detained and those released at follow-up


   THE LANCET • Vol 362 • November 22, 2003 • www.thelancet.com                                                                                            1721

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                                       1·00    Released (n=26)
                                                                                                    or friend, and 18 (26%) reported
                                               Detained (n=35)
                                                                                                    sexual assault. 54 (77%) detainees
                                       0·80                                                         had clinically significant symptoms of
   Change in symptom distress scores

                                                                                                    anxiety, 60 (86%) of depression,
                                       0·60
                                                                                                    and 35 (50%) of post-traumatic
                                       0·40                                                         stress disorder. 18 (26%) participants
                                                                                                    reported thoughts of suicide while in
                                       0·20                                                         detention, and two reported having
                                                                                                    attempted suicide.
                                       0·00                                                            49 (70%) participants perceived their
                                                                                                    mental health as having worsened
                                       –0·20
                                                                                                    substantially while in detention, and
                                       –0·40                                                        this perception was supported by
                                                                                                    Spearman correlations between length
                                       –0·60                                                        of time in detention and baseline
                                                                                                    levels of anxiety (rs=0·34, p=0·004),
                                       –0·80                                                        depression (0·28, p=0·017), and
                                                                                                    post-traumatic stress disorder (0·28,
                                       –1·00
                                                                                                    p=0·019). Baseline mental health
                                                    Anxiety      Depression   PTSD                  scores did not differ significantly
                                                   (HSCL-25)      (HSCL-25)   (HTQ)
                                                                                                    between detainees eventually released
   Changes in psychological distress at follow-up                                                   and those who remained in detention,
   PTSD=post-traumatic stress disorder.                                                             although differences were significant at
                                                                                                    follow-up (table). Participants still
   traumatic experiences were elicited from participants’                      detained at follow-up had increased symptom scores for
   asylum applications. Detainees who could be located were                    anxiety, depression, and post-traumatic stress disorder,
   followed up 2 months or more after the initial interview to                 whereas those who had been released had lower scores on
   assess psychological changes.                                               all three scales (p<0·0001; figure).
      Spearman correlation coefficients were used to analyse                      Nearly all the detainees in our study had clinically
   the relation between length of detention, which                             significant symptoms of anxiety, depression, or post-
   had a skewed distribution, and psychological distress.                      traumatic stress disorder, which worsened with time in
   Independent sample t tests were used to assess differences                  detention and improved on release. Our findings support
   in psychological distress between baseline and follow-up                    anecdotal observations of other researchers and highlight
   for patients who had been released and those still detained                 the concerns raised by health professionals about the
   at follow-up.                                                               adverse effect of detention on asylum seekers.1,2
      Between Jan 1, 2001, and June 15, 2002, 87 detainees                          A limitation of our study is that there was no
   (73% of the caseload for the six agencies providing                         comparison group of non-detained asylum seekers.
                                          Of these 87, 17 were
   referrals) were referred to the study. O                                    Although our sample of released participants was
   excluded from the study: one was deported; ten were                         confounded by the fact that most were also granted asylum,
   released before interview; one had been granted asylum but                  the significant correlation between symptom severity at
   was still awaiting release; three did not complete the                      baseline and length of time in detention supports the
   interview questionnaires; one withdrew the asylum claim;                    hypothesis that detention significantly contributed to
   and one lost pro-bono legal support. Analyses are based on                  psychological distress. However, our reliance on self-report
   the remaining 70 participants (56 male, 14 female, mean                     questionnaires rather than diagnostic interviews might have
   age 28 years [SD 7·3; range 15–52]). Follow-up interviews                   increased the proportion of individuals assessed as having
   were done at a median of 101 days (62–299) with 61                          clinically significant distress. Additionally, sampling was
   participants; 35 were still in detention and 26 had been                    not random, which might limit the general applicability of
   released. Of the 26 released, 22 had been granted asylum                    our results to the entire population of detained asylum
   and four released without asylum for medical or                             seekers. Furthermore, although we have no reason to think
   humanitarian reasons. Of the nine participants lost to                      that detained asylum seekers represented by pro-bono legal
   follow-up: two had been deported; five could not be                         groups differ from other detained asylum seekers, we
   located; one had been transferred to another facility; and                  cannot be certain.
   one refused to be interviewed. In April, 2003, 40 (57%) of                     Some participants could have deliberately exaggerated
   the 70 participants had been granted asylum in the USA,                     psychological symptoms, past traumatic experiences, or
   and 14 individuals (20%) had been denied asylum and                         both, in order to bolster their asylum claims—despite being
   deported. Of the 40 individuals granted asylum, the                         informed that their asylum application would not be
   median length of detention had been 7 months (2–42).                        affected by their responses. Nevertheless, the large
      61 (87%) participants were detained in two INS                           proportion of participants ultimately granted asylum lends
   detention centres and nine (13%) in three local                             credence to their reports. Furthermore, there was no
   government-run jails. The median length of detention                        difference in reported distress at baseline or premigration
   before initial interview was 5 months (1–54). Most                          traumatic experiences between detainees who were or were
   participants were from Africa (n=54), seven were from                       not granted asylum. Finally,
                                                                                                      F       despite a marked reduction in
   eastern Europe, four from Asia, two from the Middle East,                   symptoms after release, many participants still had high
   and three from South America. 28 interviews were done in                    levels of psychological distress, suggesting that symptom
   English, 17 in French, seven in Arabic, and 18 in other                     endorsement was not solely motivated by secondary gain.
   languages.                                                                     Despite the limitations of this study, our results suggest
      52 (74%) detainees had been tortured before                              that detaining asylum seekers exacerbates symptoms of
   immigration, 47 (67%) had been imprisoned in their native                   depression, anxiety, and post-traumatic stress disorder in
   country, 41 (59%) reported the murder of a family member                    this vulnerable population. Our findings suggest that


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   policies concerning detention of asylum seekers should be                      Association of intercellular adhesion
   reviewed, and highlight the need for mental health
   intervention to address the psychological needs of these                       molecule-1 gene with type 1
   individuals.                                                                   diabetes
   Contributors
   A Keller, D Ford, C Trinh-Shevrin, J Leviss, H Smith, K Allden, and            Sergey Nejentsev, Cristian Guja, Rose McCormack, Jason Cooper,
   G Kim conceived and designed the study. A Keller, C Meserve,                   Joanna M M Howson, Sarah Nutland, Helen Rance, Neil Walker,
   E Sachs, J Leviss, E Singer, H Smith, and J Wilkinson participated in          Dag Undlien, Kjersti S Ronningen, Eva Tuomilehto-Wolf,
   the acquisition of data. E Sachs coordinated data collection.                  Jaakko Tuomilehto, Constantin Ionescu-Tirgoviste, Edwin A M Gale,
   C Trinh-Shevrin and B Rosenfeld did statistical analyses. A Keller,
   B Rosenfeld, C Trinh-Shevrin, D Ford, C Meserve, J Leviss, E Sachs,
                                                                                  Polly J Bingley, Kathleen M Gillespie, David A Savage,
   and B Rosenfeld participated in analysis and interpretation of data. All       Dennis J Carson, Chris C Patterson, A Peter Maxwell, John A Todd
   authors helped to write the report.                                            Intercellular adhesion molecule-1 (ICAM-1) functions via its
   Conflict of interest statement                                                 ligands, the leucocyte integrins, in adhesion of immune cells to
   None declared.                                                                 endothelial cells and in T cell activation. The third immuno-
                                                                                  globulin-like extracellular domain binds integrin Mac-1 and
   Acknowledgments                                                                contains a common non-conservative aminoacid polymorphism,
   This study was done by the Bellevue/NYU Program for Survivors of
   Torture and Physicians for Human Rights. We are grateful to                    G241R. Phenotypically, ICAM-1 has been associated with type 1
   Eleanor Acer, Anwen Hughes, Lin Piwowarczyk, and Jon Hubbard for               diabetes, a T-cell-mediated autoimmune disease. We assessed
   their assistance in developing this project. Zachary Steele, Derrick           two independent datasets, and noted that R241 was associated
   Silove, and Richard Mollica also provided invaluable insight into issues       with lower risk of type 1 diabetes than is G241 (3695 families,
   concerning the health of detained asylum seekers. We thank the INS
   staff at headquarters and at the detention facilities for their courtesy and   relative risk 0·91, p=0·03; 446 families, 0·60, p=0·006). Our
   cooperation with this study. We thank the following organisations for          data indicate an aetiological role for ICAM-1 in type 1 diabetes,
   their cooperation in referring individuals for participation in this study:    which needs to be confirmed in future genetic and functional
   American Friends Service Committee, Catholic Legal Immigration                 experiments.
   Network, Circle York, The Lawyers Committee for Human Rights, New
   York Association for New Americans, and Hebrew Immigrant Aid                   Lancet 2003; 362: 1723–24
   Society. We also thank Suzanne Dieter for background research;
   Melanie Jay, Alyssa Finlay, Amina Chaudry, and Joshua Lee for helping          The molecular mechanisms underlying type 1 diabetes are
   with interviews; Caroline Lai and Angela Lee for data entry; and               partly known. Three disease loci have been identified so far:
   Vincent Iacopino, Frank Davidoff, and Barbara Ayotte for reviewing the
   manuscript. Support for this research was provided by a grant from the         the human leucocyte antigen (HLA) complex, the variable
   Jeht Fund of the New York Community Trust and the Morton K and                 number tandem repeat locus located in the promoter region of
   Jane Blaustein Foundation. A Keller was supported by a Soros                   the insulin gene (INS), and the cytotoxic T lymphocyte-
   Advocacy Fellowship from the Medicine as a Profession Program of the           associated antigen-4 gene (CTLA4).1 The known functions of
   Open Society Institute. Funding sources had no role in study design,
   data collection, data analysis, data interpretation, writing of the report,    these genes suggest that T-cell activity is an important pathway
   or decision to submit the paper for publication.                               in development of type 1 diabetes. Results of research in the
                                                                                  mouse shows that ICAM-1 function during immune priming
   1   Keller A, Ford D, Sachs E, et al. From persecution to prison: the
                                                                                  is necessary for the generation of effector T cells capable of
       health consequences of detention for asylum seekers. Boston and            destroying pancreatic insulin-producing ␤ cells.2 Genetic
       New York City: Physicians for Human Rights and the Bellevue/NYU            analysis of the ICAM-1 gene in families affected by type 1
       Program for Survivors of Torture, 2003. http://www.phrusa.org/             diabetes could indicate whether its function has a causal role in
       campaigns/asylum_network/detention_execSummary/(accessed
       October, 2003).
                                                                                  the disease.
   2   Silove D, Steel Z, Mollica R. Detention of asylum seekers: assault on         ICAM1 is located on chromosome 19p13 in a region that
       health, human rights, and social development. Lancet 2001; 357:            has shown some evidence of linkage to type 1 diabetes.1 Two
       1436–37.                                                                   non-synonymous single nucleotide polymorphisms are known
   3   Amnesty International. Lost in the labyrinth: detention of asylum          to be frequent in European populations: G→A in exon 4
       seekers. New York: Amnesty International, 1999.
                                                                                  encoding G241R, and A→G in exon 6 encoding K469E
   4   Mollica RF, Wyshak G, de Marneffe D, Khoun F, Lavelle J.
       Indochinese versions of the Hopkins symptom checklist-25: a                (rs1799969 and rs5030382, respectively; http://www.ncbi.nlm.
       screening instrument for the psychiatric care of refugees.                 nih.gov/SNP/). The K469E polymorphism has been investi-
       Am J Psychiatry 1987; 144: 497–500.                                        gated in type 1 diabetes in small samples, with variable results.3
   5   Mollica RF, Caspi-Yavin Y, Bollini P, Truong T, Tor S, Lavelle J.          We assessed association of these two ICAM1 coding polymor-
       The Harvard trauma questionnaire: validating a cross-cultural
       instrument for measuring torture, trauma, and post traumatic stress
                                                                                  phisms in a sample of 3695 families affected by type 1 diabetes.
       disorder in refugees. J Nerv Ment Dis 1992; 180: 111–16.                      All family members were white, from Europe or the USA,
                                                                                  with at least one affected child in every family (table). Mean
   Bellevue/New York University (NYU) Program for Survivors of                    age at onset of the affected offspring was 9·3 years (range
   Torture, Division of Primary Care Medicine, Department of                      0–50). We obtained approval from the relevant research ethics
   Medicine (A S Keller MD, C Meserve MD, H Smith PhD, E Sachs BA,                committees and written informed consent of participants.
   J Wilkinson MS), Institute for Urban and Global Health                         DNA samples were genotyped with Invader (Third Wave
   (C Trinh-Shevrin MS), and Department of Emergency Services                     Technologies, Madison, WI, USA) and TaqMan (Perkin
   (E Singer MD), NYU School of Medicine, New York, NY 10016,                     Elmer Applied Biosystems, Foster City, CA, USA) assays. We
   USA; Department of Psychology, Fordham University, Bronx, NY                   recorded 99·5% concordance between these methods in 1242
   (B Rosenfeld PhD); New York City Health and Hospitals                          samples tested to assess error in genotyping of the G241R
   Corporation, New York, NY (J A Leviss MD); Department of                       polymorphism. Statistical analysis was done with STATA
   Medicine, Harvard Medical School, Boston, MA, USA (G Kim MD);                  (version 8.1). Calculations of p values and 95% CI of relative
   Department of Psychiatry, Dartmouth Medical School, Hanover,
                                                                                  risk (RR) were based on robust variance estimates, used to
   NH, USA (K Allden MD); and Physicians for Human Rights, Boston,
                                                                                  correct for clustering of affected individuals within families.
   MA (D Ford JD, A S Keller)
                                                                                     K469E did not show any association with the disease: K469
   Correspondence to: Dr Allen S Keller, Bellevue/NYU Program for                 was transmitted 1931 times of 3897 (49·6%, p=0·59). By
   Survivors of Torture, Bellevue Hospital, 462 First Avenue, CD710,              contrast, R241 was transmitted significantly less often: 938
   New York, NY 10016, USA                                                        transmissions of 1974 (47·5%, p=0·03; table). To control for
   (e-mail: allen.keller@med.nyu)                                                 the possibility that genotyping error or transmission ratio


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May 25, 2022


Submitted via https://www. regulations.gov


Rená Cutlip-Mason
Chief
Division of Humanitarian Affairs
Office of Policy and Strategy
U.S. Citizenship and Immigration Services
Department of Homeland Security
5900 Capital Gateway Drive
Camp Springs, MD 20588

RE: DHS Docket No. USCIS-2021-0012, Comments on Procedures for Credible Fear Screening
and Consideration of Asylum, Withholding of Removal, and CAT Protection Claims by Asylum
Officers

Dear Ms. Cutlip-Mason,

The American Psychological Association (APA), the leading scientific and professional
organization representing psychology in the United States, with more than 133,000 researchers,
educators, clinicians, consultants and students as its members, submits these comments in response
to the Department of Homeland Security’s (DHS) proposed interim final rule, DHS Docket No.
USCIS-2021-0012, on Procedures for Credible Fear Screening and Consideration of Asylum,
Withholding of Removal, and CAT Protection Claims by Asylum Officers. We applaud the
Administration’s willingness to revise the proposed rule to improve the system for immigrants
entering the country.

While we emphasize the importance of psychological expertise, we also want to mention the
importance of limiting detention or at least limiting the amount of time individuals are held. While
we appreciate the Department’s emphasis on making the process more efficient, the expedited
timeline should allow for sufficient time to allow immigrants to prepare for their hearings and
proceedings. Also, we wish to emphasize the psychological importance of keeping families
together.




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Importance of Psychological Expertise

Border patrol officers, immigration enforcement officers, adjudicators and immigration judges are
rarely trained to make educated assessments of credible or reasonable fear when dealing with
immigrants applying for immigration relief.1 Assessment of fear is a complex area of
psychological expertise. Psychologists assessing credible fear utilize specialized methods and
instruments that together with their cultural competence training helps them understand the
individual’s psychological picture. For instance, it is not unusual that when recounting traumatic
experiences, an individual engages in self-protective strategies which may include minimization,
dissociation of emotions, forgetfulness, resistance, or emotional disorganization that may confuse
an untrained observer and lead them to misunderstand, understate, or ignore bona fide symptoms
of credible fear to return to their country.2

In particular, these self-protective mechanisms can limit clear memory of traumatic events and
make it difficult for such individuals to reveal their experience in a coherent fashion. Many
refugees suffer from post-traumatic stress disorder, depression, anxiety, or other mental health
difficulties in addition to the fact that they are in the process of making sense of the new country
and the strangers with whom they are interacting.3 These are all important factors to consider when
the immigrants are being evaluated. The role of psychologists during this process cannot be
forgotten either. Given these considerations, we would recommend having as many mental health
experts available as possible during these proceedings.



Expedited Timeline

        The expedited timeline proposed by the Department is problematic and may lead to
streamlined removals because it demands the applicant proceed in an organized and systematic
manner to relate their fears and experiences that prevent them from returning to their country
safely. This process does not seem to take into consideration the manner in which trauma effects
interfere with memory.4 If an individual is forced to narrate their fears and experiences of trauma
before they have had time to heal, it is likely that the asylum applicant may not be able to
communicate effectively with officials and service providers, inadvertently omitting key events
that are essential to the finding of credible or reasonable fear. One of the key elements of a trauma
diagnosis is the avoidance of reminders of past trauma.5 This is particularly challenging for young
adults because the biological development of the brain, particularly those areas related to
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cognition, memory, and executive functioning, continues beyond the age of 18 and into the mid-
or late-20s.6

Holding Time and Psychological Impacts

We appreciate the Department’s efforts to limit the amount of time immigrants are held in
detention. The mental health problems that children and families experience as a result of family
detention are well documented.

It is important for the mental health of immigrants to avoid detention during the credible and
reasonable fear process. Unless there are extreme circumstances, detention should be minimized
to avoid creating greater stress for the immigrants and worsening their mental health
conditions. Many immigrants have experienced some form of trauma, but trauma affects a person
in a variety of ways.7 Because many immigrants experience traumatic and stressful events
throughout the migration journey, they may not demonstrate any symptoms or experience the
scope of their emotions, including credible and reasonable fear to return to their country, until
they are in a safe environment.8 Detention may not always make the immigrant feel safe and
immigrants may present with blunted affect and suppression of their emotions due to the stress
of their detention. It is important not to equate a blunted affect, suppression of symptoms, or
personal minimization, with an underestimation of the impact of their traumatic experiences and
fear.9
If it is absolutely necessary to detain immigrants, we cannot underscore enough the importance of
considering the mental health of the detainees and the strong possibility that the longer individuals
are held, the more likely their mental health will suffer – this is especially the case for children.10
Prolonged family detention could also damage the primary relationship between parents and
children because a child has many non-parental authority figures in detention centers.11 Not only
is the child likely to disregard the parents as strong authority figures the longer the period of
detention, but this is also true for the parents’ view of themselves. Meaningful access to trauma-
informed mental health care is critical to ensure that both adult and child survivors of trauma heal
and ultimately achieve self-sufficiency. The longer survivors go without such desperately needed
services, the more challenging the healing process may be.12


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Family Separation

We would also like to highlight the importance of keeping families together during this process.
Based on evidence of the psychological harm of parent-child separation, we appreciate and urge
the Department’s continued commitment to the humane policy of keeping families together to
protect immigrants from further trauma.

Decades of psychological research have determined that it is in the best interest of the child and
parents to keep families together. Families fleeing their homeland to seek sanctuary in the United
States are already under a tremendous amount of stress.13 Sudden and unexpected family
separation, such as separating families during immigration proceedings, can add to that stress,
leading to emotional trauma for children.14 Research also suggests that the longer children and
parents are separated, the greater the reported symptoms of anxiety and depression are for
children.15 Therefore, continuing the practice of keeping families together is vital to their mental
health.

Thank you for the opportunity to comment on this important issue. Should you have any questions,
please feel free to contact Serena Dávila at sdavila@apa.org.

Sincerely,



Katherine B. McGuire
Chief Advocacy Officer
American Psychological Association




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A Congressional Oversight Committee
Found That ICE Detainees Died After
Receiving Poor Medical Care
“While the medical examiner ruled the cause of death ‘undetermined,’ the complete
lack of medical leadership, supervision and care that this detainee was exposed to
is simply astonishing," the report states.


          Hamed Aleaziz
          BuzzFeed News Reporter


Updated on September 24, 2020 at 6:35 pm
Posted on September 24, 2020 at 5:03 pm


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A detainee receives dental treatment at the Adelanto ICE Processing Center in California, a facility privately
operated by the Geo Group, in 2019.

Chris Carlson / AP



The House Oversight Committee has found that ICE detainees died after receiving
inadequate medical care and that jail staff “falsified records to cover up” issues,
according to a report released on Thursday.


Committee staffers visited several for-profit detention centers during the course of
their investigation and reviewed 60,000 pages of records related to the care of
immigrants. The report also frequently cited in its findings a memo obtained by
BuzzFeed News that revealed a whistleblower’s complaint alleging that care at several
facilities overseen by ICE was so dire, it resulted in two preventable surgeries, including
an 8-year-old boy who had to have part of his forehead removed, and contributed to
four deaths.


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The allegations in the whistleblower memo are still being investigated by Congress,
according to the report released Thursday.


“The Committee’s investigation shines a critical new light on the failures of the
Administration’s immigration detention system and the deaths of immigrants in
custody,” said Rep. Carolyn Maloney, chair of the committee. “This staff report and the
documents the Committee obtained explain how the Administration and its private
prison contractors have let known problems fester into a full-blown crisis — a crisis that
has become far worse during the coronavirus pandemic.”


ICE has come under fire in recent years for issues related to medical care provided
within its detention centers. The agency’s detention system relies on a variety of
methods to provide medical care. In some facilities, ICE provides it directly; in others, it
has a few ICE employees assist private or public contractors; and in many, it oversees
care provided by a contractor.


The committee staff focused much of its efforts on immigrants in for-profit detention
facilities and the deaths of immigrant detainees.


Committee staffers found that Huy Chi Tran, a 47-year-old man who died in June 2018
at the Eloy Detention Center in Arizona — operated by private contractor CoreCivic —
had been placed in solitary confinement.


“CoreCivic detention staff were supposed to check on Mr. Tran every 15 minutes, but the
detention officer on duty left Mr. Tran unsupervised for 51 minutes just before Mr.
Tran’s cardiac arrest that led to his death,” the report found, citing an internal ICE
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document. “Investigators found that the officer falsified observation logs to hide the
fact that he had failed to conduct welfare checks over that 51-minute period.”




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Detainees talk on telephones at the Adelanto ICE Processing Center in California.

Chris Carlson / AP


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The report cited the whistleblower memo obtained by BuzzFeed News that stated that
“ICE health officials were ‘informed of multiple concerns regarding the care provided at
the facility, particularly the facility’s psychiatrist misdiagnosing, failing to treat
detainees appropriately, and the lack of readily available emergency medications.’”


The report also highlighted the death of Kamyar Samimi, a 64-year-old man who died
in late 2017 at the Aurora ICE Processing Center in Colorado, which is operated by Geo
Group. The committee obtained an ICE death review and the Department of Homeland
Security’s Office for Civil Rights and Civil Liberties report on the matter, both of which
documented deficiencies at the facility.


For example, the ICE report found that facility staff “failed to transfer Samimi to an ER
even though he exhibited life-threatening withdrawal symptoms during the week
following his intake,” and that nurses in charge of his care were not trained in
understanding opioid withdrawal symptoms.


“While the medical examiner ruled the cause of death ‘undetermined,’ the complete
lack of medical leadership, supervision and care that this detainee was exposed to is
simply astonishing and stands out as one of the most egregious failures to provide
optimal care in my experience,” a medical expert examining the case found. “The
magnitude of failures to care for this detainee is only surpassed by the number of such
failures.”


The committee also examined the case of Vicente Caceres-Maradiaga, 46, who died at
the Adelanto Detention Facility in May 2017 of an enlarged heart and liver. His blood
pressure went “unmonitored while detained,” the committee report states.

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The congressional investigators obtained an internal report from the DHS Office for
Civil Rights and Civil Liberties that found: “The failure to hire an effective and qualified
clinical leader contributed to the inadequate detainee medical care that resulted in
medical injuries, including bone deformities and detainee deaths, and continues to
pose a risk to the safety of other detainees at ACF.”


Committee staffers said the documents they obtained showed that there were “glaring
deficiencies” with the medical care provided to detainees and cited issues included in
an ICE report at a facility in Ohio as an example.


“This report substantiated an allegation of an ‘unacceptably long’ delay in treatment
for a detainee with possible lymph node cancer even after an outside doctor wrote to
the facility stressing the urgency of treatment,” the committee wrote. “The report
concluded, 'This delay and [sic] resulted in an effective denial in access to care for a
serious medical condition.'”




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A detainee waits in a locked intake holding area at an ICE detention center in Tacoma, Washington.

Associated Press



The report also documented general issues with the conditions within government
detention facilities.


“Many ICE facilities, including those that house children, have had repeated sanitation
problems, including dirty and moldy bathrooms, insufficient clean clothing,
unsanitized dishes, dirty food preparation and service areas, and a lack of soap, toilet
paper, paper towels, clean razors, and other hygiene items,” the report states.


Stacey Daniels, ICE's director of public affairs, said in a statement that the agency "is
fully committed to the health and safety of those in our care and will review the
committee’s report."


"However, it is clear this one-sided review of our facilities was done to tarnish our
agency’s reputation, as opposed to actually reviewing the care detainees receive while
in our custody," she added. "Improvements to civil detention are based on concrete
recommendations from the DHS Office of Inspector General (OIG) and an aggressive
inspections program, which includes formal facility inspections, independent third-
party compliance reviews, daily on-site compliance reviews and targeted site visits. The
agency also maintains a toll-free service that provides a direct channel for detainees,
their attorneys, and other stakeholders to communicate with ICE about detainee
concerns or conditions of confinement.”


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In a statement, Geo Group said it "strongly reject[s] these baseless allegations, which
are part of another politically driven report that ignores more than three decades of
providing high-quality services to those in [its] care."


"The Adelanto ICE Processing Center provides safe and humane residential care and
high quality 24/7 medical services," a company spokesperson said. "The health services
department at the center employs approximately 79 health services professionals,
including; three doctors, five dental professionals, and forty-three nurses, as well as
seven mental health professionals, including two psychiatrists.


"In 2019, the health services team provided more than 54,000 medical encounters, over
3,100 dental encounters, and over 20,000 mental health encounters to individuals at the
center. In all of 2019, the center processed approximately 8,000 individuals in and
approximately 8,200 individuals out of the center."


A CoreCivic spokesperson also said the company "is committed to the safety and health
of every individual in our care."


"We don’t provide the healthcare in the majority of our immigration facilities. In most
cases, comprehensive medical, mental health and dental care is provided for by the ICE
Health Services Corps," the spokesperson said in a statement. "Where we do provide
care, our clinics are staffed with licensed, credentialed doctors, nurses and mental
health professionals who contractually meet the highest standards of care."


ICE officials have long said that they are dedicated to providing timely and
comprehensive medical care to immigrants in their custody, noting that they have
access to a daily sick call and 24-hour emergency care.



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The agency has also been criticized for its handling of the coronavirus pandemic in
detention facilities.


Since the beginning of the pandemic, detainees and immigrant advocates have
highlighted the health threats posed by the highly contagious disease for those in ICE
custody. The agency has attempted to assure congressional officials and the public that
it has carefully examined the issue and has even released certain “vulnerable" detainees
as a precaution.


Earlier this week, a separate committee report issued by the House Homeland Security
Committee found that ICE detainees are often given deficient medical care and that
detention centers use segregation as a threat against immigrants.




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                           A Judge Ordered Him Released From Prison Due To COVID-19 Concerns.
                           He Died Of The Disease Two Months Later In ICE Custody.



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           Hamed Aleaziz
           BuzzFeed News Reporter


 Contact Hamed Aleaziz at hamed.aleaziz@buzzfeed.com.

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      46''(3567514ÿ0'(14524ÿ6 ÿ 3861 ÿ1+ÿ85B6ÿ067571ÿ76E52ÿ.(*8*5ÿ46Bÿ46 ÿ538611ÿ5ÿ74 58ÿ.' ÿ*811(86ÿ067571ÿ76E52ÿ 5876,6*5
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       -ÿ/ÿ.-ÿ!' !(ÿÿ-$! 9ÿ'76")ÿ&$!' ,(ÿÿ/&!' ÿ.",+-ÿ$ÿ( "++-ÿ'ÿ&6$.+1
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                                                               dÿ06ÿc
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             '()*+,-ÿ+/ÿ678+9+74
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             >;006,-ÿ+/ÿ:=/=8*)4
              C5CDÿEF5GD
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             K)ÿL?60(2==ÿM;67(/(=:ÿ/+,ÿN=3;76,ÿB;*-OÿN=3;76,ÿ'+;)(23OÿP++:ÿ>=,Q(8=Oÿ62:ÿR,+3,60)ÿ*+ÿ(287;:=ÿ,=8,=6*(+2Oÿ=:;86*(+2O
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                6D\]^EWÿX]WWÿ̀5WW5Xÿ5ee4ÿYZÿ]CÿcfDÿ̀5WW5X]Cgÿ^W]C]^T
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                      VbZDacDCT]5C

     U::(*(+267ÿA+00=2*)4
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     U,=ÿ(00;2(I6*(+2)ÿ<=(23ÿ3(Q=2ÿ:;,(23ÿ87(2(84
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                                                                     L7=8*,+2(8677-ÿ>(32=:ÿm-ÿ7194[ÿ074ÿ+2ÿeeÿkw&kw$
                                                                   $ÿ5ÿ̀
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Ycd@eÿf7gAB h;;<>N;P;=                                                           0YÿNMNMN==;ÿ̀O<ab ?1 18ÿWJG3DS3D3G3D3OR3E

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 A129ÿ                           A129ÿY8                          781ÿ912                             53ÿ02 829
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nmopqCrÿCBj sRRJSNRVRT                                                                3mnÿNFNFNTTRÿOlJ9P k/ÿ70,L*KL"*L,L"*LlYL+

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 08+#' 8,"7'*>7",ÿV>)ÿ*<ÿLLÿM*$,ÿNÿ*<+, OKPÿ#'*++-ÿ%70,ÿ&*7+-QÿLLÿRJRRLJSLNTLLRJRRLJSLRTÿÿ
 0+# '7>*W#+,ÿNXÿ0',*>ÿLLÿM* +-ÿ0',*>ÿ# 70*++-ÿ%70,ÿ&*7+-QÿLLÿRJRRLJSLNTLLRJRRLJYLNS
 7<( '#,"ÿUJJ>)ÿ*<+, ÿLLÿM*$,ÿNÿ*<+, OKPÿ#'*++-ÿ%70,ÿ&*7+-QÿLLÿRJRRLJSLNTLLRJRRLJSLRUÿÿ
 +7K7"# '7+ÿRJ>)ÿ*<+, ÿLLÿM*$,ÿNÿ*<+, OKPÿ#'*++-ÿ#"0,ÿ&*7+-QÿLLÿRJRRLJSLNTLLRJRRLJYLNYÿ
 >,0+7W7",ÿNRZI>)ÿ*<+, ÿLLÿM*$,ÿNÿ*<+, OKPÿ#'*++-ÿ%70,ÿ&*7+-QÿLLÿRJRRLJSLNTLLRJRRLJYLNY
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 "* '#H,"ÿIJJ>)ÿ*<+, ÿLLÿM*$,ÿNÿ*<+, OKPÿ#'*++-ÿ%70,ÿ&*7+-QÿLLÿRJRRLJSLNTLLRJRRLJYLNY
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        b51ÿd5;6182?9Zÿ89ÿd9459;ÿa9]92eÿ615;eÿK#<eÿ619;ÿ:854e32ÿa85?@9Zÿ
       20ÿDÿ1ÿ0/ÿfÿg6!
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Z#efgQhÿQ7^`N iXXcUYX]XT                                                        G#ZÿYYYTTXÿb/cCd a954ÿ?3=6)L6()6=6()6/P6>

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: !";#!ÿ!"<"!ÿ9;=!>"!"#=ÿ9;?>!                                     @ "A"! CD0EÿFÿ0G4D40ÿECHÿ*4DCHIIE'JÿCH'KH4
                                                                        >; !;Bÿ0 CE'CDKK0LÿCM'KNE0ÿ




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                                                                        >; !;Bÿ1# QRSQTSUQUUÿOQVUUVQWÿ0X
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 0123456ÿ589               8ÿÿ5 8ÿÿ !ÿÿ "10##ÿ$%&
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89ÿ0ÿ99:;              <=% ?@A2ÿBÿAC,@,Aÿ2?DÿE,@?DFF2'Gÿ?D'*D,
                              ;99>ÿ0% ?2'?@**AHÿ?I'*J2Aÿ
                              ;99>ÿ1 MNOMPOQMQQÿKMRQQRMSÿAT
                                      Kÿ(LÿK                              275
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/01102322ÿ5678618ÿ9: ;<=>?@1Aÿ;BC;DE>FG                        :HIJKLM      :HIJKLM                      ;>N;<GGOPÿ
                                                                                                         ;QNGB>OPÿ:R;
S02302322ÿ1162267TÿO: ;<=>?@1AÿFUOVÿGCFG>NWÿ;<NFCNGÿ;LYHZ[\]ÿ1              ;[^_H^YPÿO`Ya[\JbLYJ[^       ;>N;<GGOPÿ
                      X<R:                                                                               ;QNGB>OPÿ:R;
S02302322ÿ863A65Aÿ9: J^YLcHÿKaHKcMJ_Y                          :HIJKLM      >^YLcHPÿ:HIJKLMPÿFK\HH^J^Z   WOQCFD>Pÿ
                                                                                                         :OR>dOPÿ:R;
S02302322ÿ8612611ÿ9: GRONFXCRÿFe::ORQÿ@ÿ̀f_fÿ                  :HIJKLM      G\L^_iH\                     WOQCFD>Pÿ
                      IHgL\YhH^Yÿ[iÿj̀_YJKHÿKJk[MLÿK[`^Y]ÿ                                               :OR>dOPÿ:R;
                      K[\\HKYJ[^LMÿiLKJMJY]
S02102322ÿT62/61Sÿ9: J^YLcHÿKaHKcÿMJ_Y                         :HIJKLM      >^YLcHPÿ:HIJKLMPÿFK\HH^J^Z   WOQCFD>Pÿ
                                                                                                         :OR>dOPÿ:R;
S02102322ÿT651615ÿ9: GRONFXCRÿFe::ORQÿ@ÿ̀f_fÿ                  :HIJKLM      G\L^_iH\                     WOQCFD>Pÿ
                      IHgL\YhH^Yÿ[iÿj̀_YJKHÿ̀^JYHIÿ_YLYH_ÿ                                               :OR>dOPÿ:R;
                      hL\_aLM_ÿ_H\lJKH
S02202322ÿ11638677ÿO: ;[lJI@1AÿYH_Yÿ\H_`MY@g[_JYJlH            :HIJKLM      ELk[\LY[\]                   ;>N;<GGOPÿ
                                                                                                         ;QNGB>OPÿ:R;
/0/02322ÿ1627687ÿ9: C;Wÿ\H_`MY_                                ;LYHZ[\]ÿ8   ?JLZ^[_YJK_                  ;>N;<GGOPÿ
                                                                                                         ;QNGB>OPÿ:R;
/0802322ÿ1261561Aÿ9: C;Wÿ\H_`MY_                               ;LYHZ[\]ÿ8   ?JLZ^[_YJK_                  ;>N;<GGOPÿ
                                                                                                         ;QNGB>OPÿ:R;
/01S02322ÿ1363868TÿO: IHYLJ^HHÿ\Hm`H_YHIÿhHIJKLMÿ\HK[\I_ÿkHÿ :HIJKLM        FJKcÿ;LMM                    ;>N;<GGOPÿ
                      _H^YÿY[ÿaJ_ÿLYY[\^H]PÿLIlJ_HIÿYaLYÿaHÿ                                             ;QNGB>OPÿ:R;
                      ^HHI_ÿY[ÿiJMMÿ[`YÿL^Iÿ_JZ^ÿR<>ÿi[\hÿL^Iÿ
                      \HỲ\^ÿY[ÿ^`\_H




n)ÿ"'()ÿ4,o.ÿ5'((+%                             po% ;<O>ÿ@ÿOeR<ROÿ>;Cÿ9R<;CFF>NWÿ;CNGCR
                                                            +)).ÿ0% ;>N;<GGOPÿ;QNGB>Oÿ
                                                            +)).ÿ1 A0T02322ÿ13622638ÿO:
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0123456ÿ589                                     !"8ÿ#ÿ$8#% #% ÿ#ÿ&# ÿ#ÿ'10 ÿ
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                 .+,4+456/ÿ89+0    :(;)                            <94ÿ=1>ÿ             ?@&?##@A# #B?&?B
                 C>6D5/0ÿC4+41E                                     C15,5F-ÿC4+41E       %
                 G-50H4IJ4         @KLÿÿÿ(B;                     MN-0/+/,Oÿ           %

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     (()VW                                            1;)ÿ')   5)X)V                              1;)ÿY)
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$)A                                                                '"ÿ')       5Vÿ')   5Yÿ')    ;ÿA`
 X)
1(bY)ÿ&`WÿB()ÿ2ef98g                                                         hIiiIijii      hIikIijii    hIiiIijii
lmnopqrÿtmquÿvwxxpyy
ymopÿzÿym{npy|x}ÿwqmnnuÿw~tpÿmnuÿxymyÿwxpÿymopÿ~wlÿÿxymyÿwxpÿvpÿw~pÿwxpÿ~wl
$)(YV`A)ÿ&`WÿB()ÿ98  %                                                     hIikIijii      hIkjIijii
lmnopqrÿtmquÿvwxxpyy
ymopÿzÿym{npy|x}ÿwqmnnuÿyqppÿypxÿmnu
$VbY)ÿ`WÿB()ÿ98$891%                                                      hIikIijii      IiIijii
tvqprÿtwnnpp~
ymopÿzÿym{npy|x}ÿwqmnnuÿmyÿ{pyp
1(bY)ÿ&`WÿB()ÿ2ef98g                                                         hIikIijii      IiIijii
tvqprÿtwnnpp~
ymopÿzÿym{npy|x}ÿwqmnnuÿmyÿ{pyp
1A;)Vÿ`WÿB()ÿ21:9 %                                                        hIiiIijii      hIiIijii    hIikIijii
lmnopqrÿtmquÿvwxxpyy
ymopÿÿym{npy|x}ÿwqmnnuÿyqppÿypxÿmnu
1`)YVb()ÿ`Wÿ'VÿBÿf9!158"                                                      hIijIijii      jIijIijii   hIikIijii
lmnopqrÿtmquÿvwxxpyy
ymopÿzÿym{npy|x}ÿwqmnnuÿw~tpÿmnu
:(a;)ÿ&ÿ%;(ÿ5ÿ:1% 58                                                   hIijIijii      jIijIijii   hIikIijii
lmnopqrÿtmquÿvwxxpyy
 8 9ÿ"((ÿ9)YV                               :(       Z<cÿÿ<\*Z*<ÿc^ÿM*Z^CCc=]ÿ^=S^*
                                                   "V))Aÿ0 c=ZSS<ÿ_=SGc<ÿ
                                                   "V))Aÿ1 jhIikIijiiÿRhRjÿ<
                                                           ÿ6ÿ                                    281
0123456ÿ589                                      !"8ÿ#ÿ$8#% #% ÿ#ÿ&# ÿ#ÿ'10 ÿ
()*+(,,ÿ.ÿ*/0123*4ÿ()+5ÿ6178ÿ)5*+0(,ÿ5)76ÿ91(,2                   
 :;<<=>?ÿ1;:ÿ@98@ 9 !1%#                                                            ABCABDEDD      ABDFBDEDD
G1,H60Iÿ7102ÿJ5**6++
1//,2ÿ.ÿ1//,(71+(5)3*4ÿ067+1,,2ÿ5)76ÿ91(,2ÿ1*ÿ)66969
5:ÿKLM;NÿO?:ÿ58%131                                                                     ABCABDEDD      CEBCABDEDD     ABDPBDEDD
G1,H60Iÿ7102ÿJ5**6++
+1H6ÿ.ÿ+1Q,6+3*4ÿ501,,2ÿ5)76ÿ91(,2
 ><1RST:ÿ@;ÿ&;Nÿ"UÿV!5 9!                                                             ABCWBDEDD      CEBCWBDEDD     ABDPBDEDD
G1,H60Iÿ7102ÿJ5**6++
+1H6ÿ.ÿ71/*X,63*4ÿ501,,2ÿ+G(76ÿ91(,2
"<Y:<Z                                                                                        ABCBDEDD      CEBPEBDEDD     ABDPBDEDD
G1,H60Iÿ7102ÿJ5**6++
J([6ÿ\ÿ1//,(71+(5)3*4ÿ501,ÿ+G(76ÿ91(,2
8Z]<:ÿ^]>ÿ;?                                                                             ABCBDEDD      CEBCBDEDD      ABDPBDEDD
G1,H60Iÿ7102ÿJ5**6++
+1H6ÿ.ÿ1//,(71+(5)3*4ÿ501,,2ÿ+G(76ÿ91(,2
ZU<?ÿ;NÿO?:ÿ@9!%!V!                                                                _BWBDEDD      CCBCBDEDD      ABDPBDEDD
G1,H60Iÿ7102ÿJ5**6++
+1H6ÿ.ÿ+1Q,6+3*4ÿ501,,2ÿ5)76ÿ91(,2
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@<O?:;ÿ':Z<U                                                 5<ÿ': 'NZ:>ÿ0ÿ       9:Z?`:>ÿ0              5Uÿ':
abcdCEdÿfghDiWjÿdÿaklmmnomnplqrÿsprqÿlksÿrlqpktÿulvpqw              ABDCBDEDD xdÿbyzc{|y}ÿ
                                                                               ~{{|cz{gÿy|{aby
c}~ddÿfPEAi_Cjÿdÿowqqnl lqpÿwqnrwwÿspwonsrn                     _BFBDEDD xdÿa}|ÿzb{
abcdCEdÿfPPiEjÿdÿ~lonÿsrmnrwwprÿspwonsrnÿnrnnrkqÿ ps        _BDBDEDD cbdÿ~bxaz{ÿ
                                                                               b{{|
abcdAdÿfWECiCjÿdÿ{|a|ÿ{}}{|ayÿ{z{|}a|                      hBDEBDEDD cbdÿy{zÿbyz
abcdAdÿfPEEiEEjÿdÿy|a{ÿ}y{ÿx|}{baa{c                         hBDEBDEDD cbdÿy{zÿbyz
abcdCEdÿf~FWiCjÿdÿzlspomlquÿ vlnÿnrtpok                     hBDEBDEDD cbdÿy{zÿbyz
abcdAdÿfh_WiACjÿdÿ}|y}yÿcza                                    hBDEBDEDD cbdÿy{zÿbyz
Oÿ9:Z]?ÿ5];;<
5:<`:                                                             @<`>:<                               "??::>ÿ': 9:Z]?ÿ':
xnpklwpwÿ~lnowomp                                              y{zÿbyz                           EABDDBDEDDÿAEEy EABDDBDEDDÿ
                                                                                                                            DEWC
lwpÿ~rqlvopÿlkrÿf_j                                           y{zÿb                              EABDCBDEDDÿ EABDCBDEDDÿ
                                                                                                           CDEE           CEA
bbÿpquÿcprnrkqplBlqrrq                                      y{zÿb                              EABDCBDEDDÿ EABDCBDEDDÿ
                                                                                                           CDEE           CEA
8 9ÿ"??ÿ9:U<                                            ?       byaÿdÿyxzzyÿab{ÿzb{}}a|ÿb{|{z
                                                               "<::>ÿ0 ba|byÿb|ayÿ
                                                               "<::>ÿ1 EABDPBDEDDÿCCWAEFÿy~
                                                                       Dÿoÿh                                    282
0123456ÿ589                            !"8ÿ#ÿ$8#% #% ÿ#ÿ&# ÿ#ÿ'10 ÿ
5()*(                                       +)*,()                      "--((,ÿ'( 9(./-ÿ'(
0123456727ÿ94:1;7:;<2:                            =>?@ABCÿD>BE                   FGHIJHIFIIÿ FGHIJHIFIIÿ
                                                                                 JFKFF>           JLKMGN
0123456727ÿ94:1;7:;<2:                            =>?@ABCÿD>BE                   FGHIJHIFIIÿFKOF> FGHIJHIFIIÿ
                                                                                                  IKLP>
Q::R5SÿT5;;U                                      =>?@ABCÿD>BE                   FGHJPHIFIIÿ FGHJPHIFIIÿ
                                                                                 JJKMF>           JMKLMN
Q::R5SÿT5;;U                                      =>?@ABCÿD>BE                   FGHJMHIFIIÿ FGHJMHIFIIÿ
                                                                                 JIKFFN           JOKIFN
V-.ÿ5/WW)
V-.ÿX(ÿ'(.          V-ÿ!Y)W            9(),(,ÿ0                     '(ÿZ(
TQ[Eÿ\A9NAB>\0BA         ]^_`ÿbc                      B45<dCÿ@24d34                   GHIIHIFIIÿJFKIFKFFÿN9
TQ[Eÿ\A9NAB>\0BA         ]^_]ÿbc                      B45<dCÿ@24d34                   GHIIHIFIIÿeKFfKIfÿN9
TQ[Eÿ\A9NAB>\0BA         ]g_hÿbc                      [Q9ijk0AlCÿ?ilA\m               GHIIHIFIIÿOKFfKJfÿN9
TQ[Eÿ\A9NAB>\0BA         ]^_`ÿbc                      B45<dCÿ@24d34                   GHIJHIFIIÿPKIfKOeÿN9
TQ[Eÿ\A9NAB>\0BA         ]n_nÿbc                      [Q9ijk0AlCÿ?ilA\m               GHIJHIFIIÿJKJeKLGÿN9
TQ[Eÿ\A9NAB>\0BA         ]g_oÿbc                      m41pq6CÿAr;36                   GHIFHIFIIÿGKIGKFIÿN9
TQ[Eÿ\A9NAB>\0BA         ]^_`ÿbc                      ?ATQA0sCÿ9iDm>A?                GHJGHIFIIÿJKMJKJFÿN9
TQ[Eÿ\A9NAB>\0BA         ]g_hÿbc                      D>Bt\AjtCÿuA>jÿ9                GHJGHIFIIÿJIKMPKFeÿN9
TQ[Eÿ\A9NAB>\0BA         ]^_oÿbc                      =>?@ABCÿD>BE                    GHJOHIFIIÿJIKOIKOfÿN9
TQ[Eÿ\A9NAB>\0BA         ]g_^ÿbc                      T>jk>?>CÿD>\mABijA              GHJIHIFIIÿIKLGKOeÿN9
TQ[Eÿ\A9NAB>\0BA         ]g_nÿbc                      =>?@ABCÿD>BE                    GHJHIFIIÿGKFOKLJÿ>9
N0?tAÿB>\A               JFFÿTN9                      B45<dCÿ@24d34                   GHIIHIFIIÿJFKIFKFFÿN9
N0?tAÿB>\A               JJfÿTN9                      B45<dCÿ@24d34                   GHIIHIFIIÿeKFfKIfÿN9
N0?tAÿB>\A               PeÿTN9                       [Q9ijk0AlCÿ?ilA\m               GHIIHIFIIÿOKFfKJfÿN9
N0?tAÿB>\A               PGÿTN9                       B45<dCÿ@24d34                   GHIJHIFIIÿPKIfKOeÿN9
N0?tAÿB>\A               PPÿTN9                       [Q9ijk0AlCÿ?ilA\m               GHIJHIFIIÿJKJeKLGÿN9
N0?tAÿB>\A               JJLÿTN9                      m41pq6CÿAr;36                   GHIFHIFIIÿGKIGKFIÿN9
N0?tAÿB>\A               JJIÿTN9                      ?ATQA0sCÿ9iDm>A?                GHJGHIFIIÿJKMJKJFÿN9
N0?tAÿB>\A               JFIÿTN9                      =>?@ABCÿD>BE                    GHJOHIFIIÿJIKOIKOfÿN9
N0?tAÿB>\A               PGÿTN9                       T>jk>?>CÿD>\mABijA              GHJIHIFIIÿIKLGKOeÿN9
N0?tAÿB>\A               eGÿTN9                       =>?@ABCÿD>BE                    GHJHIFIIÿGKFOKLJÿ>9
T?QQ[ÿNBAtt0BA           JIOHPPÿvvmw                  B45<dCÿ@24d34                   GHIIHIFIIÿJFKIFKFFÿN9
T?QQ[ÿNBAtt0BA           JFJHeMÿvvmw                  B45<dCÿ@24d34                   GHIIHIFIIÿeKFfKIfÿN9
T?QQ[ÿNBAtt0BA           PGHfOÿvvmw                   [Q9ijk0AlCÿ?ilA\m               GHIIHIFIIÿOKFfKJfÿN9
T?QQ[ÿNBAtt0BA           JIFHPLÿvvmw                  B45<dCÿ@24d34                   GHIJHIFIIÿPKIfKOeÿN9
T?QQ[ÿNBAtt0BA           GeHeJÿvvmw                   [Q9ijk0AlCÿ?ilA\m               GHIJHIFIIÿJKJeKLGÿN9
8 9ÿ"--ÿ9(X)                          x-       DQ>iÿyÿ>0BQB>ÿiDAÿNBQDAttijkÿDAj\AB
                                             ")((,ÿ0 DijDQ\\>CÿDEj\mi>ÿ
                                             ")((,ÿ1 FGHIMHIFIIÿJJKOGKFLÿ>9
                                                     Mÿ;zÿe                                    283
0123456ÿ589                       !"8ÿ#ÿ$8#% #% ÿ#ÿ&# ÿ#ÿ'10 ÿ
()**+ÿ-./001./        23435ÿ6678                     /)
                                           9:1;97<ÿ+9=>                      24?54?@??ÿ5@A5?A@Bÿ9;
()**+ÿ-./001./        55C4CBÿ6678            7DEFGH<ÿ/IJKH                    24?@4?@??ÿ2A?2A@?ÿ-;
()**+ÿ-./001./        55L433ÿ6678            )/(*/1M<ÿ;>N79/)                 24524?@??ÿ5AB5A5@ÿ-;
()**+ÿ-./001./        55L43Oÿ6678            P9)Q/.<ÿN9.R                     245L4?@??ÿ5?AL?ALOÿ-;
()**+ÿ-./001./        5B@432ÿ6678            (9=S9)9<ÿN9T7/.>=/               245L4?@??ÿ5@ABLA?Uÿ9;
()**+ÿ-./001./        5B?42?ÿ6678            (9=S9)9<ÿN9T7/.>=/               245?4?@??ÿ?AU2AL3ÿ-;
()**+ÿ-./001./        5@543Bÿ6678            ;V=GDW<ÿQDXEYKD                  2434?@??ÿ5A55ALCÿ-;
()**+ÿ-./001./        5?34COÿ6678            P9)Q/.<ÿN9.R                     2454?@??ÿ2A@LAU5ÿ9;
./0->.9T*.Rÿ.9T/      ??ÿ.-;                 .DWZ[<ÿQYD[KD                    24??4?@??ÿ5@A?@A@@ÿ-;
./0->.9T*.Rÿ.9T/      5Cÿ.-;                 .DWZ[<ÿQYD[KD                    24??4?@??ÿ3A@OA?Oÿ-;
./0->.9T*.Rÿ.9T/      5Oÿ.-;                 +*;>=S1/:<ÿ)>:/T7                24??4?@??ÿLA@OA5Oÿ-;
./0->.9T*.Rÿ.9T/      5Oÿ.-;                 .DWZ[<ÿQYD[KD                    24?54?@??ÿCA?OAL3ÿ-;
./0->.9T*.Rÿ.9T/      5Oÿ.-;                 +*;>=S1/:<ÿ)>:/T7                24?54?@??ÿ5A53AU2ÿ-;
./0->.9T*.Rÿ.9T/      5Oÿ.-;                 7DEFGH<ÿ/IJKH                    24?@4?@??ÿ2A?2A@?ÿ-;
./0->.9T*.Rÿ.9T/      ?@ÿ.-;                 )/(*/1M<ÿ;>N79/)                 24524?@??ÿ5AB5A5@ÿ-;
./0->.9T*.Rÿ.9T/      5Oÿ.-;                 N9.0T/=0<ÿ\/9=ÿ;                 24524?@??ÿ5?ABCA@3ÿ-;
./0->.9T*.Rÿ.9T/      53ÿ.-;                 P9)Q/.<ÿN9.R                     245L4?@??ÿ5?AL?ALOÿ-;
./0->.9T*.Rÿ.9T/      5Oÿ.-;                 (9=S9)9<ÿN9T7/.>=/               245?4?@??ÿ?AU2AL3ÿ-;
./0->.9T*.Rÿ.9T/      53ÿ.-;                 P9)Q/.<ÿN9.R                     2454?@??ÿ2A@LAU5ÿ9;
P/>S7T                5B5]2ÿWI^              .DWZ[<ÿQYD[KD                    24??4?@??ÿ5@A?@A@@ÿ-;
P/>S7T                5B5]2ÿWI^              .DWZ[<ÿQYD[KD                    24??4?@??ÿ3A5BA@@ÿ-;
P/>S7T                5B5ÿWI^                +*;>=S1/:<ÿ)>:/T7                24??4?@??ÿLA@OA5Oÿ-;
P/>S7T                5B?ÿWI^                +*;>=S1/:<ÿ)>:/T7                24?54?@??ÿ5A53AU2ÿ-;
P/>S7T                @@ÿWI^                 7DEFGH<ÿ/IJKH                    24?@4?@??ÿ2A?2A@?ÿ-;
P/>S7T                5BBÿWI^                )/(*/1M<ÿ;>N79/)                 24?@4?@??ÿ2AB?A@@ÿ9;
P/>S7T                5B@ÿWI^                )/(*/1M<ÿ;>N79/)                 24524?@??ÿ5AB5A5@ÿ-;
P/>S7T                5B@ÿWI^                N9.0T/=0<ÿ\/9=ÿ;                 24524?@??ÿ5?ABCA@3ÿ-;
P/>S7T                5BCÿWI^                P9)Q/.<ÿN9.R                     245L4?@??ÿ5?AL?ALOÿ-;
P/>S7T                5B2ÿWI^                (9=S9)9<ÿN9T7/.>=/               245?4?@??ÿ?AU2AL3ÿ-;
P/>S7T                5B2ÿWI^                (9=S9)9<ÿN9T7/.>=/               24O4?@??ÿ5@A5@A@Cÿ9;
P/>S7T                5B2ÿWI^                P9)Q/.<ÿN9.R                     2454?@??ÿ2A@LAU5ÿ9;
*?ÿ09T0               22ÿ                    .DWZ[<ÿQYD[KD                    24??4?@??ÿ5@A?@A@@ÿ-;
*?ÿ09T0               22ÿ                    .DWZ[<ÿQYD[KD                    24??4?@??ÿ3A@OA?Oÿ-;

8 9ÿ"__ÿ9`ab                 c_       N*9>ÿeÿ91.*.9ÿ>N/ÿ-.*N/00>=SÿN/=T/.
                                    "b``dÿ0 N>=N*TT9<ÿNR=T7>9ÿ
                                    "b``dÿ1 @24?B4?@??ÿ55AL2A@Uÿ9;
                                            LÿJfÿ3                                    284
0123456ÿ589                           !"8ÿ#ÿ$8#% #% ÿ#ÿ&# ÿ#ÿ'10 ÿ
()ÿ+,-+                    ./ÿ                         ÿ9276-:
                                               0(12345678                        .;));)<))ÿ=><?>@?ÿA1
()ÿ+,-+                    ./ÿ                    BCDEF8ÿGHCFIC                   .;)@;)<))ÿJ>)?>=/ÿA1
()ÿ+,-+                    .Jÿ                    0(12345678ÿ9276-:               .;)@;)<))ÿ@>@/>K.ÿA1
()ÿ+,-+                    .Kÿ                    :CLMNO8ÿ6PQIO                   .;)<;)<))ÿ.>).><)ÿA1
()ÿ+,-+                    .Jÿ                    96R(65S8ÿ12T:,69                .;@.;)<))ÿ@>U@>@<ÿA1
()ÿ+,-+                    .Kÿ                    T,B+-63+8ÿV6,3ÿ1                .;@.;)<))ÿ@)>UJ></ÿA1
()ÿ+,-+                    .?ÿ                    W,9G6B8ÿT,BX                    .;@=;)<))ÿ@)>=)>=?ÿA1
()ÿ+,-+                    .Kÿ                    R,34,9,8ÿT,-:6B236              .;@);)<))ÿ)>K.>=/ÿA1
()ÿ+,-+                    .=ÿ                    W,9G6B8ÿT,BX                    .;@;)<))ÿ.><=>K@ÿ,1
5B236ÿ,3,9X+2+             YQZEDN[N\ÿ             ]299,8ÿ06RB,                    .;));)<))ÿ@@><=>)Jÿ,1
5B236ÿ,3,9X+2+             YQZEDN[N\ÿ             ]299,8ÿ06RB,                    .;)@;)<))ÿ@>UK>@)ÿA1
R9((0ÿAB6++5B6ÿ9X234       @@J;J)ÿZZ:^            T,B+-63+8ÿV6,3ÿ1                .;@.;)<))ÿ@)>UJ></ÿA1
R9((0ÿAB6++5B6ÿ+2--234     @@J;J@ÿZZ:^            T,B+-63+8ÿV6,3ÿ1                .;@.;)<))ÿ@)>UJ></ÿA1
R9((0ÿAB6++5B6ÿ+-,30234    @@?;/JÿZZ:^            T,B+-63+8ÿV6,3ÿ1                .;@.;)<))ÿ@)>UJ></ÿA1
A59+6ÿB,-6ÿ9X234           .)ÿRA1                 T,B+-63+8ÿV6,3ÿ1                .;@.;)<))ÿ@)>UJ></ÿA1
A59+6ÿB,-6ÿ+2--234         .KÿRA1                 T,B+-63+8ÿV6,3ÿ1                .;@.;)<))ÿ@)>UJ></ÿA1
A59+6ÿB,-6ÿ+-,30234        .?ÿRA1                 T,B+-63+8ÿV6,3ÿ1                .;@.;)<))ÿ@)>UJ></ÿA1
A(W6B,06;4,-(B,06          Tÿ                     ,751,:8ÿ0,3269                  .;));)<))ÿ@<>U)>=<ÿ,1
42ÿ_3,5+6,ÿ,30ÿ](12-234`   DCL^Nÿ                 S9(B6+8ÿ,5B692,                 .;)@;)<))ÿ@><)>K<ÿ,1
W624:-ÿSB(1ÿ+T,96          @U@ÿ                   ]299,8ÿ06RB,                    .;));)<))ÿ@@><=>)Uÿ,1
W624:-ÿSB(1ÿ+T,96          @U)ÿ                   ]299,8ÿ06RB,                    .;)@;)<))ÿ@>UK>@UÿA1
W624:-ÿSB(1ÿ+T,96          @U.ÿ                   R,34,9,8ÿT,-:6B236              .;@=;)<))ÿ@@>=.><.ÿ,1
W624:-ÿSB(1ÿ+T,96          @U.a)ÿ                 1Y3NCD8ÿGC[LHIC                 .;/;)<))ÿ@><.><@ÿA1
(5-A5-                     @K<ÿbLHINÿ             0(12345678ÿ9276-:               .;));)<))ÿK>K<><<ÿA1
(5-A5-                     U<<ÿ                   0(12345678ÿ9276-:               .;));)<))ÿ)><<><<ÿA1
(5-A5-                     KJ<ÿ                   BCDEF8ÿGHCFIC                   .;));)<))ÿ?>)<><<ÿ,1
(5-A5-                     )K<ÿ                   0(12345678ÿ9276-:               .;)@;)<))ÿK>K<><<ÿA1
(5-A5-                     <ÿ                     0(12345678ÿ9276-:               .;)@;)<))ÿ=>@<><<ÿA1
(5-A5-                     U<<ÿTTÿ                0(12345678ÿ9276-:               .;)@;)<))ÿ@<><<><<ÿ,1
23A5-                      ?<<ZDÿ                 0(12345678ÿ9276-:               .;));)<))ÿK>K<><<ÿA1
23A5-                      ?<<ÿ                   0(12345678ÿ9276-:               .;));)<))ÿK>@@><<ÿA1
23A5-                      )U?ÿ                   0(12345678ÿ9276-:               .;));)<))ÿ.><<><<ÿ,1
23A5-                      )J<ÿ                   BCDEF8ÿGHCFIC                   .;));)<))ÿ?>)<><<ÿ,1

8 9ÿ"ccÿ9def                      gc       T(,2ÿiÿ,5B(B,ÿ2T6ÿAB(T6++234ÿT63-6B
                                         "fddhÿ0 T23T(--,8ÿTX3-:2,ÿ
                                         "fddhÿ1 <.;)U;)<))ÿ@@>=.><Kÿ,1
                                                 KÿQjÿ/                                    285
0123456ÿ589                                       !"8ÿ#ÿ$8#% #% ÿ#ÿ&# ÿ#ÿ'10 ÿ
()*+,                                -./ÿ                          ÿ8(65,9
                                                           123()4+567                        :;<=;<><<ÿ?@?>@>>ÿ*3
()*+,                                /?-ÿ                          123()4+567ÿ8(65,9                        :;<=;<><<ÿ-@=>@>>ÿ*3
()*+,                                <AAÿBCDEFÿ                    123()4+567ÿ8(65,9                        :;<=;<><<ÿ=>@>>@>>ÿG3
2FCHÿ(IDCJE                          KÿLMÿ                         N82O5P7ÿG+O58(G                          :;<=;<><<ÿ=@><@<?ÿG3
+FQIEÿ2RDSRD                         ?>>ÿTHÿ                       9CFUEV7ÿ5WLIV                            :;<=;<><<ÿ=@>?@?>ÿG3
5TEXQXÿ2RDSRD                        <->T8ÿ                        Y(88G7ÿ15ZOG                             :;<<;<><<ÿ=@?=@>-ÿ*3
%[\ÿ]ÿ3
^[ÿ%[ÿ5_``a
'[bac                                        9[bcb[ÿ8[a[dÿ0ÿ%`[       '[ÿ"a[[d               "[eaÿeÿ%`[b
P2G*5ÿCIfÿGfTQIQXDFCDQUEÿILDEÿgLFÿ3EfQhCHÿ*FLUQfEFXÿLFÿ iG8j5O7ÿkGOl             :;=;<><<ÿ==@>-@?=ÿG3 *FLmFEXXÿ)LDE
)RFXEX
,nEFCSERDQhÿ1QEDÿ2FfEF                                  kGO15)GPÿ3585)1O567ÿ      :;=;<><<ÿ<@/=@-=ÿ*3 ,nEFCSERDQhÿ1QEDX
                                                        G)458(kG
P2G*5ÿCIfÿGfTQIQXDFCDQUEÿILDEÿgLFÿ3EfQhCHÿ*FLUQfEFXÿLFÿ i(88P2)7ÿZOlk5            :;<;<><<ÿ:@==@>:ÿ*3 *FLmFEXXÿ)LDE
)RFXEX
,EHETEIDCHÿ9ECHDnÿ*FLmFEXXÿ)LDEXÿoÿ9Po=AAp=             3k4+(O57ÿk28855)          :;A;<><<ÿ<@?-@->ÿ*3 ,EHETEfQhQIE7ÿ3EIDCHÿ9ECHDn
P2G*5ÿCIfÿGfTQIQXDFCDQUEÿILDEÿgLFÿ3EfQhCHÿ*FLUQfEFXÿLFÿ i(88P2)7ÿZOlk5            :;:;<><<ÿ:@>?@?>ÿ*3 *FLmFEXXÿ)LDE
)RFXEX
452ÿ4FLRSokLIXDQSCDQLIÿ*FLDLhLHÿq3ChJÿ5rCTSHEs          ZG)4G8G7ÿkG,95O()5       :;=<;<><<ÿ-@?:@-.ÿ*3 )RFXQImÿGXXEXXTEID
P2G*5ÿCIfÿGfTQIQXDFCDQUEÿILDEÿgLFÿ3EfQhCHÿ*FLUQfEFXÿLFÿ iG8j5O7ÿkGOl             :;=-;<><<ÿ<@-<@-Aÿ*3 *FLmFEXXÿ)LDE
)RFXEX
YQXRCHÿGhRQDVÿoÿ9Po=KK                                  kGO15)GPÿ3585)1O567ÿ     :;=-;<><<ÿ<@-.@><ÿ*3 2SDLTEDFV
                                                        G)458(kG
452ÿ4FLRSÿoÿ)RFXQImÿGXXEXXTEIDÿ*FLDLhLHÿoÿ              kGOP,5)P7ÿt5G)ÿ3         :;=:;<><<ÿ<@/K@>.ÿ*3 )RFXQImÿGXXEXXTEID
1QMMQIEXX;NCQIDQIm;8LXXÿLgÿkLIXhQLRXIEXXÿ
P2G*5ÿCIfÿGfTQIQXDFCDQUEÿILDEÿgLFÿ3EfQhCHÿ*FLUQfEFXÿLFÿ 85Z25+N7ÿ3(k9G58         :;=:;<><<ÿ/@/=@=>ÿ*3 *FLmFEXXÿ)LDE
)RFXEX
NLFÿ)RFXEÿRXEÿQIÿfLhRTEIDQImÿDEHESnLIEÿLFfEFXÿFEhEQUEfÿ O2PPo*5GOP2)7ÿ15(1O5     :;<>;<><<ÿ-@??@<?ÿ*3 2FfEFX
gFLTÿSFLUQfEFX
P2G*5ÿCIfÿGfTQIQXDFCDQUEÿILDEÿgLFÿ3EfQhCHÿ*FLUQfEFXÿLFÿ iG8j5O7ÿkGOl             :;<>;<><<ÿA@-K@=>ÿ*3 *FLmFEXXÿ)LDE
)RFXEX
3EfQhCHÿ2WXEFUCDQLIÿ)RFXQImÿ*FLmFEXXÿOEhLFfÿoÿ9Po=-<pA 9CFUEV7ÿ5WLIV            :;<>;<><<ÿ==@<:@><ÿ*3 *FLmFEXXÿ)LDE7ÿ3EfQhCHÿ2WXEFUCDQLI
P2G*5ÿCIfÿGfTQIQXDFCDQUEÿILDEÿgLFÿ3EfQhCHÿ*FLUQfEFXÿLFÿ Y(88G7ÿ15ZOG            :;<=;<><<ÿ==@/=@-?ÿG3 *FLmFEXXÿ)LDE
)RFXEX
P2G*5ÿCIfÿGfTQIQXDFCDQUEÿILDEÿgLFÿ3EfQhCHÿ*FLUQfEFXÿLFÿ iG8j5O7ÿkGOl            :;<=;<><<ÿ=<@?A@>=ÿ*3 *FLmFEXXÿ)LDE
)RFXEX
3EfQhCHÿ2WXEFUCDQLIÿ)RFXQImÿ*FLmFEXXÿOEhLFfÿoÿ9Po=-<pA 123()4+567ÿ8(65,9         :;<=;<><<ÿ/@=.@?:ÿ*3 *FLmFEXXÿ)LDE7ÿ3EfQhCHÿ2WXEFUCDQLI
P2G*5ÿCIfÿGfTQIQXDFCDQUEÿILDEÿgLFÿ3EfQhCHÿ*FLUQfEFXÿLFÿ 123()4+567ÿ8(65,9        :;<=;<><<ÿ/@-/@><ÿ*3 *FLmFEXXÿ)LDE
)RFXEX
P2G*5ÿCIfÿGfTQIQXDFCDQUEÿILDEÿgLFÿ3EfQhCHÿ*FLUQfEFXÿLFÿ 123()4+567ÿ8(65,9        :;<=;<><<ÿ.@-A@=:ÿ*3 *FLmFEXXÿ)LDE
)RFXEX
P2G*5ÿCIfÿGfTQIQXDFCDQUEÿILDEÿgLFÿ3EfQhCHÿ*FLUQfEFXÿLFÿ 123()4+567ÿ8(65,9        :;<=;<><<ÿ.@?:@?.ÿ*3 *FLmFEXXÿ)LDE
)RFXEX
P2G*5ÿCIfÿGfTQIQXDFCDQUEÿILDEÿgLFÿ3EfQhCHÿ*FLUQfEFXÿLFÿ i(88P2)7ÿZOlk5           :;<=;<><<ÿ:@/=@->ÿ*3 *FLmFEXXÿ)LDE
)RFXEX
3EfQhCHÿ2WXEFUCDQLIÿ)RFXQImÿ*FLmFEXXÿOEhLFfÿoÿ9Po=-<pA OCHSn7ÿjQCnIC            :;<=;<><<ÿ=>@<A@-.ÿ*3 *FLmFEXXÿ)LDE7ÿ3EfQhCHÿ2WXEFUCDQLI

8 9ÿ"uuÿ9[ca                                    vu       k2G(ÿoÿG+O2OGÿ(k5ÿ*O2k5PP()4ÿk5),5O
                                                       "a[[dÿ0 k()k2,,G7ÿkl),9(Gÿ
                                                       "a[[dÿ1 >:;</;<><<ÿ==@-:@>?ÿG3
                                                               AÿLgÿ.                                    286
0123456ÿ589                                         !"8ÿ#ÿ$8#% #% ÿ#ÿ&# ÿ#ÿ'10 ÿ
'()*+                                         9()+)(ÿ8(*(,ÿ0ÿ%-( '(ÿ"*((,     "(.*ÿ.ÿ%-()
/0123ÿ567ÿ178969:;<5;9=>ÿ6?;>ÿ@?<ÿA>79B5Cÿ2<?=97><:ÿ?<ÿ FGHH1IÿJ3KL1          MNOONOPOOÿQRSPRQTÿ2A 2<?U<>::ÿD?;>
DE<:>:
A>79B5Cÿ0V:><=5;9?6ÿDE<:96Uÿ2<?U<>::ÿL>B?<7ÿWÿX/WYZO[T J0AGD\]3^IÿHG^3_X      MNOONOPOOÿTRPTRYTÿ2A 2<?U<>::ÿD?;>IÿA>79B5Cÿ0V:><=5;9?6
/0123ÿ567ÿ178969:;<5;9=>ÿ6?;>ÿ@?<ÿA>79B5Cÿ2<?=97><:ÿ?<ÿ J0AGD\]3^IÿHG^3_X     MNOONOPOOÿ̀RPYRSZÿ2A 2<?U<>::ÿD?;>
DE<:>:
/0123ÿ567ÿ178969:;<5;9=>ÿ6?;>ÿ@?<ÿA>79B5Cÿ2<?=97><:ÿ?<ÿ J0AGD\]3^IÿHG^3_X     MNOONOPOOÿ̀RQ`RQZÿ2A 2<?U<>::ÿD?;>
DE<:>:
A>79B5Cÿ0V:><=5;9?6ÿDE<:96Uÿ2<?U<>::ÿL>B?<7ÿWÿX/WYZO[T L5CabIÿc95b65          MNOONOPOOÿMRPTROTÿ2A 2<?U<>::ÿD?;>IÿA>79B5Cÿ0V:><=5;9?6
 d(ÿ$()).()
ÿÿÿÿÿD?ÿA>::5U>:ÿ9679B5;>7




 8 9ÿ"eeÿ9(+*                                     fe       g01GÿWÿ1]L0L1ÿGg3ÿ2L0g3//GD\ÿg3D_3L
                                                         "*((,ÿ0 gGDg0__1IÿghD_XG1ÿ
                                                         "*((,ÿ1 PMNOQNOPOOÿYYRZMRPSÿ1A
                                                                 iÿ?@ÿi                                    287
       !ÿ)*                                       ÿ ÿ                                      ;<8=><?ÿ 07 0G3933920 0G39G
       ÿ,ÿ5-&4ÿ,ÿ&./-/&ÿ456ÿ0/-56114%2ÿ
       56%36/
        0 9ÿ%-/34ÿ-&5'&%6ÿ13/663                            01010223                                        <;@A9ÿ B9<210 13933ÿ0GH39
                                                           ($         # 9                               B9<ÿ<8<=E<F210 13933ÿ03H39
       &./-/&7ÿ5-ÿ 9909                                   456      !"#$68%&8%&                         B9<ÿCD<AE<F210 13933ÿ03H99
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            %04H099 390039



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   )[=?=8B[ÿC?@A>B[=9=<Dÿ\>>BA]                     ^$V_ÿSNLÿINSLVXSÿVKKÿVRSNTUVKÿTPQJKLQ`ÿSVTTVLXYPÿTPQJKLQÿUV_ÿSNLÿaVYPÿVRSNTUVKÿWKVbQcÿÿ
                                                                                    0KPVQPÿTPYXPdÿPSLXTPÿTPeNTLcf
88\[9ÿ[@@F                      g@D=9=E<ÿ
 -IIJKLÿMKNNO
 3PQL                          /PQJKL         &RSNTUVK /PWPTPSIP                           .SXLQ                        1LVLJQ             'VR
  -IIJKLÿMKNNO                                0NQXLXYPÿ& %62&34Z6
  -IIJKLÿMKNNOÿ3                                         %62&34Z6
  -IIJKLÿMKNNOÿ                                          %62&34Z6
g"#ÿ




jÿlÿmnjopÿjopÿioqrsjÿÿtÿÿjjÿlÿsjnquÿjopÿÿtÿÿvÿlÿsmownÿvxyvÿioqrsjÿtÿÿvvÿlÿsjnquÿvxyvÿÿtÿzÿlÿ{six|ÿjopÿÿtÿ}ÿlÿ{six|ÿvxyvÿtÿsÿlÿsmioqrsjÿt
ÿssÿlÿ|qxux|sjÿsmioqrsjÿtÿ~ÿlÿ~~|n{uxmjnÿtÿqÿlÿqn~x~usiuÿtÿxÿlÿxiunqrnxsunÿtÿinyÿlÿinysuxwnÿtÿ{o~ÿlÿ{o~xuxwn
$VSJVKÿ6SLT_                                                                                                                           0288
                                                                                                                                        VbPÿ0ÿNWÿ0
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       !ÿ)*                                       ÿ ÿ                                      ;<8=><?ÿ G7 0G3933920 0 7 9
       ÿ,ÿ5-&4ÿ,ÿ&./-/&ÿ456ÿ0/-56114%2ÿ
       56%36/
        0 9ÿ%-/34ÿ-&5'&%6ÿ13/663                            01010223                                        <;@A9ÿ B9<210 13933ÿ0 H7
                                                           ($         # 9                               B9<ÿ<8<=E<F210 13933ÿ00H73
       &./-/&7ÿ5-ÿ 9909                                   456      !"#$68%&8%&                         B9<ÿCD<AE<F210 13933ÿ00H 9
         889ÿ:                                          733890     '
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 i&134%2H       j                       3NLVKÿYNKJUPH                                   1NJTIPH
  )")ÿh
   )[=?=8B[ÿC?@A>B[=9=<Dÿ\>>BA]                     ^$V_ÿSNLÿINSLVXSÿVKKÿVRSNTUVKÿTPQJKLQ`ÿSVTTVLXZPÿTPQJKLQÿUV_ÿSNLÿaVZPÿVRSNTUVKÿWKVbQcÿÿ
                                                                                    0KPVQPÿTPZXPdÿPSLXTPÿTPeNTLcf
88\[9ÿ[@@Fÿg                    h@D=9=E<ÿ
 -IIJKLÿMKNNO
 3PQL                          /PQJKL         &RSNTUVK /PWPTPSIP                           .SXLQ                        1LVLJQ             'VR
  -IIJKLÿMKNNO                                           %62&34Y6
  -IIJKLÿMKNNOÿ3                              0NQXLXZPÿ& %62&34Y6
  -IIJKLÿMKNNOÿ                                          %62&34Y6
h"#ÿ




kÿmÿnokpqÿkpqÿjprstkÿÿuÿÿkkÿmÿtkorvÿkpqÿÿuÿÿwÿmÿtnpxoÿwyzwÿjprstkÿuÿÿwwÿmÿtkorvÿwyzwÿÿuÿ{ÿmÿ|tjy}ÿkpqÿÿuÿ~ÿmÿ|tjy}ÿwyzwÿuÿtÿmÿtnjprstkÿu
ÿttÿmÿ}ryvy}tkÿtnjprstkÿuÿÿmÿ}o|vynkoÿuÿrÿmÿroyvtjvÿuÿyÿmÿyjvorsoytvoÿuÿjozÿmÿjoztvyxoÿuÿ|pÿmÿ|pyvyxo
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      732ÿ?//0ÿ@9/2;91?/.ÿ,1ÿ7/A@ÿ81,7ÿ712ÿ03:2/3ÿ30.ÿ10<196/.ÿ,1ÿ3,,/6@,ÿ,1ÿ,94ÿ30.ÿ9/@A/0127ÿ216/ÿ1<ÿ,7/ÿ/A/;,91A4,/2ÿ7/ÿA12,ÿ<916ÿ712ÿ@9/511:2ÿ/6/212
      /@121./2ÿ?4ÿ.910B10=ÿ216/ÿ1<ÿ,7/ÿC3,193./ÿ@9/@39/ÿ<19ÿ716ÿ30.ÿ/3,10=ÿDÿ19ÿ73A<ÿ3ÿ@3;Bÿ1<ÿ;93;B/92>ÿ>ÿ
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      30.ÿ,7/ÿ@310ÿ,73,ÿ7/ÿ12ÿ/L@/91/0;10=ÿ30.ÿ10<196/.ÿ,73,ÿ7/ÿ732ÿ6/.1;3,110ÿ,1ÿ7/A@ÿ81,7ÿ712ÿ03:2/3ÿ30.ÿ,7/ÿ5161,10=ÿ30.ÿ10<196/.ÿ,73,ÿ7/ÿ634ÿ2,39,
      ,1ÿ<//Aÿ3ÿA1,,A/ÿ?/,,/9ÿ1<ÿ7/ÿ,91/2ÿ,1ÿ/3,ÿ216/,710=ÿ30.ÿ1<ÿ7/ÿ,91/.ÿ,1ÿ.910Bÿ@A/0,4ÿ1<ÿ83,/9>ÿ+,ÿ5/9?3A1M/.ÿ:0./92,30.10=ÿ1<ÿ10<1963,110ÿ30.ÿ2,3,/2ÿ,1ÿ,712
      0:92/ÿ,73,ÿ7/ÿ81AAÿ3,,/6@,ÿ,1ÿ/3,ÿ216/,710=ÿ30.ÿ.910Bÿ32ÿ6:;7ÿ32ÿ7/ÿ;30ÿ30.ÿA/,ÿ6/ÿB018ÿ1<ÿ7/ÿ732ÿ304ÿ122:/2>ÿ
      +A30ÿ30.ÿN.:;3,110
     OP3
      .910Bÿ@A/0,4ÿ1<ÿ83,/9ÿ30.ÿ3,,/6@,ÿ,1ÿ/3,ÿ3ÿ203;Bÿ19ÿ216/,710=ÿ
      46753
      /.:;3,/.ÿ10ÿ16@19,30,ÿ1<ÿ.910B10=ÿ@A/0,4ÿ1<ÿ<A:1.2ÿ,1ÿ9/@A3;/ÿ/A/;,91A4,/2ÿA12,ÿ<916ÿ5161,10=>ÿ
     2ÿ67ÿÿ74'8ÿ5ÿ68ÿQRS
          01
2368T868ÿU888
    V/2
      2368T868ÿU8ÿ35ÿW
      XYYXZY



Q8 74PÿRo86753ÿU 73'ÿO5'8ÿ845ÿpÿ&(pqrstuO
_/.1;3Aÿv?2/953,110ÿ0:9210=ÿ+91=9/22ÿw/;19.ÿ^ÿxy^Dna>z
                                                       O67836ÿU8ÿ{v|}~yGÿyNwxE
                                                         67836ÿU o8 ÿaaZmDanae
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                                                                               P8465374PPÿ(7'38ÿcÿw3A@7Gÿ}13703ÿ53ÿZedaDdaZaaÿaZKazKnm
                                                                             Xÿ1<ÿn
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+-GH80Iÿ0JKL  M""'#"&"                                                 -+>ÿ#!#!# "ÿD9EF 56/16>ÿ?54@A4@B2@B2@C""@#@3


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 1234ÿ526ÿ78                   !""!"""ÿ#&$9'$#:                                                    ;<=




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                                                             56/16>ÿ?54@A4@B2@B2@C""@#@3
                                                             -+>ÿ#!#!# "
                                                             h1/0,>ÿ2f82ÿ?54ÿ̀854bb?Biÿ54Bg4
                                                             J03/6/100,ÿ073ÿ+,ÿÿÿ6ÿ !"#!"""ÿ"$"%$&'
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PH[\]5^ÿ5420 _TTU`VTaTY                                                                                            XHPÿV5V5VYYTÿJZU<K 1M'ÿR?4I*4I2I2ISTTIUVIW

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       F9ÿ;D89Cÿ9ÿ9C C89Cÿ89ÿ:A:=A+ÿ!888ÿA!-ÿ ÿ;889CÿÿFDÿFAÿ-8ÿE:89!BÿGA9 +89Cÿ-8ÿ86 Bÿ96ÿ:+<89Cÿ!- ÿÿD:ÿ-8
       7896ÿ!!A:86ÿ96ÿ- :@ÿÿ9-8ÿ!+898!89ÿ:+<6ÿÿC 7ÿ=ÿ!- ÿ;8-ÿ-8ÿ: 89ÿÿFA8+6ÿ :: ÿ96ÿ6A!ÿ9E8<Bÿ;-8!-ÿ-8ÿ: 89ÿ ++<
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       !989Aÿÿ<ÿ96ÿ6ÿ-8@ÿ,8ÿ!6ÿ8968! 6ÿ- ÿ-ÿ; ÿ D89Cÿ-8ÿ:<!- :8!ÿ768! 89ÿ ÿ:!8F6@ÿ,ÿ6986ÿ9<ÿ6 9CAÿ86 89
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       9-8ÿ: 89ÿ:96ÿ ÿ+ ÿ96ÿ896@ÿ,ÿ; ÿ68-+6ÿ;8-ÿ-8ÿ- 8ÿ96ÿ6 6ÿ89ÿ-ÿ:::8ÿA98=7@ÿ,8ÿ76ÿ; ÿ9E8Aÿ96
       -8ÿ==!ÿ; ÿ!+7ÿ5ÿF+A96@ÿ,8ÿ76ÿ96ÿ==!ÿ;ÿ!9CA9@ÿ,ÿ; ÿ!: 8ÿ96ÿ:!=A+ÿ; 6ÿ-8ÿ!+898!89@ÿ,ÿ 6ÿ- ÿ-ÿ-
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       3>42ÿ8Dÿ+6ÿ8 Aÿ ÿ-8ÿ87@ÿ,ÿ7 6ÿ9ÿ7989ÿ=ÿ=+89CÿA9 =ÿ;-ÿ-ÿ; ÿ!A 9+<ÿ-A6ÿ96ÿ- ÿ9ÿ9ÿ8ÿ 7:89Cÿ
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5H0"3 0O%''#M'8ÿ)                                                                          "M'ÿ)M%ÿL1bcd0Bÿ04>,29
                                                                                                    "M'ÿ)%6ÿTTU`VTaTY
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                                                                                                 Vÿ=ÿa
                                                                                                                                                            311
`<efg7=ÿ7Ch6'- i]]^j_]k]a                                                    <`ÿ_#_#_aa]ÿbc^d W+3)+5ÿXYZ2[Z2E2E2\]]2^_2:
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             7.,38ÿ4,93)+5
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             6+7,38ÿ4,93)+5
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             -+./)ÿ8+5)95)
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             <95)9,ÿ)+ÿ-79=ÿ0839=ÿ09+5=ÿ35,ÿ7).3)+5
                 >15
             *97+?@8+595)3)+5
                 A!3ÿ13ÿ42 :!ÿ13ÿ42
             45/)@B.,/795)
                 1!!6
             C)73)9,ÿ4D
                 E$1341
      ,ÿ3)95)ÿ9(.9ÿF)38
      GHÿJGKLMNÿONHPQRMR
      '9795)@7*STÿ3/5+ÿU58.,9ÿ3)+5389ÿ(+ÿ,3/5+V


7<'0C@  ',75)3)F9ÿl+)9                                        03)95)ÿl379ÿo pqrAsÿAZtuEv
                                                                   03)95)ÿl.79ÿ]]^j_]k]a
A EmZÿ46ÿE6534$1ÿ!1ÿn!3ÿ[1624"ÿm3!$6135ÿ!3ÿ3515          W+3)+5ÿXYZ2[Z2E2E2\]]2^_2:
                                                                   <`ÿ_#_#_aa]
                                                                   w38)?ÿErt tEÿXYZÿmt YZAAX1ÿYZ vZt
                                                                   C89)+5388?ÿ7/59,ÿ̀?ÿ9X::A sÿot>YZÿ+5ÿ^a#]_#]^]]ÿ_axc_xk^
                                                                 ]ÿ!nÿk
                                                                                                                        312
i-klm4nÿ4+*e12 o1$5K2                                                                 0-i)ÿ5U5U522ÿj01J5 hTQ'RST()ÿ77 7 77157

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       %&'()
        *+,-..+/0123-/4)
        535ÿ678ÿ9:;7<=;ÿ>7??ÿ@<ÿ8A6<BC?<BÿDEFÿ:ÿDE??E>7C9ÿ>7;6ÿG<=;:?ÿ6<:?;6ÿ7=ÿ$ÿ6ECF8ÿ;EÿA6<AHÿE=ÿ678ÿ><??7@<7=I3ÿ
        ÿ
        35ÿ678ÿ9:;7<=;ÿ>7??ÿAE=;7=C<ÿ>7;6ÿ98JA67:;F7AÿA?7=7Aÿ:8ÿ:?F<:BJÿAE=8;7;C;<B3ÿ
        ÿ
        035ÿ678ÿ9:;7<=;ÿ>7??ÿAE=;7=C<ÿ>7;6ÿ;678ÿ;F<:;G<=;ÿ9?:=ÿ:8ÿ:?F<:BJÿAE=8;7;C;<B3ÿ
        ÿ
        K35ÿ678ÿ9:;7<=;ÿ>7??ÿH7;<ÿG<=;:?ÿ6<:?;6ÿ7Dÿ6<ÿ=<<B8ÿ;Eÿ@<ÿ8<<=ÿ:=Bÿ>7??ÿ:?<F;ÿ8<ACF7;Jÿ8;:DDÿ7=ÿA:8<ÿEDÿ:ÿG<=;:?ÿ6<:?;6ÿ<G<FI<=AJ3ÿ
        ÿ
        35ÿ678ÿ9:;7<=;ÿ78ÿACFF<=;?Jÿ6EC8<Bÿ7=ÿG<B7A:?ÿ:=Bÿ>7??ÿ=<<Bÿ;Eÿ@<ÿA?<:F<BÿDEFÿI<=<F:?ÿ9E9C?:;7E=ÿDFEGÿG<B7A:?ÿ8;:=B9E7=;3ÿÿL<ÿ78ÿA?<:F<BÿDEFÿ!8
        DFEGÿ:ÿG<=;:?ÿ6<:?;6ÿ8;:=B9E7=;3ÿ
        ÿ
        M35ÿ678ÿ9:;7<=;ÿ>7??ÿAE=;7=C<ÿ>7;6ÿG<B7A:?ÿ:=Bÿ=CF87=Iÿ:8ÿ:?F<:BJÿ<8;:@?786<BÿF<I:FB7=Iÿ678ÿ7=:@7?7;Jÿ;Eÿ<:;ÿ:=BÿNEG7;7=Iÿ<N<FJÿ;7G<ÿ6<ÿ<:;83
         !ÿ8 ÿ9978ÿL ÿLÿ8  ÿ! !ÿLÿ 3ÿ
       +OPQ'RST()
          678ÿ9:;7<=;ÿ>:8ÿ<BCA:;<Bÿ:=BUEFÿ9F<N7EC8?Jÿ<BCA:;<Bÿ>7;6ÿF<I:FBÿ;Eÿ;6<ÿH7;<ÿ8J8;<Gÿ:=Bÿ6E>ÿ;EÿAE=;:A;ÿG<=;:?ÿ6<:?;6ÿ:=Bÿ;Eÿ:?<F;ÿ8<ACF7;Jÿ8;:DDÿ7=
        A:8<ÿEDÿ:ÿG<=;:?ÿ6<:?;6ÿ<G<FI<=AJ3ÿ678ÿ9:;7<=;ÿ>:8ÿ:?8Eÿ9F<N7EC8?JÿI7N<=ÿ:ÿ<=;:?ÿL<:?;6ÿ:FBVÿ>7;6ÿ;678ÿA?7=7A7:=V8ÿ=:G<ÿ:=Bÿ;7;?<ÿ:=B
        7=8;FCA;7E=8ÿ;Eÿ86E>ÿ;6<ÿA:FBÿ;Eÿ8<ACF7;Jÿ8;:DDÿ7Dÿ6<ÿ6:Bÿ:ÿG<=;:?ÿ6<:?;6ÿ<G<FI<=AJ3ÿ
       *WQTXXW(OÿZ&'QWXW(RÿP(OW[ÿT\]W[^'RST(ÿOPWÿRTÿZ]_Q`TRSQÿ]_XZRTX]ÿT[ÿTR`W[ÿ]W^W[WÿZ]_Q`S'R[SQÿ]_XZRTX]ÿaSR`TPRÿZ[W]W(R
       ]PSQSOWÿ[S]b)
           E;ÿ=<A<88:FJ
4Q`WOP&WÿcT&&TadPZÿaSR`)
   <=;:?ÿL<:?;6
       <=;:?ÿL<:?;6
       2SXWc['XWÿcT[ÿcT&&TadPZÿaSR`ÿ.W(R'&ÿeW'&R`)
          <f;ÿ:J
0TW]ÿ/P[]S(gÿ(WWOÿRTÿ[W^SWaÿ(TRWÿcT[ÿT[OW[])
   <8


4-1%+p  1OXS(S]R['RS^Wÿ/TRW                                                   %'RSW(Rÿ/'XW)ÿ9q# ÿ L
                                                                              %'RSW(Rÿ/PX\W[)ÿ1$5K2
 9 8ÿ:=BÿBG7=78;F:;7N<ÿ=E;<ÿDEFÿ<B7A:?ÿ8FEN7B<F8ÿEFÿCF8<8                  hTQ'RST()ÿ77 7 77157
                                                                              0-i)ÿ5U5U522
                                                                              r'QS&SR_)ÿ 9 ÿÿ8 9 !ÿ 
                                                                              +&WQR[T(SQ'&&_ÿ4Sg(WOÿi_ÿ 9ÿ ÿT(ÿ12U5U1ÿ52s05sK1
                                                                           0ÿEDÿK
                                                                                                                                              313
<;@ABÿCDE F1152141/                                              ;<9ÿ20202//1ÿ=>? 6 219ÿ!*+78+7%97%97:11727"

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      01234543234ÿ7 3ÿ184ÿ9
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                                                          3ÿ
 34ÿ7 3                                                          82 23183
  !""#$%&ÿ() *+&ÿ,-.                                                /0120111ÿ2/3234
  !""#$%&ÿ() *+&ÿ,-.                                                /0120111ÿ234534/




;GC  812423ÿ723                                   G 2312ÿ7 39ÿ($UVW#&ÿ#+)-9X
                                                             G 2312ÿ7Y349ÿ1152141/
#$9,+ÿHIJÿ9JKLILMNHMLOÿIPMÿQPNÿ8 JLRHSÿ,NPOLJ NÿPNÿ%TN       6 219ÿ!*+78+7%97%97:11727"
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       VU6PK2014ÿS=S9Mÿ202Uÿ0ÿLVU1204NÿGGÿTK0PKUUÿ8ÿ03I2XL0NÿKP1ÿ42 Rÿ10PIKUÿ1 4ÿ*2KUXYÿGÿLZ5AS5ASAAÿGÿ8S5AS5ASAAN
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       54 UK_K4ÿ8A=95[ÿP2]U4PÿL2PK<4IPNÿGGÿTP2?4ÿ8ÿP2]U4PL0Nÿ1I2UUXÿPWK4ÿ*2KUXYÿGÿLZ58Z5ASAAÿGÿ8S58Z5ASAAN
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       1543I2_1U4ÿAS5[ÿ*IÿP2]ÿL3IKU104 NÿGGÿTP2?4ÿ8ÿP2]U4PL0Nÿ1I2UUXÿ1 4ÿ*2KUXYÿGÿLZ5AS5ASAAÿGÿ8S5AS5ASAAN
       042ÿQ=J5[ÿP2]U4PÿL041?1PNÿGGÿTP2?4ÿ8ÿP2]U4PL0Nÿ1I2UUXÿ1 4ÿ*2KUXYÿGÿLZ58Z5ASAAÿGÿ8S58Z5ASAAN

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        PGÿN5*)/+*ÿ,)H/+ÿDA6@65Q
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                                                                     TÿMÿk
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`_abRPcÿP9deSU f$$Z]$2$[                                                       T_`ÿ33[[$ÿ",Z.# Q ÿ%0^10^=V^=V^5$$^Z^X

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                                            UNITED STATES DEPARTMENT OF JUSTICE
                                          EXECUTIVE OFFICE FOR IMMIGRATION REVIEW
                                                 OTERO IMMIGRATION COURT

                Respondent Name:                                            A-Number:
                BOZKUS, SERHAT                                              220712429
                To:
                Serbest, Metin                                              Riders:
                2200 E. Devon Ave Suite 358                                 In Custody Redetermination Proceedings
                Des Plaines, IL 60018
                                                                            Date:
                                                                            03/09/2022




                                                ORDER OF THE IMMIGRATION JUDGE



                      The respondent requested a custody redetermination pursuant to 8 C.F.R. § 1236. After full consideration
                      of the evidence presented, the respondent’s request for a change in custody status is hereby ordered:

                             Denied, because
                            flight risk


                             Granted. It is ordered that Respondent be:

                                released from custody on his own recognizance.

                                released from custody under bond of $
                                other:



                             Other:
EOIR 24 of 45




                                                                              Immigration Judge: Girvin, Ralph 03/09/2022
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                Appeal:     Department of Homeland Security:                waived    reserved
                            Respondent:                                     waived    reserved


                Appeal Due:


                                                             Certificate of Service
                This document was served:
                Via: [ M ] Mail | [ P ] Personal Service | [ E ] Electronic Service
                To: [ ] Noncitizen | [ ] Noncitizen c/o custodial officer | [ E ] Noncitizen’s atty/rep. | [ E ] DHS
                By: Castillo, Irene , Court Staff
                Date: 03/09/2022
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                    Contemporaneous Notes of ICE Custody at Cibola County Correctional Center
                    (private facility operated by Core Civic under contract to ICE in Milan, NM)

                    Below are the translations of
                    County Correctional Center taken by hand as a contemporaneous record of his treatment in ICE
                    custody.



                    Notes from Detention of Tuesday, June 14th, 2022

                     When I woke up this morning, I saw 18 scratches on the paper. So between 03:30 AM and 10:50
                    AM I woke up with 18 nightmares. In other words, I had a nightmare and woke up every 24
                    minutes. I was not taken to the otolaryngologist again today. I was not taken to the appointment
                    for the slipped disc. And I was not allowed to see the psychologist Dr. Ortiz. But today I spoke to
                    psychologist Dr. Williams. I told her that I was afraid of committing suicide, that fear of confined
                    spaces has started, that I could not take a shower because of the fear, and that I had physical
                    ailments. She told me that my physical ailments could affect my psychology and that she would
                    write to make a request for treatment. I also told her that I was starting to forget things now. She
                    also gave me a series of question-and-answer papers to strengthen my memory. I am having
                    difficulty walking day-by-day and the pain in my ear is getting worse. I can no longer eat on my
                    left side [of my mouth]. I am constantly coughing and speaking in a low voice because of my
                    throat. Since I have hearing loss, my friends have to speak loudly to communicate with me. Also,
                    an officer who called himself moli asked for me and said she feels sorry for me, she believes I
                    would enter the USA. Also, after I finished talking to my lawyer, the officer whose name was
                     King was there and he said he feels sorry for me and wishes me the best. Regarding the white on
                    my beard, he said that My grandfather told me a long time ago that these are a sign of wisdom
EOIR 34 of 45




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                      Serhat BOZKUS A# 220-712-429_
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         Filed at BIA on: 7/27/2022 at 9:55:08 p.m. Central Daylight Time




                    Scan of Original Turkish-language Notes from Detention of Tuesday, June 14th, 2022
EOIR 35 of 45




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                      Serhat BOZKUS A# 220-712-429_
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         Filed at BIA on: 7/27/2022 at 9:55:08 p.m. Central Daylight Time




                    Notes from Detention of Wednesday, June 15th, 2022

                     When I woke up today there were 21 scratches on the paper. So between 03:00 AM and 10:20
                    AM I had 21 nightmares and woke up. This means that I wake up every 21 minutes on average. I
                    was not shown to the otolaryngologist again today. I wasn't taken to the slipped disc appointment.
                    And I was not allowed to see Doctor Ortiz again. It has been exactly 15 days since they said that
                    the condition of my ear was serious and they said that I need to see a specialist. It's been 12 days
                    since I have foot limp from a slipped disc and the appointment was made. It's been 10 days since
                    I asked for an appointment with Doctor Ortiz. It's been 8 days since the ICE officer said in 15 days.

                    The total amount of water they bring to 26 people today is 15 liters. That is about half a liter per
                    person. Here, here are psychological and physical disorders, as well as food and beverage
                    problems. Today is my 59th day in Cibola. No fruit or anything like that was given. In other words,
                    the amount of water and vitamins we need to take daily is not provided in any way. Besides,
                    sometimes even the food tastes raw. For example, on June 14, 2022, they fed us raw potatoes.

                    The painkillers they gave me also started to lose their effectiveness slowly. Yesterday,
                    psychologist Wilson gave me a memory booster test. But when I saw the test, I was very surprised.
                    Because the test was in English. However, I stated that I do not know English. That's why we made
                    the conversation with translation. What a funny situation, isn't it? Look how much they care about
                    my health.

                     In addition to knowing these, I really want you to understand me. We have come to the end of
                    another psychological and cruel day that was enforced to me. A funny phrase came to my mind.
                       ood night or sweet dreams ? I wonder if it would be bad night with full of nightmares. It's
                    going to be very funny, but I'll give you the answer tomorrow.
EOIR 36 of 45




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                      Serhat BOZKUS A# 220-712-429_
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         Filed at BIA on: 7/27/2022 at 9:55:08 p.m. Central Daylight Time




                    Scan of Original Turkish-language Notes from Detention of Wednesday, June 15th, 2022
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                      Serhat BOZKUS A# 220-712-429_
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         Filed at BIA on: 7/27/2022 at 9:55:08 p.m. Central Daylight Time
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                      Serhat BOZKUS A# 220-712-429_
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         Filed at BIA on: 7/27/2022 at 9:55:08 p.m. Central Daylight Time




                    Notes from Detention of Thursday, June 16th, 2022

                        I couldn't sleep tonight. I had nightmares every time I closed my eyes. The total hours I slept was
                    2 or 3 hours. Thus, I have answered the question that I said yesterday that I would answer
                    tomorrow. I was not shown to the otolaryngologist again today. The doctor didn't see me for the
                    slipped disc. I couldn't meet with [Psychologist] Doctor [Anne] Ortiz. The nurse who gave me the
                    drugs this morning showed me the patient form I had filled earlier and asked, Is this yours? I
                    said yes. S/he asked about my problems.1 After I pointed it out with body language, s/he asked me
                    the degree of pain. Between 1 and 10, I said 6-7. S/he took his/her note and left and never came
                    back. About 35 hours after the 15 liters of water that was brought yesterday morning, today around
                    04:00 PM only 15 liters were brought again. Of course for 26 people.

                    Despite the medication I took last night, I couldn't sleep. They didn't give me sleeping pills today
                    either. It seems like this night will be one of the days that I can't sleep. Also tonight I tried to talk
                    to [Cibola County Correctional Center Detainee Case Manager Ms. Joaquina] Galindo regarding
                    my ear by showing the reports. She said that she talked to my lawyer about the situation, then she
                    would come to talk to me. I've also added talking to Galindo, who is in charge here, to my waiting
                    list. I hope this wait will not be as long as my other waits. I have come to the end of the day in this
                    country where freedom is restricted and where I came for freedom, and while doing this, I live in
                    a prison, not in a camp, despite all my illnesses.
EOIR 39 of 45




                    1
                     Note on translation: the Turkish word for
                    of the nurse about whom he is speaking is not known or is unclear.

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                        Serhat BOZKUS A# 220-712-429_
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         Filed at BIA on: 7/27/2022 at 9:55:08 p.m. Central Daylight Time




                    Scan of Original Turkish-language Notes from Detention of Thursday, June 16th, 2022
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                      Serhat BOZKUS A# 220-712-429_
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         Filed at BIA on: 7/27/2022 at 9:55:08 p.m. Central Daylight Time




                    Notes from Detention of Friday, June 17th, 2022

                     I didn't have to count the scratches today. Because, as I mentioned yesterday, I slept for a few
                    hours intermittently because they didn't give me my sleeping pills. It was no different than any
                    other day though. I realized that sleeping pills can't put me to sleep anymore. Today I was not
                    taken to the otolaryngologist as usual. I wasn't taken to the slipped disc appointment. And I wasn't
                    allowed to see Doctor Ortiz. I couldn't talk to Officer Galindo", whom I added to my waiting list.
                    Take a look at what I am told and experiencing in this land where I came as a refugee to live free
                    and save my life. My freedom is restricted, my ear is in danger of being deaf, my leg may be
                    crippled, my throat condition is getting worse and my psychological problem will last a lifetime
                    as it has become chronic. As you can see, I live freely in a free country and have saved my life. I
                    hope you understand this and not just the irony. You know what, time has become a tool that kills
                    me here. Since my pen is short and my papers are limited, I have to write in a limited fashion.
                    Look, there is a person who does not have the freedom to write, in the land of freedom.
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                      Serhat BOZKUS A# 220-712-429_
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         Filed at BIA on: 7/27/2022 at 9:55:08 p.m. Central Daylight Time




                    Scan of Original Turkish-language Notes from Detention of Friday, June 17th, 2022
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                      Serhat BOZKUS A# 220-712-429_
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         Filed at BIA on: 7/27/2022 at 9:55:08 p.m. Central Daylight Time




                    Notes from Detention of Saturday, June 18th, 2022

                     I didn't even have to scratch tonight too. Because I slept little again. I wasn't taken to any health
                    appointments today either. And the official [CCCC Detainee Case Manager Ms. Galindo] has not
                    come to meet me yet. I had a first in a long time today. 30 liters of water arrived in the ward today.
                    In other words, each person can drink about 1 liter of water. This negative situation has turned into
                    a positive event. My drugs are constantly given irregularly. Sometimes it is not given. At the
                    moment, my pen cannot describe the situation I am in and I cannot write.

                    I am in such a difficult and untenable situation that it has become unbearable. Sometimes words,
                    syllables and sentences lose their meaning against something and get stuck in the throat. Right
                    now, even the letters are stuck in my pen not only in my throat. And it writes intermittently, as if
                    to force me to stop. No words, no sentences and no pen are able to describe my plight today. Today
                    only silence can speak for me. And it is only for [those] who can listen to the sound of silence.
                    And I'm going to put down my pen and listen to the voice.
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                      Serhat BOZKUS A# 220-712-429_
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         Filed at BIA on: 7/27/2022 at 9:55:08 p.m. Central Daylight Time




                    Scan of Original Turkish-language Notes from Detention of Sunday, June 18th, 2022
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                      Serhat BOZKUS A# 220-712-429_
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         Filed at BIA on: 7/27/2022 at 9:55:08 p.m. Central Daylight Time




                    Notes from Detention of Sunday, June 19th, 2022

                     When I woke up today there were 16 scratches on the paper. So between 04:30 AM and 10:10
                    AM I had 16 nightmares and woke up. This means that I wake up due to nightmares approximately
                    every 22 minutes. Again, today I was not taken to any appointments or interviews. Then I filled
                    the patient form again and gave it to the nurse. In our previous conversations with the doctor, the
                    doctor told me, You have to go to the hospital, but that's for ICE to decide. I'll take my note, take
                    it to ICE, we'll take it to class. This means that the ICE police don't care about my health at all. I
                    don't think what I've been through here fits in the US's understanding of justice in any way. I am
                    sure that the day will come when justice will definitely be served and it will be understood that I
                    have been held unjustly. On that day, I have no doubt that I will take those who made me
                    experience these things to court and I will win. Again, no water today. There was no drinking
                    water for about 30 hours. My physical pain is very severe. Sometimes I can't stand the pain. My
                    mental state is getting worse and worse. And I have a hard time dealing them now. I'm afraid of
                    dying here or committing suicide in prison, because I can't go back to my country.
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                      Serhat BOZKUS A# 220-712-429_
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        Filed at BIA on: 7/27/2022 at 9:56:23 p.m. Central Daylight Time




                   Scan of Original Turkish-language Notes from Detention of Sunday, June 19th, 2022
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                     Serhat BOZKUS A# 220-712-429_
                                                                                                       160546
        Filed at BIA on: 7/27/2022 at 9:56:23 p.m. Central Daylight Time




                   Notes from Detention of Monday, June 20th, 2022

                    When I woke up today there were 17 scratches on the paper. So, between 05:00 AM and 11:30
                   AM, I had a total of 17 nightmares and woke up every 23 minutes. They took me to the medical
                   today. But without examining they said, Your appointment requests have been made, you have to
                   wait Even though I said that my pain was getting worse, it didn't help. I've been waiting to see an
                   ear since June 1, slipped disc since June 3, and the psychologist Ortiz since June 10. And these are
                   problems that have reached serious dimensions, where drugs no longer help. I said again that I
                   have chronic pharyngitis. Even though I told him that I had been coughing constantly for the last
                   week and that no medicine was given for it, he sent me back to the ward without giving any
                   medicine. In other words, my health requests are not answered in any way. The skin under my feet
                   began to peel off. They gave a cream called Athlete's Foot just for it. When I asked the name of
                   the medical officer I spoke to, he/she told me. I also asked him/her to write it down. After that,
                   he/she neither wrote nor said his/her name. I would like to pour my heart out here, but as I said
                   before, There is a person in the land of freedom who does not even have the freedom to write I
                   caught myself at the last moment when I was going to fall again with sudden dizziness today. Cihat
                   Demir is a witness to this situation. 48 hours later, only 15 liters of water came [for the unit] again.
EOIR 2 of 45




                                                                                                                         14
                     Serhat BOZKUS A# 220-712-429_
                                                                                                                        161547
        Filed at BIA on: 7/27/2022 at 9:56:23 p.m. Central Daylight Time




                   Scan of Original Turkish-language Notes from Detention of Monday, June 20th, 2022
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                                                                                                        15
                     Serhat BOZKUS A# 220-712-429_
                                                                                                       162548
        Filed at BIA on: 7/27/2022 at 9:56:23 p.m. Central Daylight Time




                   Notes from Detention of Tuesday, June 21st, 2022

                    I couldn't sleep again tonight. I slept limited. I slept 2-3 hours in total. Today my physical pain
                   was very severe. Painkillers had little effect. After 05:00 pm in the evening, my right foot is
                   constantly limping. It's still limp and sore. My chronic pharyngitis is also very bad at the moment,
                   and because of this, I can't talk comfortably, I can't drink and I have a fever all the time.

                    The pain in my ear is getting so intense that it gives me a headache. I'm vomiting, I can't eat. And
                   I am constantly experiencing sudden dizziness. Despite this, no intervention nor an appointment
                   is made and I am told to wait. When I ask about the date of the appointment, it is said that the date
                   is not certain. Despite taking painkillers, the pain in my right leg has not subsided and I am limping.
                   I haven't been able to sleep tonight, I don't know how to pass these nights with these pains in
                   addition to the sleepless nights.
EOIR 4 of 45




                                                                                                                       16
                     Serhat BOZKUS A# 220-712-429_
                                                                                                                      163549
        Filed at BIA on: 7/27/2022 at 9:56:23 p.m. Central Daylight Time




                   Scan of Original Turkish-language Notes from Detention of Tuesday, June 21st, 2022
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                                                                                                         17
                     Serhat BOZKUS A# 220-712-429_
                                                                                                        164550
        Filed at BIA on: 7/27/2022 at 9:56:23 p.m. Central Daylight Time




                   Notes from Detention of Wednesday, June 22nd, 2022

                    I wasn't taken to any of my appointments today either. The effect of the painkillers has decreased
                   a lot today and my right foot is limping. The limp, which started at 05:00, continued throughout
                   the day. Again, no water was brought in today. I couldn't even meet with [Ms.] Galindo. Today I
                   learned the name of the nurse who said he/she would come back but did not come and did not
                   intervene on June 10th when I had dizziness and could not walk. The nurse's name is "Cimerron
                   Hester". I lost my [hearing in my] ear because I wasn't treated here. Now they do the same thing
                   for my slipped disc. They do not treat [it], and I am not taken into consideration. Despite reporting
                   to the ICE Police, no action is taken. Also, this ICE police's name is Brant Because he has fidelity
                   and loyalty to the American Constitution, he does nothing and ignores the protection of the life of
                   a refugee who becoming a half human and who took refuge in the United States. However, the
                   treatment and safety of a refugee should be a priority according to the Constitution. This ICE police
                   and his boss don't care about my life safety as much as I told you. Do you think this contradiction
                   is due to the laws of the USA, the land of the free, or is it due to the police? As I mentioned before,
                   I have no doubt that in the federal court I'm going to appear, and it will be revealed that there is a
                   problem with these police.
EOIR 6 of 45




                                                                                                                       18
                     Serhat BOZKUS A# 220-712-429_
                                                                                                                     165551
        Filed at BIA on: 7/27/2022 at 9:56:23 p.m. Central Daylight Time




                   Scan of Original Turkish-language Notes from Detention of Wednesday, June 22nd, 2022
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                                                                                                          19
                     Serhat BOZKUS A# 220-712-429_
                                                                                                     166552
        Filed at BIA on: 7/27/2022 at 9:56:23 p.m. Central Daylight Time




                   Notes from Detention of Thursday, June 23rd, 2022

                    Again, today I was not taken to any of my appointments. No drinking water yet. The limp in my
                   right leg, which started yesterday, continued throughout the day. I have a very bad throat and that's
                   why I cough constantly. ICE police don't care about my health problems and they don't have get
                   me treated. The doctor told me that ICE makes the treatment decision, not her. Look at these
                   officials in the land of the freedom. They're just showing their strength leaving me rotting in here.
                   They don't just restrict my freedom, they               my right to life. They do this not to a criminal,
                   but to a refugee who took refuge in the USA because he was persecuted in his country. They show
                   the USA badly, and as a state that doesn't care about freedom and rights. That's why, tonight, I am
                   ending my writings, which I had to write in a limited way, unable to find the words to describe the
                   bitterness and disappointment in me.
EOIR 8 of 45




                                                                                                                         20
                     Serhat BOZKUS A# 220-712-429_
                                                                                                                        167553
        Filed at BIA on: 7/27/2022 at 9:56:23 p.m. Central Daylight Time




                   Scan of Original Turkish-language Notes from Detention of Thursday, June 23rd, 2022
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                                                                                                          21
                     Serhat BOZKUS A# 220-712-429_
                                                                                                         168554
         Filed at BIA on: 7/27/2022 at 9:56:23 p.m. Central Daylight Time




                    Notes from Detention of Friday, June 24th, 2022

                     Again, today I was not taken to any doctor's appointments. The water did not come again today.
                    Everyone was given only half a liter of petted water. My right foot is now sore and I'm having
                    trouble walking. Today I'm depressed again, and I felt the need to cry all day long. I'm having a
                    very difficult time. Again now death seems more attractive than living. No one knows, but death
                    is more appealing in the land where I came to live. I am extremely tired. And I've become so lonely
                    that I'm about to disappear. Also, because I was limping today, I filled out a new patient form and
                    submitted it in.
EOIR 10 of 45




                                                                                                                    22
                      Serhat BOZKUS A# 220-712-429_
                                                                                                                   169555
         Filed at BIA on: 7/27/2022 at 9:56:23 p.m. Central Daylight Time




                    Scan of Original Turkish-language Notes from Detention of Friday, June 24th, 2022
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                                                                                                         23
                      Serhat BOZKUS A# 220-712-429_
                                                                                                        170556
         Filed at BIA on: 7/27/2022 at 9:56:23 p.m. Central Daylight Time




                    Notes from Detention of Saturday, June 25th, 2022

                     Again, today I was not taken to any appointments. Water is still half a liter. And today unusual
                    things are happening. It's like [the] big bosses [inspectors] will come, they're trying to throw dust
                    in their eyes [                              an idiom meaning                   . There's a good chance
                    that they would come on Monday. Today is the fourth day of my limp. In case these bosses
                    [inspectors] come on Monday, I will request a conversation to explain my situation. Let's see if
                    they'll listen to me. Or will they not find it worth listening to and turn their noses up? If they listen,
                    they will prove either the justice of the USA and that I am in the land of freedom, or will they turn
                    their back on a rotting refugee? Again, I have to finish it tonight due to the writing constraints. Let
                    me also say this before I forget; Don't think that I slept because I haven't written the scratches for
                    days. I sleep very little now. So I didn't need to write. But know that my nightmares have no limits
                    now.
EOIR 12 of 45




                                                                                                                           24
                      Serhat BOZKUS A# 220-712-429_
                                                                                                                         171557
         Filed at BIA on: 7/27/2022 at 9:56:23 p.m. Central Daylight Time




                    Scan of Original Turkish-language Notes from Detention of Saturday, June 25th, 2022
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                                                                                                           25
                      Serhat BOZKUS A# 220-712-429_
                                                                                                          172558
         Filed at BIA on: 7/27/2022 at 9:56:23 p.m. Central Daylight Time




                    Notes from Detention of Sunday, June 26th, 2022

                     Again, today I was not taken to any health checks, namely my appointments. I don't even scratch
                    anymore because I sleep less. It is the fifth day that my right leg is limping. Now there is a
                    possibility that it will be permanent and become disabled. I guess the big bosses [inspectors] are
                    pretty likely to come. My ear can't hear anymore. My right leg is limping. And my throat is getting
                    worse and worse. If they come, I will tell it to the big bosses [inspectors]. Perhaps they might be
                    already informed, and they decided to refute me here. I'm hoping they do not. I sincerely hope that
                    the United States, which I have read, know and learned about, is a country of justice and freedom,
                    as well as a state where people value the rights to life, they will show people, and to the ICE
                    officers who try to convince me that the opposite is the case. I would also like to point out that I
                    couldn't go to the open air for 2 days because of my right leg limping.
EOIR 14 of 45




                                                                                                                     26
                      Serhat BOZKUS A# 220-712-429_
                                                                                                                    173559
         Filed at BIA on: 7/27/2022 at 9:56:23 p.m. Central Daylight Time




                    Scan of Original Turkish-language Notes from Detention of Sunday, June 26th, 2022
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                                                                                                         27
                      Serhat BOZKUS A# 220-712-429_
                                                                                                        174560
         Filed at BIA on: 7/27/2022 at 9:56:23 p.m. Central Daylight Time




                    Notes from Detention of Monday, June 27th, 2022



                    are helping me. Both are young, 19-20 years old. The big bosses [inspectors] I expected to come
                    did not come. I hope they come. I wonder whether they will see the truth like the judge. Maybe
                    they will see it, maybe they won't want to see it. The truth is that whatever happens, the thing that
                    will not change for the Kurds here is that the Kurds in the USA have a spiritual father. You know,
                    the last branch I trusted was also rotten. Thus, as an abandoned, isolated refugee, I became a
                    prisoner in the USA. In this process, my 4 days were very difficult. Finally, a few days ago, it
                    happened to me by someone I love very much. He was almost the only one I hadn't tried and
                    doubted. Well, I won't keep it long. Today again, only half a liter of water came. Today, I couldn't
                    go into the open air because my right leg was limping.
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                                                                                                                      28
                      Serhat BOZKUS A# 220-712-429_
                                                                                                                     175561
         Filed at BIA on: 7/27/2022 at 9:56:23 p.m. Central Daylight Time




                    Scan of Original Turkish-language Notes from Detention of Monday, June 27th, 2022
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                                                                                                         29
                      Serhat BOZKUS A# 220-712-429_
                                                                                                        176562
         Filed at BIA on: 7/27/2022 at 9:56:23 p.m. Central Daylight Time




                    Notes from Detention of Tuesday, June 28th, 2022

                     Today, too, I was not taken to any health check-ups. The people who I have waited for came to
                    see me but they didn't talk to me because there was no interpreter at that moment. They will come
                    again tomorrow, but I think they will make excuses for providing an interpreter again. ICE officer
                                                                                        [hearing in my] ear completely,
                    and besides that, there is a possibility of [my] becoming disabled. He said to me that he is a
                    deportation officer, he cannot help me about my hearing loss. I said either do my treatment or let
                    my sponsor do it. He told me he is not a doctor. Shortly he tries to tell me if I want treatment they
                    could send me back to Turkey which means my returning Turkey means my death there. I should
                    mention that these days I cannot do scratches on the paper, but I still have deprivation of sleep and
                    wake up with nightmares.
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                                                                                                                      30
                      Serhat BOZKUS A# 220-712-429_
                                                                                                                     177563
         Filed at BIA on: 7/27/2022 at 9:56:23 p.m. Central Daylight Time




                    Scan of Original Turkish-language Notes from Detention of Tuesday, June 28th, 2022
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                                                                                                          31
                      Serhat BOZKUS A# 220-712-429_
                                                                                                         178564
         Filed at BIA on: 7/27/2022 at 9:56:23 p.m. Central Daylight Time




                    Notes from Detention of Wednesday, June 29th, 2022

                     Today, I was not taken to any doctor's control again. However, this morning the people I
                    mentioned above came to see me and to talk to me. They listened to my complaints and asked what
                    I wanted. I said that my ear needs urgent surgery; and I said that if my slipped disc is not treated
                    urgently, I will be disabled and I have chronic pharyngitis. I told them I have other diseases too
                    that need to be treated and I asked them let my sponsor help me to get treatment. As far as I
                    understand from his words, they have given him wrong information here and they just made it look
                    like I had a problem only with my ear. I have a lot of pain in my right leg, I could not even go out
                    to get fresh air.
EOIR 20 of 45




                                                                                                                     32
                      Serhat BOZKUS A# 220-712-429_
                                                                                                                    179565
         Filed at BIA on: 7/27/2022 at 9:56:23 p.m. Central Daylight Time




                    Scan of Original Turkish-language Notes from Detention of Wednesday, June 29th, 2022
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                                                                                                           33
                      Serhat BOZKUS A# 220-712-429_
                                                                                                       180566
         Filed at BIA on: 7/27/2022 at 9:56:23 p.m. Central Daylight Time




                    Notes from Detention of Thursday, June 30th, 2022

                     Today, I was not taken to any doctor's control again. I am having a hard time now because of my
                    pain. That's why I took steps to implement my "hunger strike" decision that I took yesterday as
                    soon as possible. Around 9-10 PM, an officer brought me some patient forms that I filled out.
                    When I opened it up, I see that that they filled all of them out according to their own minds, as if
                    they had checked me out and made it look like I had no health problems other than my hearing.
                    Which proves my suspicions of yesterday were correct.
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                                                                                                                     34
                      Serhat BOZKUS A# 220-712-429_
                                                                                                                    181567
         Filed at BIA on: 7/27/2022 at 9:56:23 p.m. Central Daylight Time




                    Scan of Original Turkish-language Notes from Detention of Thursday, June 30th, 2022
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                                                                                                           35
                      Serhat BOZKUS A# 220-712-429_
                                                                                                          182568
         Filed at BIA on: 7/27/2022 at 9:56:23 p.m. Central Daylight Time




                    Notes from Detention of Friday, July 1st, 2022

                     Today, I was not taken to any doctor's control again. The condition of my right leg is getting
                    worse and worse. And my right arm is starting to hurt and go numb. There is no improvement in
                    chronic pharyngitis, ear pain and chest tightness. I wrote a letter to send to my friend and sponsor
                    regarding my situation, transparency and human rights issues in the detention center. I asked them
                    to send those letters to human rights organizations. I continue to implement my hunger strike
                    decision. My mental and psychological state is as bad as ever.
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                                                                                                                     36
                      Serhat BOZKUS A# 220-712-429_
                                                                                                                    183569
         Filed at BIA on: 7/27/2022 at 9:56:23 p.m. Central Daylight Time




                    Scan of Original Turkish-language Notes from Detention of Friday, July 1st, 2022
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                                                                                                        37
                      Serhat BOZKUS A# 220-712-429_
                                                                                                       184570
         Filed at BIA on: 7/27/2022 at 9:56:23 p.m. Central Daylight Time




                    Notes from Detention of Saturday, July 2nd, 2022

                     Again, they did nothing but call me to the medical again and say that they can only give
                    painkillers. They give me these painkillers without even checking on me. I am currently given 3
                    different painkillers. Today the nurse told me that they have informed the ICE officer since June
                    1st, and they are waiting for them to give permission to go to the hospital. Today's nurse prescribed
                    two more painkillers for me to use: Tylenol one day and chlarphen one day, and increased the
                    number of painkillers to 12 tablets, together with 10 painkillers and 2 Antidepressants, for 3
                    different days. I hope you understand what this means.
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                                                                                                                      38
                      Serhat BOZKUS A# 220-712-429_
                                                                                                                     185571
         Filed at BIA on: 7/27/2022 at 9:56:23 p.m. Central Daylight Time




                    Scan of Original Turkish-language Notes from Detention of Saturday, July 2nd, 2022
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                      Serhat BOZKUS A# 220-712-429_
                                                                                                         186572
         Filed at BIA on: 7/27/2022 at 9:56:23 p.m. Central Daylight Time




                    Notes from Detention of Sunday, July 3rd, 2022

                     No medicine was given to me this morning. Medicines don't stop the pain in my left ear anymore.
                    I had to spend most of the day in bed and sitting, as I was having more and more difficulty stepping
                    on my right leg. Since I have vomiting, I eat very little. If the pain in my right arm becomes
                    constant, I will be unable to even write. Now I have trouble even going to the bathroom.
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                      Serhat BOZKUS A# 220-712-429_
                                                                                                                    187573
                Scan of Original Turkish-language Notes from Detention of Sunday, July 3rd, 2022
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                                                                                                    41
                 Serhat BOZKUS A# 220-712-429_
                                                                                                   188574
         Filed at BIA on: 7/27/2022 at 9:56:23 p.m. Central Daylight Time




                    Notes from Detention of Monday, July 4th, 2022

                     I have given up hoping on doctors and psychologists now. because I realized that it was ICE
                    officer Brant and his boss who was responsible for hindering my treatment. I could not eat with
                    the left side of my mouth. Now I have difficulty eating with the right side. My teeth are in bad
                    condition as they are not treated. I do not have any health-related treatment here. I decided on my
                    hunger strike today. Tomorrow I will inform my attorney and will start the death fasting.
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                                                                                                                    42
                      Serhat BOZKUS A# 220-712-429_
                                                                                                                   189575
         Filed at BIA on: 7/27/2022 at 9:56:23 p.m. Central Daylight Time
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                                                                             43
                      Serhat BOZKUS A# 220-712-429_
                                                                            190576
         Filed at BIA on: 7/27/2022 at 9:56:23 p.m. Central Daylight Time




                    Scan of Original Turkish-language Notes from Detention of Monday, July 4th, 2022
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                                                                                                        44
                      Serhat BOZKUS A# 220-712-429_
                                                                                                       191577
         Filed at BIA on: 7/27/2022 at 9:56:23 p.m. Central Daylight Time




                    Notes from Detention of Tuesday, July 5th, 2022

                    [First three sentences redacted due to attorney-client privilege]. Because they have already
                    deafened me, my leg may be crippled. My throat may become permanently hoarse [due to
                    pharyngitis], and my right arm, which is starting to ache, may become dysfunctional. I can't even
                    tell you about the psychological and spiritual breakdown I'm in. After a 30-minute discussion,
                    [redacted]. I said that I would start my hunger strike [redacted], then I came back to my ward.
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                                                                                                                      45
                      Serhat BOZKUS A# 220-712-429_
                                                                                                                  192578
         Filed at BIA on: 7/27/2022 at 9:56:23 p.m. Central Daylight Time




                    Scan of Original Turkish-language Notes from Detention of Tuesday, July 5th, 2022
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                                                                                                         46
                      Serhat BOZKUS A# 220-712-429_
                                                                                                        193579
                    [blackened portions contain content redacted to maintain attorney-client privilege]
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                                                                                                           47
                Serhat BOZKUS A# 220-712-429_
                                                                                                          194580
         Filed at BIA on: 7/27/2022 at 9:56:23 p.m. Central Daylight Time




                    Translation of Notes from Detention of Wednesday, July 6th, 2022

                                               about 16 days.

                    The dates of the request forms I filled out for medical treatment:

                    1st form   04/30/2022

                    2nd form-05/05/2022

                    3rd form-05/12/2022

                    4th form-05/26/2022

                    5th form-05/29/2022

                    6th form-05/30/2022

                    7th form-05/31/2022

                    8th form-06/06/2022

                    9th form-06/10/2022

                    10th form-06/12/2022

                    11th form-06/13/2022

                    12th form-06/19/2022

                    13    form-06/24/2022

                    14th form-06/30/2022

                    Note: Despite all my requests, a doctor came to see me one time and gave me antibiotics for a
                    week. I was not provided with other medications and after 3 weeks they provided me with
                    painkillers and cream for my legs/feet that did not help anything. Besides them I was provided
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                    with antidepressants and sleeping pills. My health conditions require more than giving me pills.


                                                                                                                   48
                      Serhat BOZKUS A# 220-712-429_
                                                                                                                  195581
                Scan of Original Turkish-language Notes from Detention of Wednesday, July 6th, 2022
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                                                                                                       49
                 Serhat BOZKUS A# 220-712-429_
                                                                                                      196582
         Filed at BIA on: 7/27/2022 at 9:56:23 p.m. Central Daylight Time




                    Translation of Notes from Detention of Dates Medication Was Provided


                    Time and dates that I was provided with medication

                    June, 9 2022 at 2:30 AM after midnight [being 2:30 AM June 10th]
                    June 10, 2022 at 11.39 PM
                    June 11 I was not provided with medication in the morning
                    June 12, 2022 at 8.30 PM
                    June 13, 2022 at 8.30 PM
                    June 14, 2022 at 9.40 AM
                    June 14, 2022 at 8.30 PM
                    June 15, 2022 at 8.20 AM
                    June 15, 2022 at 8.45 PM
                    June 16, 2022 at 9.00 AM
                    June 16, 2022 at 8.00 PM
                    June 17, 2022 at 8.40 AM
                    June 17, 2022 at 10.20 PM
                    June 18, 2022 at 9.25 AM
                    June 19, 2022 at 8.25 PM
                    June, 20 2022 at 9.00 AM
                    June 20, 2022 at 9.45 PM
                    June 21, 2022 at 9.00 AM
                    June 21, 2022 at 11.00 PM
                    June 22, 2022 at 8.00 AM
                    June 22, 2022 at 9.00 PM
                    June 23, 2022 at 8.25 AM
                    June 23, 2022 at 8.15 PM
                    June 24, 2002 at 8.05 AM
                    June 24, 2022 at 8.50 PM
                    June 25, 2022 at 9.05 AM
                    June 25, 2022 at 8.35 PM
                    June 26, 2022 at 10.00 AM
                    June 26, 2022 at 9.30 PM
                    June 27, 2022 at 9.00 AM
                    June 27, 2022 at 9.10 PM
                    June 28, 2022 at 9.30 AM
                    June 28, 2022 at 8.20 PM
                    June 29, 2022 at 10.00 AM
                    June 29, 2022 at 9.05 PM
                     June 30, 2022 at 9.10 AM
                    June 30, 2022 at 8.15 PM
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                    July 1, 2022 at 9.40 AM
                    July 1, 2022 at 8.10 PM

                                                                                            50
                      Serhat BOZKUS A# 220-712-429_
                                                                                           197583
         Filed at BIA on: 7/27/2022 at 9:56:23 p.m. Central Daylight Time




                    July 2, 2022 at 9.30 AM
                    July 2, 2022 at 8.15 PM
                    July 3, 2022 I was not provided with medication in the morning
                    July 3, 2022 at 8.25 PM
                    July 4, 2022 at 8.25 AM
                    July 4, 2022 at 8.00 PM
                    July 5, 2022 at 8.30 AM
                    July 5, 2022 at 11.40 PM
                    July 6, 2022 at 8.30 AM
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                                                                                      51
                      Serhat BOZKUS A# 220-712-429_
                                                                                     198584
         Filed at BIA on: 7/27/2022 at 9:56:23 p.m. Central Daylight Time




                    Scan of Original Turkish-                               Medication
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                    times
                                                                                     52
                      Serhat BOZKUS A# 220-712-429_
                                                                                    199585
         Filed at BIA on: 7/27/2022 at 9:56:23 p.m. Central Daylight Time




                    Translation of Notes from Detention

                    I was not provided with medicine below mentioned dates:
                    June 11th, 2022: I was not provided with any of the medicine that morning.
                    June 16th, 2022: I was not provided with the medicine
                    July 3rd, 2022: I was not provided with medicine that morning.
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                                                                                                  53
                      Serhat BOZKUS A# 220-712-429_
                                                                                                 200586
         Filed at BIA on: 7/27/2022 at 9:56:23 p.m. Central Daylight Time




                    Scan of Original Turkish-language Notes from Detention shows the dates Mr. Bozkus was
                    not provided medicine
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                                                                                                        54
                      Serhat BOZKUS A# 220-712-429_
                                                                                                       201587
         Filed at BIA on: 7/27/2022 at 9:56:23 p.m. Central Daylight Time




                                              CERTIFICATE OF TRANSLATION




                    I, Tugce Arit Cinaroglu, hereby certify that I am fluent and competent to translate from Turkish

                    language into English. I certify under penalty of perjury under the laws of the United States of

                    America that the below-listed documents have been truly, accurately, and completely translated to

                    the best of my ability.

                            1- Notes of Serhat Bozkus treatment in ICE custody at Cibola County Correctional

                                Center from June 14th, 2022 to July 6th, 2022.




                    Name of the Translator           : Tugce Arit Cinaroglu

                    Date                             : 7/18/2022




                    Signature                        :
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                                                                                                                  55
                      Serhat BOZKUS A# 220-712-429_
                                                                                                                 202588
         Filed at BIA on: 7/27/2022 at 9:56:23 p.m. Central Daylight Time




                   Witnesses to Respondent s Treatment in ICE Custody at Cibola County Correctional Center

                   I'm Serhat Bozkus's friend, Celal CETINTAS, from the ward.
                   Serhat's health problems are not intervened in anyway.
                   Necessary interventions are being made to other friends with health problems.
                                                                                                    Celal CETINTAS
                                                                                                           /signature/
                                                                                                          05.12.2022

                   I'm Serhat Bozkus's friend, Muslum Celik, from the ward. There is no intervention for Serhat's
                   health problems in any way. Necessary interventions are being made for
                   problems.
                                                                                                   Muslum Celik
                                                                                                       /signature/
                                                                                                      05.12.2022

                   I'm Serhat BOZKUS's friend, Enis Altay, from the ward. There is no intervention for Serhat's health


                                                                                                            Enis Altay
                                                                                                            /signature/
                                                                                                           05.12.2022


                   I'm Serhat BOZKUS's friend, Emin Abay, from the ward. Serhat's health problems are not
                   addressed in a
                                                                                                Emin Abay
                                                                                                 /signature/
                                                                                                05.12.2022

                   I'm Baris Can Alan. I am a friend of Serhat Bozkus from the ward in Cibola. Serhat Bozkus
                   has physical and psychological health problems here. Despite reporting it to the prison
                   hospital, there is no intervention.

                                                                                                         06.01.2022
                                                                                                      Baris Can Alan
                                                                                                         /signature/

                   I'm Cihat Demir. I am a friend of Serhat Bozkus from the ward in Cibola. Serhat Bozkus has
                   physical and psychological health problems here. Despite reporting it to the prison
                   hospital, there is no intervention.
                                                                                                    06.01.2022
                                                                                                   Cihat Demir
                                                                                                     /signature/
EOIR 44 of 45




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                                                                                                               203 589
         Filed at BIA on: 7/27/2022 at 9:56:23 p.m. Central Daylight Time




                  I'm Yunus Demir. I am a friend of Serhat Bozkus from the ward in Cibola. Serhat Bozkus has
                  physical and psychological health problems here. Despite reporting it to the prison hospital,
                  there is no intervention.
                                                                                                     06.01.2022
                                                                                                 Yunus DEMIR
                                                                                                      /signature/

                   I'm Muhammer Seyran. I am a friend of Serhat Bozkus from the ward in Cibola. Serhat
                   Bozkus has physical and psychological health problems here. Despite reporting it to the
                   prison hospital, there is no intervention.
                                                                                                06.01.2022
                                                                                        Muhammer Seyran
                                                                                                /signature/


                   I'm Baris Can Alan. I am the ward friend of Serhat Bozkus in Cibola. Serhat Bozkus had a
                   serious health problem on 06.10.2022. Although we reported this situation to the medical
                   team, they did not take any action. I have witnessed this happen over and over again.
                                                                                                         06.11.2022
                                                                                                    Baris Can Alan
                                                                                                         /signature/

                   I'm Yunus DEMIR. I am the ward friend of Serhat Bozkus in Cibola. Serhat Bozkus had a
                   serious health problem on 06.10.2022. Although we reported this situation to the medical
                   team, they did not take any action. I have witnessed this happen over and over again.
                                                                                                         06.11.2022
                                                                                                    Yunus DEMIR
                                                                                                         /signature/


                   I'm Muhammer Seyran. I am the ward friend of Serhat Bozkus in Cibola. Serhat Bozkus had
                   a serious health problem on 06.10.2022. Although we reported this situation to the medical
                   team, they did not take any action. I have witnessed this happen over and over again.

                                                                                                     06.11.2022
                                                                                                Muhammer Seyran
                                                                                                     /signature/

                   I'm Cihat Demir. I am the ward friend of Serhat Bozkus in Cibola. Serhat Bozkus had a serious
                   health problem on 06.10.2022. Although we reported this situation to the medical team, they
                   did not take any action. I have witnessed this happen over and over again.
                                                                                                     06.11.2022
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                                                                                                    Cihat Demir
                                                                                                      /signature/



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                                                                                                             204 590
        Filed at BIA on: 7/27/2022 at 9:57:13 p.m. Central Daylight Time




                   I'm Ibrahim KayaIi. I am a friend of Serhat Bozkus from the ward. I feel sad for our friend Serhat.
                   The reason was that he was suffering from psychological and physical ailments. And as far as I
                   can see, the medical staff have not given attention to Serhat. Serhat cannot hear when you are
                   talking to him, he does not sleep at night, he sleeps from morning to evening. He told me that he
                   was in a lot of pain. I met Serhat when I came here. Our compatriots also met him. Some of our
                   compatriots do not approach Serhat, do not talk to him, and are not interested i n i ntera ct i ng
                   with him. The reason for this is that Serhat has stayed here for a very long time. The fear is that
                   if they talk to Serhat, they will also be kept here for a very long time. These friends came and
                   shared their fears about this with me. I shared their fears with Serhat. Serhat was very upset.
                   When I got up in the morning, they took Serhat to the cell. Serhat came back a few days later.
                   He had himself thrown into the cell because of what his friends said, his mother's poor condition,
                   his fiancee's condition, his health problems, that he could not stand it, that he was very bad, and
                   that he was afraid of committing suicide. I ask you to help our brother Serhat.
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        Filed at BIA on: 7/27/2022 at 9:57:13 p.m. Central Daylight Time




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                                                                           206592
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        Filed at BIA on: 7/27/2022 at 9:57:13 p.m. Central Daylight Time
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                                                                           208594
        Filed at BIA on: 7/27/2022 at 9:57:13 p.m. Central Daylight Time




                                              CERTIFICATE OF TRANSLATION



                   I, Tugce Arit Cinaroglu, hereby certify that I am competent to translate documents from the

                   Turkish language into English. I certify that the below listed documents have been truly and

                   accurately translated to the best of my ability.

                           1-     Witness Statement of detainee Celal CETINTAS dated May 12th, 2022
                           2-     Witness Statement of detainee Muslum Celik dated May 12th, 2022
                           3-     Witness Statement of detainee Enis Altay dated May 12th, 2022
                           4-     Witness Statement of detainee Emin Abay dated May 12th, 2022
                           5-     Witness Statement of detainee Baris Can Alan dated June 1st, 2022
                           6-     Witness Statement of detainee Cihat Demir dated June 1st, 2022
                           7-     Witness Statement of detainee Yunus Demir dated June 1st, 2022
                           8-     Witness Statement of detainee Muhammer Seyran dated June 1st, 2022
                           9-     Witness Statement of detainee Baris Can Alan dated June 11th, 2022
                           10-    Witness Statement of detainee Yunus Demir dated June 11th, 2022
                           11-    Witness Statement of detainee Muhammer Seyran dated June 11th, 2022
                           12-    Witness Statement of detainee Cihat Demir dated June 11th, 2022
                           13-    Witness Statement of detainee Ibrahim Kayali


                   Name of the Translator           : Tugce Arit

                   Cinaroglu Date                   : 7/12/2022




                   Signature                        :
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                                                                                                           209595
        Filed at BIA on: 7/27/2022 at 9:57:13 p.m. Central Daylight Time




                   Translation of Statement from ICE Detainee Juan Poma Capelo concerning Mr. Bozkus

                   I, Juan Poma Capelo, with A# 240558058 am bearing witness to the fact that during the time that

                   we have shared together in the dormitory, I have noticed my colleague Serhat Bozkus health

                   problems from consuming the medication administered to him by the institution, and he sends

                   requests on repeated occasions without any response whatsoever from the doctor.


                                                                                    Juan Poma Capelo
                                                                                    [signature]
EOIR 6 of 45




                                                                                                              210596
        Filed at BIA on: 7/27/2022 at 9:57:13 p.m. Central Daylight Time




                   Translation of Statement from ICE Detainee Juan Poma Capelo concerning Mr. Bozkus

                   I, Juan Pablo Arango Arbeluez, with A# 240865752, would like to express that Mr. Serhat Bozkus

                   since he has entered the housing unit has presented with various medical problems, despite not

                   sleeping well and taking the medications administered they do not give the desired effect, when

                   he fills out forms requesting medical assistance the reply comes too many days too late.


                                                                                                 Juan Pablo Arango
                                                                                                        [signature]
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                                                                                                               211597
        Filed at BIA on: 7/27/2022 at 9:57:13 p.m. Central Daylight Time




                                                     CERTIFICATE OF TRANSLATION



                     I, William Shipley, hereby certify that I am competent to translate from the Spanish language

                     into English. I certify that the below listed document(s) have been translated accurately and

                     completely to the best of my ability.

                             1- Witness Statement of detainee Juan Poma Capelo
                             2- Witness Statement of detainee Juan Pablo Arango Arbeluez



                     Name of the Translator:         William Shipley

                     Date:                           7/14/2022

                     Signature:                      /s/ William Shipley
EOIR 8 of 45




                                                                                                               212598
        Filed at BIA on: 7/27/2022 at 9:57:13 p.m. Central Daylight Time




                   Metin Serbest, Esquire                                               DETAINED
                   Law Office of Metin Serbest
                   2200 E. Devon Ave. Suite 358
                   Des Plaines, Illinois 60018


                                         UNITED STATES DEPARTMENT OF JUSTICE
                                       EXECUTIVE OFFICE FOR IMMIGRATION REVIEW
                                              OTERO IMMIGRATION COURT
                                               26 MCGREGOR RANGE ROAD
                                             CHAPARRAL, NEW MEXICO 88081


                   ________________________________
                   In the Matter of:                 )
                   BOZKUS, SERHAT                    )                     File No. A# 220-712-429
                   Respondent In Removal Proceedings )
                    ________________________________)




                            REPLY TO DHS OPPOSITION TO RESPONDENT MOTION FOR BOND
                                           REDETERMINATION HEARING
EOIR 9 of 45




                                                                                                     213599
         Filed at BIA on: 7/27/2022 at 9:57:13 p.m. Central Daylight Time




                    Metin Serbest, Esquire                                                            DETAINED
                    Law Office of Metin Serbest
                    2200 E. Devon Ave. Suite 358
                    Des Plaines, Illinois 60018


                                          UNITED STATES DEPARTMENT OF JUSTICE
                                        EXECUTIVE OFFICE FOR IMMIGRATION REVIEW
                                               OTERO IMMIGRATION COURT
                                                26 MCGREGOR RANGE ROAD
                                              CHAPARRAL, NEW MEXICO 88081


                    ________________________________
                    In the Matter of:                 )
                    BOZKUS, SERHAT                    )                                 File No. A# 220-712-429
                    Respondent In Removal Proceedings )
                     ________________________________)



                             REPLY TO DHS OPPOSITION TO RESPONDENT MOTION FOR BOND
                                            REDETERMINATION HEARING

                    COMES NOW the Respondent BOZKUS, SERHAT by and through his undersigned attorney
                    and
                    and in further support of his Motion for Bond Redetermination Hearing, states as follows:
                    1. Respondent reiterates that this Court has jurisdiction to
                       pursuant to 8 C.F.R. §§ 1003.14(a) and 1003.19(a).
                    2. Respondent reiterates that bond proceedings, including the instant motion presently before this
                       Court, are separate and apart from, and shall form no part of, any deportation or removal
                       hearing or proceedings 8 C.F.R. §§ 1003.19(d).
                    3. DHS did not contest the fact that Respondent has been diagnosed with chronic post-traumatic
                                                         , Major Depression, recurrent,
                       the obvious fact                               evidencing these diagnoses made in May 2022
                       were unavailable to him at the time of his previous bond hearing on March 9, 2022; see
                       Respondent                                                       ), paras. 4-5; Supplement in
                                                                                             .          -78 (Medical
                       Evaluation Report, May 11, 2022), Pg. 69-73 (Medical Evaluation Report, May 17, 2022)
                                                                         s Motion).
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                    4. DHS did not contest the fact that Respondent suffers from increasingly acute symptoms of

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                       PTSD that are both triggered by his confinement, and exacerbated by his continued
                       confinement, which include heightened anxiety, nightmares, sleeplessness, and chest pain; Id.
                    5. In reply to DHS statement that                           he is being treated with psychotropic
                       medication
                                      ), Respondent draws                            portions of the record indicating
                                       active consent to, and ongoing treatment with respect to, his psychotropic
                       medication; Supp. Pg. 75 (May 11, 2022                                  by Dr. Anne Ortiz #10
                                                    Current treatment with psychotropics,
                       Respondent gave informed consent for same, May 11, 2022), Pg. 70 (Dr. Anne Ortiz indicating
                                                                               continues as of May 17, 2022), Pg. 71
                       (indicating Respondent informed consent to taking psychotropic medications continued as of
                       May 17, 2022).
                    6. In reply to DHS that Respondent allegedly refused                                   with respect
                       to his psychotropic medications for PTSD and Major Depression (DHS Opp., Pg. 2, citing
                       Supp. Pg. 63, 64, 70, 72), the record indicates the medication in question was not prescribed
                       for Respondent chronic PTSD or Major Depression                      (Supp. Pg. 71, 76), nor was
                       it refused by Respondent. Rather, Respondent was asleep at the time it was administered, the
                       first instance being 9 AM on May 10, 2022 (Supp. Pg. 64) the other being May 16, 2022 (time
                       not otherwise indicated                                           ) (Supp. Pg. 63). There is no
                       instance documented of any alleged refusal of treatment on May 17th or May 26th, as DHS
                       asserts (DHS Opp. Pg. 2).
                    7. The record further indicates Respondent missed these 9 AM doses because he was up until 4
                       or 5 AM the previous night due to the recurrent major depression and chronic PTSD symptoms
                       from which he suffers and continues to suffer; Supp., Pg.              I cannot sleep at night. I
                       have nightmares and I am depressed. I cannot even relax with the others. I walk around until 4
                       or 5 am. The medication helps but when I do finally sleep I will have 4 or 5 nightmares about
                       being in Jail or my family in Turkey being harmed.");
                    8.
                       chronic PTSD do not evidence a refusal by Respondent to pursue or continue any course of
                       treatment. Nor do they evidence any past, present, or future refusal to continue any prescribed
                       course of treatment. On the contrary, the aforementioned medical records indicating
                                                                                                 evidence the opposite.
                    9. Furthermore, within 24 hours of each incident, Respondent requested changes to his
                       medication schedule to accommodate his symptoms of PTSD and depression; Supp. Pg. 70,
                       72, 75.
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                    10.                                                               , the record here evidences the
                          opposite: active efforts by Respondent to sustain and comply with his medical treatment
                          regimen by immediately addressing the reasons for any missed doses with medical staff and
                          requesting an adjustment to the timing of its administration to the afternoon to accommodate
                          his worsening symptoms. Furthermore, the medication in question did not even pertain to

                    11. Because Respondent consented to all courses of treatment prescribed to him and made
                        reasonable best efforts to avoid any missed doses occasioned by his symptoms, and because
                        the only missed d

                                   both inaccurate and irrelevant. Respondent is not the cause of the materially changed

                    12.
                          symptoms of Major Depression and chronic PTSD, which are triggered by
                          confinement, and significantly exacerbated by his continued confinement over time, as they

                        Turkish police and security forces. Motion, para.
                        all my fears of being put in jail and tortured [in Turkey]. My stress keeps me from being able
                        to watch TV or Spend time with others here. Even the officers ask how I am and say they are
                        sorry that I am feelin
                    13. DHS did not contest that the increasing acuity of his symptoms is evidenced by his timeline
                        for follow-up visit accelerated from one month to one week (Motion, Para. 8, Ex. 1 / Supp. Pg.
                        70-78)                 acuity is additionally evidenced by his previously-existing condition of


                          wor                                -21); as well as orders from his clinician Dr. Ortiz to
                                                                                                               being
                        placed on suicide watch due to his suicidal ideation (Pg. 11).
                    14. DHS did not
                        symptoms of Major Depression and chronic PTSD, instead misattributing these to
                                          -existent refusal to take his medication in an attempt to absolve itself of
                        respon

                    15. DHS did not contest the fact that these symptoms of PTSD and Major Depression are consistent
                        with the harm suffered by persons having experienced past traumas in their home countries
                        while seeking asylum; Motion, para. 7; Ex. 2.
                    16.
                        consistent with the harm suffered by persons having experienced past traumas in their home
                        countries while seeking asylum which are aggravated by circumstances of confinement while
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                        their proceedings remain pending, and which grow worse over time; Id.


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                    17.                                                                         urkey or prior to his previous
                          bond hearing is irrelevant to the materiality of their acuity now, as his symptoms are aggravated
                          by his continued detention.
                    18.
                          including the

                    19.
                        health condition resulting in possible permanent loss of hearing (which loss is now near-total)
                        is not offered to detainees at Cibola County Correctional Center. Respondent invites DHS to
                        present any evidence to the contrary in this regard, and if so, to make appropriate arrangement
                        to provide Respondent with such treatment so Respondent may avoid permanent hearing loss.
                    20. Respondent notes he is now in his eighth month of detention (since November 2021).
                    21. Respondent concedes some mental health care has been made available to him, but the care is
                        inadequate to remedy the harms occasioned by his further prolonged detention, nor the
                        increasingly severe symptoms that prolonged detention is occasioning in Respondent.
                    22.
                        community or to prevent Respondent from absconding or evading further proceedings, other
                        than an assertion that the fact
                        to Turkey somehow suggest that he is a flight risk; DHS Ops. Pg. 4.
                    23.
                        previously existed either while Respondent was in Turkey or at the time of his only bond

                                                                                     Chronic post-traumatic stress disorder
                        (PTSD)
                        Pg. 72.                           -existing health conditions did not present Respondent with
                        deafness in one ear, panic attacks, and a substantial risk of suicide when he was first detained.
                    24. Respondent contends that demonstrable evidence indicating the advancing degree of acuity of

                                                                                     is entitled to a hearing to
                          determine whether or not release from custody on bond is appropriate under these
                          circumstances, as these
                                                  -                     ictionary, 11th Ed. 2019). It is the degree


                        §1003.19(d).
                    25. Respondent has demonstrated the fact of this acuity with clear and convincing medical
                        evidence now before the Court that was prepared by Cibola County Correctional Center health
                        professionals, specifically multiple medical evaluations over time documenting the acuity of
                                                  , the fact that they
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                        with what treatment is made available to him; the possibly permanent and irreversible


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                        consequences for                   inability to treat his impending loss of hearing; as well as the
                                                                                          and its symptoms, including his
                        suicidal ideation,
                        placed on suicide watch; the fact                    chronic PTSD diagnosis and the acuity of
                        those symptoms                             -                         panic attacks and difficulty
                        breathing. All of these constitute clear and convincing evidence of                 circumstances
                        having                         since his last bond hearing on March 9, 2022.
                    26.                                                                 and his inability to seek medical
                        treatment for increasingly acute medical conditions engenders a serious risk of irreversible
                        harm to Respondent, which is also                                                            here.
                                                                      and convincing evidence of this risk.
                    27. DHS has no basis upon which to presume Respondent could be a flight risk, much less any
                        clear and convincing evidence of it. The only support offered is the fact of his immigration
                                                       previous findings with respect to the same. However, pursuant to


                        proceedings is not evidence of anything, in and of itself, other than that Respondent is seeking
                        asylum protection and the withholding of removal back to Turkey due to asserted claims of
                        persecution and of a well-founded fear of persecution and torture upon his return to Turkey.
                        The fact of Respondent                                                   Turkey, from which he
                        has only just recently escaped, does not evidence any risk Respondent will return to Turkey.
                    28. Additionally, Respondent is actively sought by authorities in Turkey and continues to pursue
                        his claims for asylum and withholding of removal on appeal, none of which support a
                        contention that there is a risk that Respondent will return to Turkey, as Respondent has an
                        ongoing and vital interest in his liberty and freedom which he advances through claims still
                        proceeding before this Court which may not conclude in time to avoid the serious risk of harm
                        that Respondent presently faces from materializing
                    29. Respondent is not a risk to the community, as he has no criminal record and no basis for DHS
                        to conclude that he presents any risk to anyone.
                    30. In this case, we are only asking the Court for a hearing to further assess this evidence and
                                                                                                                etention
                        under these circumstances, in order to avoid the serious risk of irreparable to Respondent
                        occasioned by his prolonged detention, the clear and convincing evidence of which was not
                        available to Respondent at the time of his last bond hearing.

                    The Immigration Judge has the authority to order release and determine the amount of bond, if
                    any, under which the person may be released. 8 C.F.R. §§ 1236.1(d), 1003.19, and the present
                    circumstances call for such a redetermination. Pursuant to 8 C.F.R. 1003.14(a), we reiterate
                    our request for a hearing to redetermine the custody of Respondent by the Department of
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                    Homeland Security (DHS), in order to ameliorate the conditions under which Respondent is


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                    held in custody, absent which Respondent faces the risk of serious and irreparable harm.




                                                                     Respectfully submitted this 9th day of June, 2022,



                                                                            By:____________________________
                                                                                        Metin Serbest, Esq.
EOIR 15 of 45




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                                                                                                                          219605
         Filed at BIA on: 7/27/2022 at 9:57:13 p.m. Central Daylight Time




                                                       CERTIFICATE OF SERVICE

                           On June 9th, 2022, I, Metin Serbest, served a copy of this Motion for Reconsideration of
                    Custody Hearing in the above-titled matter to the Department of Homeland Security, Office of
                    Chief Counsel via ICE e-service, El-Paso portal.


                                                                                     Respectfully Submitted,
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                                                                                                               220606
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                                          UNITED STATES DEPARTMENT OF JUSTICE
                                        EXECUTIVE OFFICE FOR IMMIGRATION REVIEW
                                                   IMMIGRATION COURT
                                                       OTERO, NM


                    In the Matter of: BOZKUS, SERHAT                                       File No. A# 220-712-429




                                               ORDER OF THE IMMIGRATION JUDGE


                                                                            Custody, it is HEREBY ORDERED that the
                    motion be [ ] GRANTED [ ] DENIED because:

                             [ ]    DHS does not oppose the motion.
                             [ ]    The respondent does not oppose the motion.
                             [ ]    A response to the motion has not been filed with the court.
                             [ ]    Good cause has been established for the motion.
                             [ ]    The court agrees with the reasons stated in the opposition to the motion.
                             [ ]    The motion is untimely per ___________________________________.
                             [ ]    Other: ____________________________________________________.

                    Deadlines:

                             [ ]    The application(s) for relief must be filed by _________________________.
                             [ ]    The respondent must comply with DHS biometrics instructions by

                    ____________________                                    ______________________
                    Date
                                                                            Immigration Judge

                    ___________________________________________________________________________

                                                             Certificate of Service


                    This document was served by: [ ] Mail                   [ ] Personal Service
                    To:[ ] Alien [ ] Alien c/o Custodial Officer                                   [ ] DHS

                    Date:_________________
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                    By: Court Staff_________________



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                                                                                                                     221607
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      Attn: OFFICE

      Dear Mr.       ,
            Please find below the information of our client's sponsor in support of our client’s/respondent’s
      custody determination. We kindly ask that he be released on recognizance due to not only the
      COVID-19 Virus epidemic but to his current health concerns. Our client suffers
                                               The respondent

                 Please kindly consider coordinating with medical staff to see his records since he has
      been detained, it will show you his urgent need to be released. This custody determination request is
      made based on court's new order, dated October 7, 2020 in Fraihat V. ICE.

             ICE has an affirmative obligation to identify and track all detained individuals and therefore
      should already be on notice that Mr.            is a Fraihat subclass member. Fraihat v. ICE, Case No.
      5:19-cv-01546-JGB-SHK (C.D. Cal. Apr. 20, 2020), ECF No. 133.Furthermore, Mr.                     suffers
      from mental illness, which has only been exacerbated in detention. Furthermore, Mr.                has
      been experiencing severe psychiatric illness, which has led him to have suicidal thoughts. The lack of
      appropriate medical attention in view of Mr.            ’s vulnerable psychological state is the direct
      result of his detention, where he is isolated and unable to communicate with anyone due to language
      barriers. Mr.          is entitled to an individualized consideration for release. According to the Court
      Order, the presence of his/her/their Risk Factors and the current public health emergency must be
      treated as a significant factor(s) weighing in favor of release, and “detainees should generally be
      released absent a specific finding they would pose a danger to property or persons.” Id. at 14.

               Per the court’s order, only in rare cases can ICE continue detaining a subclass member such as
        M
        Mr.          , because he/she is not subject to 1226(c) mandatory detention. Mr.         requires a
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       ssafe environment where he can receive intensive medical treatment. When released, Mr.             will
      ggo to              ,     to be with his          and sponsor Mr.                   .


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      For these reasons, I respectfully request that Mr.        be released from ICE custody. As required
      by the Court order: 1) I expect your response in writing within the next week, by        2 , 202 and
      2) ICE must turn over this Fraihat request and your notice in response, to Fraihat Class Counsel.
      If you would like further information, please do not hesitate to contact me. I look forward to hearing
      from you, and thank you in advance for your assistance in this matter.


      Yours Sincerely,




      ____________________

      Metin Serbest,Esq.

      LAW OFFICES OF METIN SERBEST
      2200 E. Devon Ave Suite # 358
      Des Plaines IL 60018
      TELEPHONE -312-473-5500
      EMAIL-m.serbest@SERBESTLAW.COM
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                                                                                                 223609
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                    From: Bryant, Paul C <Paul.C.Bryant@ice.dhs.gov>
                    Date: Tue, Apr 19, 2022 at 4:00 PM
                    Subject: RE: FW: Bozkus, Serhat 220712429
                    To: Melis Comert <melis.comert@serbestlaw.com>
                    Cc: Sanchez, Azucena <Azucena.Sanchez@ice.dhs.gov>

                    Good afternoon,

                    Pursuant to the bond request that was denied by an Immigration Judge on 3/9/2022 your client
                    was deemed to be a flight risk and the I-286 from January states that he is a possible threat to
                    public safety.
                    medical conditions and determined that he should remain in custody.

                    Paul C. Bryant
                    Deportation Officer, Detained Unit
                    Crisis Negotiator Team
                    El Paso Field Office, Albuquerque
                    Enforcement and Removal Operations
                    U.S. Immigration and Customs Enforcement
                    (505)-366-9253 cell

                    From: Melis Comert <melis.comert@serbestlaw.com>
                    Sent: Tuesday, April 19, 2022 2:51 PM
                    To: Bryant, Paul C <Paul.C.Bryant@ice.dhs.gov>
                    Cc: Sanchez, Azucena <Azucena.Sanchez@ice.dhs.gov>; Julie.Griego2@corecivic.com
                    Subject: Re: FW: Bozkus, Serhat 220712429

                    CAUTION: This email originated from outside of DHS. DO NOT click links or open attachments unless you recognize
                    and/or trust the sender. Please use the Cofense Report Phishing button to report. If the button is not present, click
                    here and follow instructions.

                     Hello Officer Bryant,

                    His left ear is a pre-existing condition where he had problems in Turkey. His heart
                    condition was something that the nurse told him while at Otero, which then he told
                    us after having frequent nose bleeds.

                    Could you also clarify why he is still detained if he has fraihat qualifying conditions?
                    If his conditions were apparent then, maybe his condition is getting worse and it is
                    leading to other factors. Please advise.


                    Thank you,
                    Melis
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                    On Tue, Apr 19, 2022 at 2:40 PM Bryant, Paul C <Paul.C.Bryant@ice.dhs.gov> wrote:




                                                                                                                                     224610
         Filed at BIA on: 7/27/2022 at 9:57:13 p.m. Central Daylight Time




                    Good afternoon,

                    Your G-28 has been added to your clients electronic and paper files. And your Fraihat concerns
                    are being forwarded to the Supervisory Detention and Deportation Officer over the detained
                    docket in Albuquerque and Cibola medical staff. At least two custody determinations have been
                    conducted regarding your client. On December 3, 2021, your client was encountered and
                    arrested by US Border Patrol, who determined your client would remain in custody. On or about
                    January 10, 2022, your client was recognized as have Fraihat qualifying conditions and a custody
                    determination was made on January 12, 2022 that your client would remain in custody. Are the


                    Paul C. Bryant
                    Deportation Officer, Detained Unit
                    Crisis Negotiator Team
                    El Paso Field Office, Albuquerque
                    Enforcement and Removal Operations
                    U.S. Immigration and Customs Enforcement
                    (505)-366-9253 cell


                    From: King, Dean <Dean.King@ice.dhs.gov>
                    Sent: Tuesday, April 19, 2022 1:36 PM
                    To: Bryant, Paul C <Paul.C.Bryant@ice.dhs.gov>
                    Subject: FW: Bozkus, Serhat 220712429

                     R/

                    Dean King
                    Deportation Officer
                    Cibola Detained Unit
                    El Paso Field Office-Albuquerque
                    Enforcement and Removal Operations
                    U.S. Immigration and Customs Enforcement
                    C: 505-235-5658 (e-mail is best)

                    From: Melis Comert <melis.comert@serbestlaw.com>
                    Date: Tuesday, Apr 19, 2022, 13:22
                    To: King, Dean <dean.king@ice.dhs.gov>
                    Subject: Bozkus, Serhat 220712429

                    CAUTION: This email originated from outside of DHS. DO NOT click links or open attachments unless you recognize
                    and/or trust the sender. Please use the Cofense Report Phishing button to report. If the button is not present, click
                    here and follow instructions.

                    Hello Officer King,
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                    Please find attached fraihat release request for our client along with the G28 from
                    his previous detention center (otero).



                                                                                                                                     225611
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                    I look forward to hearing from you.

                    Melis


                    --
                    Melis Comert
                    Law Offices of Metin Serbest, LLC.
                    El Paso Office
                    401 E Main Str. Ste: 416
                    El Paso, Tx 79901
                    Office: 915-308-7777
                    Cell: 915-309-4404

                    Chicago Office
                    2200 E Devon Ave Ste:358
                    Des Plaines, IL 60018
                    Office Phone: 312-473-5500

                    Miami Office
                    701 Brickell Ave Ste:1550
                    Miami, FL 33131
                    Office Phone: 305-337-0550

                    Morristown Office
                    67 E Park Place
                    Morristown, NJ 07960
                    Office: 551-249-7777

                    San Francisco Office
                    433 Airport Blvd. Ste 330
                    Burlingame, CA 94010
                    Office: 415-870-7777

                    www.serbestlaw.com
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                                                                            226612
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                    ---------- Forwarded message ---------
                    From: Metin Serbest <metin@serbestlaw.com>
                    Date: Tue, May 3, 2022 at 1:35 PM
                    Subject: Serhat bozkus A429
                    To: <paul.c.bryant@ice.dhs.gov>


                    Greetings Officer Bryant ,

                    I hope this email finds you well.

                    We have contacted your office regarding the medial condition of my client, however, I do not see any
                    abstract measures have been taken.
                    My client has been complaining about several issues as follows:
                    He indicates that he is not getting proper medical treatment, nor being released. Furthermore, he
                    complains that he is being over-medicated which does nothing, but make him sleep around 15 hours a
                    day.

                    He is also experiencing additional medical issues:
                    1- Neck hernia
                    2- Hearing Loss
                    3- Chest pain/pressure/cardio
                    4- high blood pressure
                    5-chronic pharyngitis

                    We have previously requested our client to be released under Fraihat. The above conditions are cause
                    for immediate release and meanwhile our client should receive proper medical attention and care.



                    If you would like to discuss the matter please contact me. My direct number is 773-815-3341.


                    Sincerely,

                    Metin Serbest,Esq

                    Chicago, IL Office
                    2200 E. Devon Ave. Suite 358
                    Des Plaines, IL 60018
                    Phone: 312 473 5500
                    Fax: 773 337 5544

                    El Paso, TX Office
                    401 E Main St Suite 416
                    El Paso, TX 79901
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                    Phone: 915 308 7777




                                                                                                                      227613
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                    Morristown,NJ Office
                    67 E Park Pl Suite 675
                    Morristown, NJ 07960
                    Phone: 551 249 7777

                    Miami, FL Office
                    701 Brickell Ave Suite 1550
                    Miami, FL 33131
                    Phone: 305 377 0550

                    San Francisco, CA Office
                    433 Airport Blvd Ste 330
                    Burlingame Ca 94010
                    Phone: 415 870 7777
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                                                                            228614
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                      From:            william.shipley@serbestlaw.com
                      To:              "Sanchez, Azucena"
                      Cc:              Mark.gallegos@corecivic.com; Paul.C.Bryant@ice.dhs.gov; William.S.Shaw@ice.dhs.gov
                      Subject:         RE: Serhat Bozkus
                      Date:            Thursday, July 14, 2022 8:48:56 PM
                      Attachments:     2022-04-19 Letter to ICE DO Dean King requesting release on Bond pending hearing.pdf
                                       2022-05-03 Email of M.Serbest to ICE D.O. King requesting Medical Care for Mr. Bozkus.pdf
                                       Allen S Keller et al - Mental Health of detained asylum seekers - Lancet 2003 362 at 1721-23.pdf
                                       DHS CRCL ICE Memo re Cibola County Correctional Center (redacted) (5 Mar 2020.pdf
                                       Prevalence-of-psychiatric-disorders-among-refugees-and-migrants-in-immigration-detention.pdf
                                       2019-09-26 U.S. House Oversight Committee Hearing on ICE Detention Facilities - Is ICE Doing Enough.docx
                      Importance:      High


                      Thank you Officer Sanchez,

                      Per our conversation, please see the attached prior correspondence with D.O. Bryant with respect to
                      our client Mr. Serhat BOZKUS A# 220-712-429. I’m not aware of any written reply to our
                      communications from D.O. Bryant or from ICE with respect to these communications, or any actions
                      being taken in response to these requests, other than DHS counsel’s opposition to our efforts to
                      petition for Mr. Bozkus’ release from detention, which we sought in light of his diagnoses in May
                      which took place after his removal hearing. If there were any such communications or affirmative
                      actions to provide Mr. Bozkus health care with respect to his hearing, dental, and other serious
                      medical needs (other than the assessment and limited dental care provided to him today) please
                      forward those to me as soon as possible.

                      I’m also attaching relevant research concerning the detrimental impacts of continued detention on
                      asylum-seekers’ mental health with respect to anxiety, PTSD, and depression even for periods as
                      short as two months. These are all conditions our client is suffering from that are aggravated by the
                      circumstances of his detention. Given my client’s medical records indicate he suffers from the same
                      conditions described by this research, and given this research’s thoroughness in documenting the
                      serious and detrimental impacts to the mental health of asylum-seekers in detention, it’s clear that
                      only his immediate release will alleviate the continued aggravation of his severe mental health
                      symptoms, which are also impacting his physical health. And he’s been in detention now for over
                      eight months now, since November 2021.

                      The facility is not compliant with respect to its obligations under Section 504 of the Rehabilitation
                      Act to accommodate my client’s basic health needs either, specifically with respect to his ability to
                      bathe himself, or with respect to his other mental and physical health care needs. I’m also noting for
                      the record the extremely inappropriate comment made to my client by a clinician at Cibola County
                      Correctional Center that he should “get health care in your own country” when he expressed
                      concern for the inadequate quality of care he was receiving, which he indicated during our
                      conference call yesterday. This does not reinforce my confidence that he has been humanely and
                      fairly treated at this facility. Quite the opposite.

                      Finally, I’m attaching a copy of a Congressional hearing from 2019 which investigated the practices
                      at Cibola County Correctional Center, from the GPO website, which noted (among other things) that
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                      “ICE's processes for oversight of confinement were insufficient to sustain compliance with ICE's own
                      standards,” as well as a redacted copy of the memo that I believe was the basis for this
                      Congressional inquiry into inadequate health care at Cibola County Correctional Center. I’d


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                      appreciate it if you could please provide me with an unredacted version of this memo so that I can
                      assess what recommendations were made and whether those recommendations were ever
                      implemented, as they directly concern the inadequacy of the health care provided to my client at
                      this facility, and spare me and your organization the time and trouble of having to file a FOIA claim
                      for the same.

                      It is my belief that Mr. Bozkus’ deteriorating mental health likely detrimentally impacted his
                      testimony at the hearing in April and contributed to the denial of his asylum claim. Clients of ours
                      with trauma FAR less severe than that suffered by Mr. Bozkus have been granted asylum. Frankly,
                      Mr. Bozkus never should have been detained in the first place. He has no criminal record, no prior
                      immigration proceedings or immigration violations (except for his single EWI initiating his current
                      proceedings), and multiple ties to the community including from multiple U.S. citizens willing to
                      sponsor and care for him, including a physician who has been employed by the State of Ohio for over
                      20 years. He’s a well-educated professional (in civil engineering) who would otherwise be a
                      productive and law-abiding member of our society, but who is instead essentially being punished for
                      the symptoms of the very traumas and persecution from which he fled and for which is seeking
                      asylum.

                      As a side note, and not that this should have any bearing on your decision-making here, but the
                      Kurdish people have always been strong and loyal allies to our nation in its military campaigns
                      against Saddam Hussein’s regime in Iraq and against ISIS in Syria, for which their support was
                      particularly crucial. They are the world’s largest ethnic group without a nation of their own, divided
                      between multiple nations (primarily Iraq, Iran, Syria, and Turkey) many of which are dictatorships
                      hostile to their very existence as a people. Like my client, they value democracy, civil rights, and the
                      basic rights and freedoms our country champions, in a part of the world where respect for those
                      rights is very poor. Their pursuit of these rights in Turkey has resulted in their systemic persecution
                      there, where they are beaten for on the street just for speaking their native language, for advocating
                      for their civil rights, and for demanding that country acknowledge its responsibility for past
                      massacres of Kurds, of which there are many throughout its history. They value and have fought for
                      the rights and democratic values our nation stands for. And they deserve far better from our country
                      than to be treated in this manner.

                      I’m attempting to expedite the decision on his appeal, and while we appreciate the actions being
                      taken now on our client’s behalf now, this is too little too late. His case warrants immediate
                      consideration for the Alternatives to Detention Program as only his release will alleviate the very
                      serious and very acute mental health disorders from which he continues to suffer, which worsen
                      with every passing day he remains in detention.

                      I thank you for your cooperation with respect to the medical interventions needed for our client, and
                      for your timeline consideration of his release on recognizance through the Alternatives to Detention
                      Program, or otherwise through the exercise of DHS’s prosecutorial discretion over his case in light of
                      the new evidence of his mental health diagnoses and DHS’ consideration for their possible impacts
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                      on his testimony at the hearing, in a manner similar to considerations given by Asylum Officers
                      during their credible fear screening interviews (when interviewees are asked about whether they
                      suffer from Depression or other mental health conditions that may impact the Officers’ assessment


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                      of their answers with respect to their fears concerning past and future persecution). I’m not sure
                      whether such an assessment of my client’s mental health was ever made before DHS fought his
                      asylum claim and attempted to deport him back into the hands of his persecutors. Regardless of the
                      outcome of his proceedings, his pursuit of his legitimate and meritorious asylum claim here should
                      not come at the cost of his health, his sanity, or his life.


                      Sincerely,

                      William B. Shipley, Esq. | Senior Associate
                      Law Offices of Metin Serbest LLC
                      Chicago Office
                      2200 E Devon Ave, Ste. 358
                      Des Plaines, IL 60018
                      312-473-5500 ext. 204




                      From: Sanchez, Azucena <Azucena.Sanchez@ice.dhs.gov>
                      Sent: Thursday, July 14, 2022 5:46 PM
                      To: william.shipley@serbestlaw.com
                      Subject:

                      Shaw, William S William.S.Shaw@ice.dhs.gov
                      Bryant, Paul C Paul.C.Bryant@ice.dhs.gov

                      Azucena Sanchez
                      Supervisory Detention and Deportation Officer
                      El Paso Field Office, Albuquerque Sub-office
                      Enforcement and Removal Operations
                      U.S. Immigration and Customs Enforcement
                      Office: (505) 452-4830
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                                                                                                                     231617
         Filed at BIA on: 7/27/2022 at 9:57:13 p.m. Central Daylight Time



                      From:            william.shipley@serbestlaw.com
                      To:              "Sanchez, Azucena"; "Mark.gallegos@corecivic.com"
                      Cc:              "William.S.Shaw@ice.dhs.gov"
                      Subject:         RE: Serhat Bozkus
                      Date:            Monday, July 18, 2022 11:58:00 PM
                      Attachments:     2022-07-18 Form I-830E Notice of Transfer to Denver Contract Detention Facility.pdf
                                       Sponsor records.pdf


                      Good Afternoon Officer Sanchez,

                      Having received no response to my previous email from Thursday July 14th (below) I presume you
                      have no records of any correspondence or actions taken by ICE or the Cibola County Correctional
                      Center in response to the multiple written communications sent to ICE requesting immediate
                      medical intervention to provide adequate medical care to our client, Mr. Bozkus, attached to my
                      previous email, specifically:

                      1) the April 19, 2022 letter to ICE Deportation Officer Dean King from our principal attorney Metin
                      Serbest requesting our client’s urgent release due to his acute need for medical care and the
                      detrimental impact of detention on his health due to multiple physical and mental health issues, and
                      also requesting immediate medical attention for the same, including for his hearing loss in his left
                      ear, inconsistent breathing issues, frequent nosebleeds, and severe psychiatric illness which was
                      worsening as a result of his detention, including leading to suicidal ideation, and notifying DO King
                      that our client should not be subject to mandatory detention, pursuant to the order of April 20th,
                      2020 of the U.S. District Court (Central District Of California – Eastern Division) in Fraihat, et al. v.
                      U.S. Immigration and Customs Enforcement, et al. Case No. 5:19-cv-01546-JGB-SHK (C.D. Cal. Apr.
                      20, 2020), ECF No. 133, of which our client, as someone suffering from high blood pressure, chronic
                      respiratory disease, and severe psychiatric illness, is a member of Subclass Two of this order, and
                      notifying him of the need for consideration of our client’s release to a sponsor in Ohio willing to care
                      for our client and to assist in providing him with a safe environment in which to live and assist in
                      securing him medical care, to which a written response was requested by April 26th, 2022, from
                      which letter no response was received by our office by that date nor anytime since then;

                      2) the follow-up email of May 3rd, 2022 from Mr. Serbest to ICE Deportation Officer Paul Bryant
                      notifying him that our client has not received proper or adequate medical treatment, nor has he
                      been released, and that he is being overmedicated with pain-killers and sleep-inducing medication
                      but under-treated with respect to his other health conditions, including multiple physical health
                      conditions including his hearing loss from his damaged left ear, a herniated disc in his neck, his chest
                      pain, high blood pressure, and chronic pharyngitis.

                      I’ll note that simultaneous with these efforts on our client’s behalf to effectuate much-needed
                      medical intervention for our client, he was himself submitting multiple written requests for medical
                      care and assistance for the aforementioned health needs, as well as for his increasing panic attacks,
                      chest pains, his passing out on at least one occasion, and his degenerating neurological condition
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                      occasioned by the herniated disc in his neck which was (and still is) resulting in decreasing mobility
                      and sensation on the right side of his body, as well as the pain from his ear and his neck and his
                      pharyngitis all of which were making it difficult for him to eat and swallow cold water.


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                      Despite your agency ignoring our multiple requests for immediate medical intervention or release of
                      our client from detention, I STILL made multiple good-faith efforts in June and July to reach out to
                      Cibola County Correctional Center to attempt to effectuate the immediate care our client needed –
                      especially with respect to his ear and his hearing loss; his inability to chew and swallow due to the
                      extreme pain in his neck and his increasingly severe and untreated pharyngitis, as well as his need
                      for dental care and the replacement of multiple inadequate fillings; to have adequate and immediate
                      follow-up with his mental health practitioner Dr. Anne Ortiz, as well as a dentist and an ENT
                      physician; and to coordinate an effective medical care plan for him consistent with the regulatory
                      and legal standards under which both ICE and this facility are required to operate. I also requested
                      some accommodation for his PTSD symptoms and his ear in the form of any type of bathing facility
                      other than a shower that did not risk pain and infection in his ear due to his perforated eardrum, and
                      that did not trigger his PTSD symptoms by causing him to pass out from the steam in the shower as
                      had happened already on at least one occasion, resulting in injury to him.

                      After patiently and persistently pursuing these good-faith efforts with the both of you to coordinate
                      an effective care plan for our client, I’m aware only of limited dental care being provided to him as of
                      late last week, but I am not aware of any other care being provided to him other than another (re-
                      )assessment of the same conditions that you were already made aware of both by our office, as well
                      as by your own clinicians assessing him on his intake in April and subsequently. As I stressed to you
                      during our conference call on Wednesday, our client doesn’t need more assessment. He needs
                      multiple immediate medical interventions to save his hearing and he needs to be released from
                      detention as soon as possible so that his already extremely serious conditions do not worsen further.

                      Both of you just assured me last week Wednesday that ICE and Cibola County Correctional Center
                      are cooperating to put together a comprehensive medical care plan for him on an immediate and
                      expedited basis and that ICE would take appropriate follow-up steps in an appropriately timely
                      manner to see that he received appropriate care that could not be provided from inside the facility
                      directly (such as treatment for his perforated eardrum or the herniated disc in his neck) following
                      your immediate completion of your (re-)assessment of his current state of physical and mental
                      health. And Ms. Sanchez, you assured me you would take appropriate steps to coordinate a review
                      of his eligibility for humanitarian parole or other form of compassionate release and/or prosecutorial
                      discretion immediately following that assessment in light of the obvious and increasingly severe
                      detrimental impacts that our client’s prolonged detention are having on his physical and mental
                      health, pursuant to 8 C.F.R. § 212.5(b) “(1) Aliens who have serious medical conditions in which
                      continued detention would not be appropriate.” and “(5) Aliens whose continued detention is not in
                      the public interest as determined by those officials identified in paragraph (a) of this section” (in this
                      case, the ICE El Paso Field Office Director and/or Deputy Field Office Director or any other person or
                      official appropriately designated by the Secretary of the Department of Homeland Security for this
                      purpose.)

                      So I ask you: if you were both seriously trying to provide him with the long-awaited health care that
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                      we have FINALLY been able to get some movement on, after THREE MONTHS of trying and (until last
                      week) being entirely ignored here, with our client languishing away and growing so increasingly
                      desperate in the meantime as to have been placed on suicide watch at least once and seriously


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                      considering a hunger strike unless he had his immediate care needs addressed in a serious manner –
                      one which we went to GREAT lengths to cooperate with you on to avoid – if that was the case, WHY
                      then is ICE now suddenly transferring him to Colorado (per the attached ICE Form I-830)?
                      And WHY, in light of your previous assurances to me that you would be providing him with
                      immediate and effective care, were we provided NO notice of this transfer by you?

                      Who is coordinating his medical care here? And which office? Are you coordinating with officials in
                      Aurora to provide him with the immediate medical care he needs? What is going on here?!?
                      For the sake of our client’s well-being I need immediate answers, please.

                      After trying in good faith to address our client’s extremely acute medical issues with you, and now
                      that we are finally making progress with respect to his much-needed care, I’m extremely concerned
                      by the fact of his transfer to another facility where I have no idea how long he will have to wait to
                      receive the care I was only just now promised would be provided to him, and without having been
                      provided with even so much as an appropriate point of contact here to follow-up with. Therefore I’d
                      appreciate an immediate explanation from one or both of you BEFORE his scheduled transfer
                      tomorrow as to why this action was taken, what measures you took to assess whether or not it is
                      even safe for him to undertake a 500+-mile journey (I’m assuming by bus) to Auroro, Colorado, given
                      his delicate state of physical and mental health, what specific advanced measures you have taken to
                      ensure that he is appropriately cared for at this new facility, and what measures you are taking to
                      ensure he receives the immediate, appropriate, and direly-needed medical interventions that we
                      had previously discussed there, specifically, the procedures required to treat his ear, his
                      neck/herniated disc, his throat/chronic pharyngitis, his chronic PTSD and Major Depression, his
                      anxiety and panic attacks, as well as appropriate accommodation for his need to bathe himself
                      properly through means other than a shower, and his inability to sleep due to his PTSD-induced
                      insomnia and sleeplessness (nightmares / night terrors, etc.)

                      Our client has multiple VERY serious and potentially irreversible health problems here that have
                      been requiring IMMEDIATE intervention for MONTHS. Frankly, we have been extremely patient in
                      light of the extremely prejudicial impact your custody of our client has had on his mental and
                      physical health and well-being. I’m not sure where this leaves us with respect to my good-faith
                      attempts to resolve this with you directly and in a non-adversarial manner, but I’m not seeing any of
                      the good faith we’ve shown on our part reciprocated by you.

                      I’ve attempted unsuccessfully to reach out to the both of you today by phone to discuss this issue as
                      soon as I became aware of it, but to no avail. I have not even been able to leave messages at the
                      numbers you provided me with.

                      I’m sorry you’ve chosen to address our client’s extremely serious and extremely acute health care
                      needs by passing him off to another facility to take responsibility for your own agency and facility’s
                      actions and inactions here, in particular given this facility’s past record of inadequate care for
                      detainees. I’m holding out a small sliver of hope that I’ll hear from either of you before his transfer
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                      tomorrow. But I’m not holding my breath.

                      Regardless of your response to the above situation explaining the reason(s) for his transfer, please


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                      provide me with a complete and accurate record of all Mr. Bozkus’s medical treatment at the time of
                      his transfer, either prior to his transfer from his present location or within the next 24 hours,
                      including any and all records of his care and health status from both the Cibola County Correctional
                      Center and the El Paso ERO Processing Center, whether physical, electronic, or in any other format,
                      as well as any similar records at any other location where he was previously housed by ICE. These
                      records should specifically include (but are not limited to) all records taken during his initial
                      assessment in April; all written requests for care submitted by our client, and all written replies to
                      those requests (if any) or a description of what action(s) were taken in response to those requests;
                      any and all letters, e-mail correspondence, or any other form of written correspondence with
                      respect to all aspects of his physical and medical care; any and all clinical notes, prescriptions,
                      records of pharmaceuticals administered, EKGs, blood pressure readings, and/or any and all records
                      of any vital signs or other health measurements taken or medical assessments made by any and all
                      staff in your medical unit(s), including nurses, physicians, physical therapists, medical assistants,
                      physician’s assistants, or primary care specialists of any kind; as well as any and all lab results or any
                      other formal clinical assessments of his mental and physical health taken while in ICE custody.
                      Please consider yourself advised of your obligation to preserve and maintain these records in their
                      current form, as well as any and all original and any altered, updated, or otherwise modified versions
                      of these records, and any prior deleted records if they are recoverable.

                      Please provide within the next 48-72 hours any and all of our client’s medical records in ICE’s
                      possession or otherwise obtainable by ICE from CaseTrakker, MedEZ, the Dental X-Ray System, the
                      Criminal Institution Pharmacy System, the Medical Payment Authorization Request System
                      (MedPAR), and/or the Medical Classification Database, or any other medical database contracted by
                      ICE’s Office of Enforcement and Removal Operations to receive, gather, record, and preserve our
                      client’s physical exams and treatment, dental services, pharmacy services, and any other medical
                      records and/or treatment plan(s) and/or courses of treatment, and records of any and all care
                      provided to our client or assessment(s) or examination(s) of our client by anyone relating to his
                      medical state or state of health, pursuant to 42 U.S.C. § 249, 42 U.S.C. § 252, 29 U.S.C. § 794, 45
                      C.F.R. § 400.5, and/or 45 C.F.R. § 707.6.

                      We repeat our request of April 26th, 2022 pursuant to Freihat, as well as our subsequent request
                      last week (verbally and per below), pursuant to 8 C.F.R. § 212.5(b), that our client be immediately
                      released to the care of any one of the three sponsors who have come forward to offer to care for
                      him pending the resolution of his immigration proceedings, preferably Mujgan Inciler of Liberty
                      Township, Ohio, a U.S. citizen and clinical psychologist employed by the State of Ohio for many years
                      (see attached sponsor record previously provided); or secondarily, Mr. Bozkus’ relative Comert
                      Kurdistan, also a U.S. citizen of Cincinnati, Ohio, or (if either of these two do not suffice for some
                      reason) a third sponsor from Burlingame, California, a close friend of our client’s family, who has also
                      expressed his willingness to sponsor our client. ANY of these options would be better than
                      continued prolonged detention for our client at another facility in another state, which arguably
                      poses extreme, inappropriate, and unnecessary risks to our client’s life, safety, sanity, and well-
                      being, and whose continued detention in light of these conditions constitutes a form of cruel and
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                      unusual punishment and an attempt to force his constructive abandonment of his legitimate asylum
                      claims whose proceedings are still pending.




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                      I expect either the requested information or a written response to the above within 24 hours, absent
                      which we will be forced to take further necessary and appropriate action(s) to protect and preserve
                      our client’s health, safety, and well-being.


                      Yours Sincerely,

                      William B. Shipley, Esq. | Senior Associate
                      Law Offices of Metin Serbest LLC
                      Chicago Office
                      2200 E Devon Ave, Ste. 358
                      Des Plaines, IL 60018
                      312-473-5500 ext. 204




                      From: william.shipley@serbestlaw.com <william.shipley@serbestlaw.com>
                      Sent: Thursday, July 14, 2022 8:49 PM
                      To: 'Sanchez, Azucena' <Azucena.Sanchez@ice.dhs.gov>
                      Cc: 'Mark.gallegos@corecivic.com' <Mark.gallegos@corecivic.com>; 'Paul.C.Bryant@ice.dhs.gov'
                      <Paul.C.Bryant@ice.dhs.gov>; 'William.S.Shaw@ice.dhs.gov' <William.S.Shaw@ice.dhs.gov>
                      Subject: RE: Serhat Bozkus
                      Importance: High

                      Thank you Officer Sanchez,

                      Per our conversation, please see the attached prior correspondence with D.O. Bryant with respect to
                      our client Mr. Serhat BOZKUS A# 220-712-429. I’m not aware of any written reply to our
                      communications from D.O. Bryant or from ICE with respect to these communications, or any actions
                      being taken in response to these requests, other than DHS counsel’s opposition to our efforts to
                      petition for Mr. Bozkus’ release from detention, which we sought in light of his diagnoses in May
                      which took place after his removal hearing. If there were any such communications or affirmative
                      actions to provide Mr. Bozkus health care with respect to his hearing, dental, and other serious
                      medical needs (other than the assessment and limited dental care provided to him today) please
                      forward those to me as soon as possible.

                      I’m also attaching relevant research concerning the detrimental impacts of continued detention on
                      asylum-seekers’ mental health with respect to anxiety, PTSD, and depression even for periods as
                      short as two months. These are all conditions our client is suffering from that are aggravated by the
                      circumstances of his detention. Given my client’s medical records indicate he suffers from the same
                      conditions described by this research, and given this research’s thoroughness in documenting the
                      serious and detrimental impacts to the mental health of asylum-seekers in detention, it’s clear that
                      only his immediate release will alleviate the continued aggravation of his severe mental health
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                      symptoms, which are also impacting his physical health. And he’s been in detention now for over
                      eight months now, since November 2021.



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                      The facility is not compliant with respect to its obligations under Section 504 of the Rehabilitation
                      Act to accommodate my client’s basic health needs either, specifically with respect to his ability to
                      bathe himself, or with respect to his other mental and physical health care needs. I’m also noting for
                      the record the extremely inappropriate comment made to my client by a clinician at Cibola County
                      Correctional Center that he should “get health care in your own country” when he expressed
                      concern for the inadequate quality of care he was receiving, which he indicated during our
                      conference call yesterday. This does not reinforce my confidence that he has been humanely and
                      fairly treated at this facility. Quite the opposite.

                      Finally, I’m attaching a copy of a Congressional hearing from 2019 which investigated the practices
                      at Cibola County Correctional Center, from the GPO website, which noted (among other things) that
                      “ICE's processes for oversight of confinement were insufficient to sustain compliance with ICE's own
                      standards,” as well as a redacted copy of the memo that I believe was the basis for this
                      Congressional inquiry into inadequate health care at Cibola County Correctional Center. I’d
                      appreciate it if you could please provide me with an unredacted version of this memo so that I can
                      assess what recommendations were made and whether those recommendations were ever
                      implemented, as they directly concern the inadequacy of the health care provided to my client at
                      this facility, and spare me and your organization the time and trouble of having to file a FOIA claim
                      for the same.

                      It is my belief that Mr. Bozkus’ deteriorating mental health likely detrimentally impacted his
                      testimony at the hearing in April and contributed to the denial of his asylum claim. Clients of ours
                      with trauma FAR less severe than that suffered by Mr. Bozkus have been granted asylum. Frankly,
                      Mr. Bozkus never should have been detained in the first place. He has no criminal record, no prior
                      immigration proceedings or immigration violations (except for his single EWI initiating his current
                      proceedings), and multiple ties to the community including from multiple U.S. citizens willing to
                      sponsor and care for him, including a physician who has been employed by the State of Ohio for over
                      20 years. He’s a well-educated professional (in civil engineering) who would otherwise be a
                      productive and law-abiding member of our society, but who is instead essentially being punished for
                      the symptoms of the very traumas and persecution from which he fled and for which is seeking
                      asylum.

                      As a side note, and not that this should have any bearing on your decision-making here, but the
                      Kurdish people have always been strong and loyal allies to our nation in its military campaigns
                      against Saddam Hussein’s regime in Iraq and against ISIS in Syria, for which their support was
                      particularly crucial. They are the world’s largest ethnic group without a nation of their own, divided
                      between multiple nations (primarily Iraq, Iran, Syria, and Turkey) many of which are dictatorships
                      hostile to their very existence as a people. Like my client, they value democracy, civil rights, and the
                      basic rights and freedoms our country champions, in a part of the world where respect for those
                      rights is very poor. Their pursuit of these rights in Turkey has resulted in their systemic persecution
                      there, where they are beaten for on the street just for speaking their native language, for advocating
                      for their civil rights, and for demanding that country acknowledge its responsibility for past
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                      massacres of Kurds, of which there are many throughout its history. They value and have fought for
                      the rights and democratic values our nation stands for. And they deserve far better from our country
                      than to be treated in this manner.


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                      I’m attempting to expedite the decision on his appeal, and while we appreciate the actions being
                      taken now on our client’s behalf now, this is too little too late. His case warrants immediate
                      consideration for the Alternatives to Detention Program as only his release will alleviate the very
                      serious and very acute mental health disorders from which he continues to suffer, which worsen
                      with every passing day he remains in detention.

                      I thank you for your cooperation with respect to the medical interventions needed for our client, and
                      for your timeline consideration of his release on recognizance through the Alternatives to Detention
                      Program, or otherwise through the exercise of DHS’s prosecutorial discretion over his case in light of
                      the new evidence of his mental health diagnoses and DHS’ consideration for their possible impacts
                      on his testimony at the hearing, in a manner similar to considerations given by Asylum Officers
                      during their credible fear screening interviews (when interviewees are asked about whether they
                      suffer from Depression or other mental health conditions that may impact the Officers’ assessment
                      of their answers with respect to their fears concerning past and future persecution). I’m not sure
                      whether such an assessment of my client’s mental health was ever made before DHS fought his
                      asylum claim and attempted to deport him back into the hands of his persecutors. Regardless of the
                      outcome of his proceedings, his pursuit of his legitimate and meritorious asylum claim here should
                      not come at the cost of his health, his sanity, or his life.


                      Sincerely,

                      William B. Shipley, Esq. | Senior Associate
                      Law Offices of Metin Serbest LLC
                      Chicago Office
                      2200 E Devon Ave, Ste. 358
                      Des Plaines, IL 60018
                      312-473-5500 ext. 204




                      From: Sanchez, Azucena <Azucena.Sanchez@ice.dhs.gov>
                      Sent: Thursday, July 14, 2022 5:46 PM
                      To: william.shipley@serbestlaw.com
                      Subject:

                      Shaw, William S William.S.Shaw@ice.dhs.gov
                      Bryant, Paul C Paul.C.Bryant@ice.dhs.gov

                      Azucena Sanchez
                      Supervisory Detention and Deportation Officer
                      El Paso Field Office, Albuquerque Sub-office
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                      Enforcement and Removal Operations
                      U.S. Immigration and Customs Enforcement
                      Office: (505) 452-4830




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                                                                                      Office for Civil Rights and Civil Liberties
                                                                                      U.S. Department of Homeland Security
                                                                                      Washington, DC 20528




                   March 5, 2020


                   MEMORANDUM TO:                   Enrique M. Lucero
                                                    Executive Associate Director
                                                    Enforcement and Removal Operations
                                                    U.S. Immigration and Customs Enforcement

                   FROM:                            Peter E. Mina
                                                    Deputy Officer for Programs and Compliance
                                                    Office for Civil Rights and Civil Liberties

                                                    Dana Salvano-Dunn
                                                    Director, Compliance Branch
                                                    Office for Civil Rights and Civil Liberties

                   SUBJECT:                         Cibola County Correctional Center
                                                    Complaint Nos. 18-08-DHS-0342, 18-08-ICE-0745,
                                                    18-11-ICE-0668, 18-11-ICE-0742, 19-02-ICE-0072,
                                                    19-03-ICE-0071, 19-03-ICE-0110, and 19-06-ICE-0211

                   The U.S. Department of Homeland Security (DHS), Office for Civil Rights and Civil Liberties
                   (CRCL) is conducting an investigation into conditions of detention for U.S. Immigration and
                   Customs Enforcement (ICE) detainees at the Cibola County Correctional Center (CCCC) in
                   Milan, New Mexico. CRCL’s onsite investigation occurred on August 13-15, 2019 in response to
                   allegations received alleging civil rights and civil liberties violations of medical and mental
                   health care, conditions of detention, and environmental health and safety at CCCC. Additionally,
                   CRCL reviewed violations’ that impacted detainees housed in CCCC’s dedicated transgender
                   housing unit.

                   We greatly appreciated the cooperation and assistance provided by ICE and CCCC personnel
                   before and during the onsite investigation. As part of the onsite, CRCL engaged the assistance of
                   four subject-matter experts: a medical consultant, a mental health consultant, a corrections
                   consultant and an environmental health and safety consultant. As a result of detainee and staff
                   interviews, document and record reviews, and direct observation, the subject-matter experts
                   identified concerns regarding medical and mental health care, conditions of detention, and
                   environmental health and safety at the facility.

                   On August 15, 2019, as part of the out-briefing for CCCC and ICE, CRCL and the subject-matter
                   experts discussed the most serious findings with ICE ERO field office management personnel,
                   personnel from ICE ERO headquarters, and CCCC senior management. During the discussions,
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                   the subject-matter experts also provided recommendations to address the identified concerns. An



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                   email summary of those, which CRCL sent to ICE ERO leadership immediately following the
                   onsite is attached here. Also enclosed with this memorandum are the reports prepared by our
                   subject-matter experts. The experts’ recommendations have been designated as priority and best
                   practice recommendations. Priority recommendations are listed in the body of this memorandum,
                   and CRCL requests that ICE formally concur or non-concur with these and provide an action
                   plan for all accepted recommendations within 60 days. Best practice recommendations are
                   contained in a separate attachment to this memorandum. Although CRCL is not requesting
                   formal responses to these best practice recommendations, we encourage ICE to also consider and
                   implement these recommendations to the fullest extent possible.

                   Medical Care
                   1. An effective quality assurance program is needed at CCCC. It must be comprehensive and
                      monitor all aspects of the medical program for risk, frequency, and trends to identify major
                      problems/issues, and develop action plans to address them in the order of priority. Although a
                      nurse is assigned to conduct quality assurance studies at CCCC, and a good system was
                      developed to audit some programs on a rotating schedule, the audits were not comprehensive
                      and did not monitor all aspects of the medical care program for risk, frequency and trends, in
                      order to identify major issues and develop action plans. When serious issues of concern were
                      identified, the current quality assurance program did not develop appropriate action plans to
                      address the findings. (2011 PBNDS 4.3, Medical Care V.BB.2) Related to these concerns,
                      CRCL’s medical expert has the following three recommendations:
                           a.   CCCC’s medical leadership team (Health Services Administrator (HSA), Medical
                                Director and Director of Nursing) should become more involved in the quality
                                assurance program, as well as support and take advantage of it, allowing improved
                                monitoring of all healthcare services at the facility, rather than only the few being
                                audited at the time of the onsite.
                           b.   CCCC’s medical leadership team (Health Services Administrator (HSA), Medical
                                Director and Director of Nursing) should collaboratively develop and implement
                                corrective action plans to address and resolve problems that are identified in the
                                quality assurance audits.
                           c.   CCCC’s medical leadership team should reevaluate the most recent quality
                                assurance audit and determine whether the problems have been addressed effectively
                                with proper corrective actions.
                   2. CCCC had a continual mumps outbreak from April 2019 through CRCL’s August onsite, and
                      continued to be under quarantine after the onsite. While onsite, our medical expert observed a
                      nurse dispensing medications between the quarantined and non-quarantined housing units
                      without changing gloves, even though there was a sign outside the housing units with orders
                      to follow contact isolation protocols. Significantly, an additional pod was placed on
                      quarantine during the CRCL investigation, which may have been related. (2011 PBNDS 4.3,
                      Medical Care V.C.1) Related to these concerns, CRCL’s medical expert has the following
                      two recommendations:
                           a. The correctional and medical staff should be trained on contact isolation practices.
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                           b. The improved quality assurance program (see Medical Care recommendation #1)
                              should monitor these practices to ensure compliance. (2011 PBNDS 4.3, Medical
                              Care V.C.1) 1
                   3. Although the medical staff are using the language line and translators for intake screening
                      and health assessments, the nurses are not consistently providing language assistance during
                      sick-call visits. For example, correctional staff are sometimes used by the medical staff to
                      address language needs in violation of the standards and violating medical privacy. (2011
                      PBNDS 4.3, Medical Care V.E.) Related to these concerns, CRCL’s medical expert has the
                      following two recommendations:
                           a. The medical staff should consistently use the language line or professional translators
                              when interacting with detainees and, in particular, when providing medical and
                              mental health services.
                           b. The medical staff’s use of correctional staff for translation/interpretation needs should
                              cease immediately, except in emergency situations.
                   4. The medical files at CCCC were found to be incomplete, with misfiled and missing
                      documentation. The medical unit is not filing or maintaining medical information
                      appropriately, and there is no quality assurance process (see Medical Care recommendation
                      #1) to ensure medical files are accurate and kept up to date. The medical unit also has
                      thousands of loose medical documents that are waiting to be filed into patient charts. This
                      failure to maintain patient records means that clinical staff do not have the complete medical
                      information needed to appropriately treat detainees. Providing medical care with incomplete
                      information can lead to serious medical care and medication errors. (2011 PBNDS 4.3,
                      Medical Care V.Y) Related to these concerns, CRCL’s medical expert has the following four
                      recommendations:
                           a. CCCC should immediately assign resources to file the loose documents into the
                              patients’ charts.
                           b. Medical records should be part of a quality assurance process to ensure that all
                              medical charts are filed correctly and in a timely manner.
                           c. The paper chart system currently used by CCCC is outdated. CCCC should consider
                              transitioning to an electronic medical record, which is the current medical practice
                              norm, to improve safety and efficiency.
                           d.




                   5. CCCC’s medication procurement and management processes and procedures are problematic
                      and can lead to detainee health risks. The current practice results in detainees missing critical
                      medications, medication delays, or receiving the wrong medications. While onsite, expired
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                   1
                    Given the current COVID-19 outbreak, this recommendation, as well as recommendation #6 below, becomes even
                   more important to implement in a timely manner.



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                       medications were found in the medication carts because the medical unit does not have a
                       standardized process to check for expired medications nor standard guidelines for when to
                       discard opened multi-use medications. Also, CCCC does not have a reliable medication refill
                       process or medication renewal process, which disrupted chronic disease patients’ medication
                       continuity. Finally, the pharmacy tech and the nursing staff did not have adequate training
                       related to medication management. (2011 PBNDS 4.3, Medical Care V.S and multiple other
                       2011 PBNDS). Related to these concerns, CRCL’s medical expert has the following six
                       recommendations:
                            a. CCCC should establish a standard process requiring that medication orders are faxed
                               to the off-site pharmacy. In turn, CCCC pharmacy staff should ensure that all
                               medications are received from the offsite pharmacy and should verify they match the
                               providers’ orders.
                            b. Nursing staff should administer the patient-detainee’s prescribed medications when
                               received from the offsite pharmacy, thus reducing the use of common stock
                               medications, and preventing medication errors.
                            c. The HSA, Pharmacist, and Director of Nursing should establish a standard process
                               and a schedule to check for expired medications, then ensure the medical staff are
                               conducting the check as required. The pharmacy staff should consistently perform
                               random checks to ensure there are no expired medications in the medication cart or
                               storage area.
                            d. The HSA should establish timelines for the disposal of open multi-use medications
                               and ensure medical staff’s adherence.
                            e. Nursing and pharmacy staff should receive training on medication management.
                            f. The quality assurance program should conduct random audits to identify
                               opportunities for improvements in medication administration and develop action
                               plans to address them. (See Medical Care recommendation #1.)
                   6. Pill distribution (“pill pass”) at CCCC is unsafe and places detainees at risk to receive
                      incorrect medications. The observed pill pass process demonstrated numerous areas of
                      concern: The nurse did not perform the standard five “rights” of medication administration.2
                      The nurse did not check the medications against the medical administration record to ensure
                      the correct medication was being administered. The nurse did not perform hand hygiene
                      between detainees, even when medications were being administered between quarantined
                      housing units and housing units not under quarantine. Neither the nurse nor the housing unit
                      officer called out for the detainees who were scheduled to receive medications during pill
                      pass, and the nurse did not check to ensure that all detainees who were scheduled for
                      medication received them before leaving each housing unit. (2011 PBNDS 4.3, Medical Care
                      V.G). Related to these concerns, CRCL’s medical expert has the following three
                      recommendations:
                            a. The Director of Nursing should establish a standard process for medication
                               administration, and the nursing staff should be trained on the process and the
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                   2
                    The five “rights” are: check to ensure the right patient, the right time and frequency of administration, the right
                   dose, the right route of administration, and the right drug, before administering medication to the CCCC detainees.



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                               responsibility to adhere to it. When implemented, nursing leadership and the quality
                               assurance staff should monitor the process to ensure compliance. (See Medical Care
                               recommendation #1.)
                           b. During pill pass, nurses should call out the names of detainees who are scheduled to
                              receive medications, so the detainees are aware that they have medications to take.
                              Moreover, the nurses should make an effort to ensure that detainees with medications
                              receive them; especially when the medication is of a critical nature.
                           c. The HSA, Medical Director, and Director of Nursing should immediately identify
                              lapses in medication administration and immediately address them, to ensure the
                              CCCC detainees’ health and safety.
                   7. The clinic staff schedule appointments for detainees who need to be seen by a medical
                      provider (physicians and nurse practitioners). The appointments are scheduled based on the
                      medical providers planned shift schedule. However, the providers often do not show up for
                      their scheduled shift, causing the need for detainee-patient rescheduling. Review of the
                      providers’ schedules showed that providers cancelled five out of 15 scheduled shifts. (2011
                      PBNDS 4.3, Medical Care V.A, V.B, V.DD) Related to these concerns, CRCL’s medical
                      expert has the following three recommendations:
                           a. The HSA and Medical Director should develop a staffing plan which identifies
                              positions needed to perform the required services, as well as identify the training
                              needs of the medical staff and offer them resources.
                           b. The HSA and Medical Director should develop a reliable provider schedule to ensure
                              that the detainees are seen by the provider without delay.
                           c. The HSA and Medical Director should consider telemedicine options to increase
                              provider availability.
                   8. The facility has a large transgender housing unit (Unit 900) where the detainees are primarily
                      managed by one physician. This specific physician is going on an extended leave of absence.
                      However, there are no other medical providers (physicians or nurse practitioners) trained or
                      qualified to provide care specific to transgender individuals. (2011 PBNDS 4.3, Medical
                      Care II.21, V.A.5, V.B, V.C.4.b, V.U). Related to these concerns, CRCL’s medical expert
                      has the following two recommendations:
                           a. The HSA and Medical Director should provide educational opportunities to other
                              physicians and nurse practitioners, so they are comfortable and capable of providing
                              care for the transgender detainee population.
                           b. The medical unit should ensure adequate medical staff are available onsite to provide
                              appropriate care for the transgender detainee population.
                   9. The medical staff were performing physical exams on detainees in the medical clinic without
                      sufficient privacy. The doors to the hallway were open and there were no privacy screens
                      being used. (2011 PBNDS 4.3, Medical Care V.F, V.L) Related to these concerns, CRCL’s
                      medical expert recommends:
                           a. Medical staff must ensure adequate privacy for the detainees during all medical and
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                              mental health encounters. The HSA should discuss with the medical staff, their




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                                reasons for not closing the exam room door and then identify ways to address the
                                related concerns.
                   10. The current sick-call program underwent several recent changes, resulting in confusion
                       among the staff. (2011 PBNDS 4.3, Medical Care V.B, V.Q, V.BB) Related to this concern,
                       CRCL’s medical expert recommends:
                           a. The HSA, Medical Director, and the Director of Nursing should establish a standard
                              sick-call process and educate the medical and corrections staff and the detainees on
                              the new process.
                   11. There is no reliable way to ensure sick-call requests are collected daily at CCCC.
                       Additionally, there is a long delay and inconsistent triaging of sick-call requests at CCCC.
                       The current policy states that a sick-call request should be addressed with a face-to-face visit
                       with a medical staff member within 24-hours of the request’s receipt. However, chart reviews
                       demonstrated that most of the responses to sick-call requests did not meet this requirement.3
                       Chart reviews also demonstrated that several sick-call requests were marked as “completed”
                       without any documentation of nursing assessments or without a nurse having performed an
                       assessment. (2011 PBNDS 4.3, Medical Care V.A.6, V.Q, V.S) Related to these concerns,
                       CRCL’s medical expert has the following three recommendations:
                           a. The nurse managers should ensure that sick-call requests are collected every day and
                              triaged by a Registered Nurse (RN), so they can immediately address those requests
                              with emergent and urgent needs.
                           b. The nurses should be trained on the nursing guidelines and required to follow them.
                              Training should include when to consult with the provider or refer detainees to the
                              provider for further evaluation based on the detainees’ condition.
                           c. The nurses should be expected to conduct face-to-face assessments with the detainee
                              whenever a symptom is mentioned in the detainee’s sick-call request or complaint
                              including, fever, headache, pain, etc. The nurses should also be required to document
                              their complete assessment in the medical record.
                   12. CCCC’s sick-call program appears to be largely nurse-run and there is minimal escalation for
                       a higher level of care. Nearly all sick-call requests reviewed while onsite were handled by the
                       nurses and, of those, no detainees were referred by the nurses to medical providers for a
                       higher level of evaluation. Instead, the nurses discussed the cases with the medical providers,
                       and received orders from the provider without a provider evaluation. The CCCC higher level
                       medical providers do not conduct a regular sick-call clinic and, as nurses rarely refer
                       detainees to them for evaluation, they are not being fully utilized. This practice impacts
                       detainee medical care at CCCC, leading to delays and inadequate levels of care. (2011
                       PBNDS 4.3, Medical Care V.A.6, V.Q, V.S) Related to these concerns, CRCL’s medical
                       expert has the following two recommendations:
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                   3
                    For example, a detainee submitted several sick-call requests stating that he was not receiving his seizure
                   medications, but the request was not addressed timely and the patient subsequently had two emergency room visits
                   for seizures.



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                           a. The Director of Nursing should discuss with the nursing staff the reasons for not
                              referring detainees to additional medical providers when the illness or condition
                              indicates need for a referral, and then address any indicated barriers.
                           b. The quality assurance program should monitor and evaluate compliance with and
                              effectiveness of the sick-call program on a monthly basis, and subsequently make
                              necessary improvements. (See Medical Care recommendation #1.)
                   13. CCCC’s dental clinic has difficulty meeting the 14-day dental screening requirement, and
                       detainees due for the 14-day screen are asked if they would like to refuse the dental screen.
                       The dentist and dental assistant are on site four days a week. Detainees are seen by the dentist
                       on Monday and Tuesday, with priority given to new detainees for an initial dental
                       assessment. This causes delays for non-newcomer detainees who have dental needs like pain
                       and follow-up visits with the dentist. Additionally, the medical clinic serves the facility’s
                       county and immigration custody populations, which cannot be mixed, and therefore causes
                       further delays in care. Lastly, the dental clinic shares space in the medical unit. Because the
                       facility doesn’t allow intermingling of inmates and detainees, this shared clinic space
                       configuration limits clinic availability for the transgender detainees and causes many delays
                       and cancellations within the medical, nursing, and dental clinics. (2011 PBNDS 4.3, Medical
                       Care V.P) Related to these concerns, CRCL’s medical expert has the following four
                       recommendations:
                           a. The HSA should identify issues related to medical space availability in order to
                              ensure the transgender detainees are brought to the dental clinic.
                           b. The HSA should adjust the dental clinic schedule to ensure that all detainees with
                              dental needs receive timely assessment and care.
                           c. The prioritized initial dental screening for new detainees should not delay dental care
                              for the established detainees who have dental needs. All detainees who report dental
                              pain should be evaluated and appropriately treated without delay.
                           d. The HSA should investigate the 14-day dental screen refusal process that is occurring
                              at CCCC, to ensure that detainees are not being influenced to refuse care.
                   14. CCCC medical staff are not responding to urgent medical requests in a timely manner as
                       required by the PBNDS. Onsite, it was found that several urgent medical needs were not
                       responded to for approximately 13-17 days. Reportedly, this was because the housing unit
                       officer was determining whether the detainees’ medical need warranted an immediate
                       medical response. If the officer determined the detainee’s need was not urgent, the matter
                       was not immediately brought to the medical unit’s attention. For example, a transgender
                       detainee reported an urgent medical need to the housing unit officer due to rectal bleeding,
                       but her request went unaddressed for approximately 13 days. When the detainee was finally
                       seen and tested, she was determined to be HIV positive. (2011 PBNDS 4.3, Medical Care
                       II.4, II.10, II.11, V.A, V.T) Related to these concerns, CRCL’s medical expert has the
                       following five recommendations:
                           a.
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                           b. Corrections officers should immediately be informed that they cannot determine
                              whether or not a medical issue is urgent or can wait. Corrections officers should be



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                               required to immediately notify the medical staff of all medical emergencies, medical
                               issues, and medical requests that are reported or observed.
                           c. Medical staff should immediately assess detainees whom corrections officers report
                              have requested medical care or whom corrections officers observe to need medical
                              care. The assessment and care should occur in a private setting.
                           d. When urgency is indicated by either corrections or medical staff, the detainee should
                              be immediately referred to a higher level of care.
                           e. Detention staff and clinical staff should be educated on medical emergencies and
                              appropriate responses.
                   15. The facility does not have a standardized process to track detainees with chronic medical
                       conditions like diabetes, hypertension, HIV, asthma, seizures, etc., which places CCCC’s
                       chronically ill detainees at risk. (2011 PBNDS 4.3, Medical Care V.X.1) Related to these
                       concerns, CRCL’s medical expert recommends:
                           a. The medical unit should maintain a chronic disease registry to consistently track
                              detainees with chronic medical conditions and ensure the provided care complies with
                              the disease-specific clinical practice guidelines that are established by the Medical
                              Director. Quality assurance audits should be used to ensure this is occurring. (See
                              Medical Care recommendation #1.)

                   Mental Health Care
                   16. Review of healthcare records provided examples of inadequate access to emergency mental
                       health care at CCCC. In two different instances, detainees disclosed concerning information
                       to medical staff during the intake screening process that warranted an urgent mental health
                       evaluation or emergent referral, but care was delayed. Serious mental health care referrals
                       were found not to be timely and care was further delayed because the telecommunication
                       system was not working properly at the time of the onsite. (2011 PBNDS 4.3, Medical Care
                       II.1, II.2, II.4, II.6, II.9, II.16, II.27, V.J, V.L, V.M, V.N.1; 4.6, Significant Self-harm and
                       Suicide Prevention and Intervention V.B, V.C, V.D; 2.12 Special Management Units II.6,
                       II.12, V.C, V.N; NCCHC Standards for Health Services in Jails, Access to Care J-A-01,
                       essential; NCCCH Standards for Health Services in Jails, Segregated Inmates J-G-02,
                       essential, Compliance Indicator 2) Related to these concerns, CRCL’s mental health expert
                       recommends:
                           a. CoreCivic healthcare and custodial leadership should ensure all custodial and medical
                              staff are aware of when and how detainees can access emergent mental health care
                              during business and non-business hours.
                   17. Review of mental health sick-call requests demonstrated delays in access to care resulting
                       from the nursing triage process. Nursing staff failed to triage mental health care requests in a
                       timely manner, causing delays. In some cases, poor triage documentation (illegible or
                       missing dates and times) impacted the ability to provide timely assessment and response.
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                        There were also delays in routing sick-call requests to mental health staff. 4,5 Wellpath Mental
                        Health Services policy required that transgender detainees on psychiatric medications be seen
                        by a mental health clinician every 30 days, and psychiatric appointments every 30 days for
                        detainees on psychiatric medications. However, review of medical records demonstrated that
                        mental health staff were not compliant with these requirements. (This may be due to
                        inadequate staffing and supervision, which is discussed below in recommendation #37.)
                        (2011 PBNDS 4.3, Medical Care II.1, II.2, II.4, II.6, II.9, II.16, II.27, V.J, V.L, V.M, V.N.1;
                        4.6, Significant Self-harm and Suicide Prevention and Intervention V.B, V.C, V.D; 2.12
                        Special Management Units II. 6, II.12, V.C, V.N; NCCHC Standards for Health Services in
                        Jails, Access to Care J-A-01, essential; NCCCH Standards for Health Services in Jails,
                        Segregated Inmates J-G-02, essential, Compliance Indicator 2.a) Related to these concerns,
                        CRCL’s mental health expert has the following three recommendations:
                            a. The sick-call triaging process by nursing staff should also apply to the mental health
                               program. (See Medical Care recommendation #10.)
                            b. Leadership should ensure that mental health staff conduct and record weekly rounds
                               with all detainees in CCCC’s Special Management Unit (SMU).
                            c. Regarding compliance with timely contact requirements, implementation of the
                               recommended electronic record can resolve delays, if utilized because the detainee’s
                               medical care history and needs, including dates seen and required follow-up
                               appointments, will be easily accessible electronically as opposed to paper medical
                               files. Moreover, an electronic medical record system will provide alerts to providers.
                    18. Inadequate staffing at CCCC has impacted the facility’s ability to comply with the 2011
                        PBNDS. In particular, the mental health program is inadequately staffed to meet detainees’
                        mental health needs. Insufficient mental health staffing has contributed to delays found in
                        access to mental health care and problematic mental health documentation. At the time of the
                        onsite, there was no designated staff position responsible for the clinical and administrative
                        supervision of the mental health staff. During the onsite, the mental health program included
                        one full-time tele-psychiatrist and three master’s level clinicians. The tele-psychiatrist
                        provided on-call services after business hours. Additionally, when tele-psychiatry was
                        utilized for psychiatric care, the tele-psychiatrist had the medical records clerk in the room
                        during the detainee’s appointment, which is a confidentiality violation of the Health
                        Insurance Portability and Accountability Act (HIPAA).6 (2011 PBNDS 4.3, Medical Care
                        II.21, II.23, II.25, V.B, V.I, V.Y, V.BB.2; NCCHC Standards for Health Services in Jails,
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                        Mental Health Services J-5-03, essential) Related to these concerns, CRCL’s mental health
                        expert recommends:
                             a. CoreCivic healthcare leadership should conduct a staffing assessment to determine
                                appropriate staffing levels. This assessment will need to consider:
                                   The number of facility admissions;
                                   Establishment of a caseload that includes all detainees that are regularly followed
                                   by mental health;
                                   The number of sick-call contacts;
                                   The number of referrals (urgent, emergent, routine);
                                   Suicide watches; and
                                   Segregation contacts

                    Conditions of Detention
                    19. CCCC’s current grievance process is ineffective and does not comply with the 2011 PBNDS.
                        The grievance system is designed to act as an early warning system to the facility
                        administration, so detainee issues can be resolved timely and at the lowest possible level.
                        Transgender detainees reported the grievance system is neither effective nor responsive, and
                        their grievances were routinely not responded to timely, or not responded to at all. As well,
                        through record reviews, it was substantiated that the transgender detainees’ verbal complaints
                        of abusive staff treatment were not adequately investigated by the Chief of Security. 78 Also,
                                                                       the Grievance Coordinator’s investigations were
                        determined to be superficial, and grievance investigations were being inappropriately
                        assigned to housing unit staff within the same housing unit where the grieved event occurred,
                        creating a conflict of interest. (ICE National Detainee Handbook, April 2016; 2011 PBNDS
                        6.2, Grievance System II.3, II.7, V.A.1, V.A.2, V.A.6, V.C, V.D, V.H) Related to these
                        concerns, CRCL’s conditions of detention expert has the following five recommendations:
                             a. The transgender detainees’ verbal reports and grievances about disrespectful staff
                                treatment and verbal abuse should be fully investigated by ICE and CCCC to ensure
                                they are treated with dignity and respect, as required by the PBNDS. 9
                             b. CCCC and ICE should identify those corrections officers identified in multiple
                                detainee mistreatment complaints and address, through training or otherwise, their
                                skills and abilities to work with the transgender detainee population.
                             c. CCCC and ICE should jointly review all FY2018 and 2019 detainee grievances
                                previously investigated by the Chief of Security to identify complaints that merit
                                further investigation.

                    7
                     2011 PBNDS, 6.2 Grievance System, Section A. 6. Written Procedures Required, mandates the facility to “ensure
                    each grievance receives appropriate review;”
                    8
                     Over 15 CoreCivic staff had multiple staff abuse complaints filed against them by the transgender detainee
                    population.
                    9
                      ICE ERO’s “Further Guidance Regarding the Care of Transgender Detainees” (June 19, 2015) requires, “ICE ERO
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                    will provide a respectful, safe and secure environment for all detainees, including those individuals who identify as
                    transgender. Discrimination or harassment of any kind based on a detainee’s actual or perceived sexual orientation
                    or gender identify is strictly prohibited.”



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                            d. The Chief of Security’s current practices, which include inadequate grievance
                               investigations, poor documentation of grievance investigations, and inappropriate
                               verbal instruction to the Grievance Coordinator regarding grievance outcomes, should
                               immediately cease.
                            e.

                    20.




                            a.

                    21. While onsite CRCL found that CCCC and ICE staff fail to consistently address transgender
                        detainees by their preferred pronoun, as required by the Transgender Care Guidance. (ICE
                        2015 Transgender Care Guidance) Related to this concern, CRCL’s conditions of detention
                        expert recommends:
                            a. ICE and CCCC leadership should ensure this is immediately corrected to comply with
                               the Guidance. Both facility and ICE staff should be respectful of transgender
                               detainees’ preferred pronoun.
                    22. Transgender detainees do not have regular access to the ICE Detention Officer (DO)
                        assigned to their case. The DO schedule that is posted in Unit 900 is not followed.
                        Some Unit 900 transgender detainees reported that they had not seen their DO in
                        weeks, while others stated they had never spoken with their DO. In discussion with
                        the Assistant Field Office Director (AFOD), he stated that he was aware of the
                        problem and reported that new ERO staff was recently placed in the Supervisory
                        Detention and Deportation Officer (SDDO) position. The AFOD assured CRCL that
                        they will be monitoring the issue to ensure DOs conduct their detainee visits as
                        required and scheduled. (2011 PBNDS 2.13, Staff-Detainee Communication II.1, II.3,
                        V.A) Related to this concern, CRCL’s conditions of detention expert recommends:
                            a. ICE should monitor ERO’s Deportation Officer (DO) visits to the detainee housing
                               units to ensure the DO’s are adhering to the schedule.
                    23. Transgender detainees’ emergency medical needs are not sufficiently or timely addressed
                        when reported to the housing unit corrections staff. Detainees stated that when they have
                        made efforts to obtain medical assistance for other transgender detainees in Unit 900 who are
                        too ill to seek it on their own, they are commonly ignored by housing unit staff. The
                        transgender detainees also reported that the housing unit staff will often decide if a detainee’s
                        medical need is valid and will only call the medical unit if they deem the need is critical. In
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                        accordance with the above medical findings, transgender detainees reported that medical staff
                        are not consistently responsive when a medical emergency occurs. (2011 PBNDS 4.3,



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                        Medical Care II. 9) Related to these concerns, CRCL’s conditions of detention expert
                        recommends:
                             a. CCCC should ensure that Unit 900 staff immediately notify the medical unit when
                                any detainee requests emergency medical care, to ensure that medical emergencies
                                are responded to timely. Corrections staff should not be allowed to determine a
                                detainee’s medical need.
                    24. Review of SMU operations exposed numerous violations of the PBNDS. One finding is that
                        detainees were not being provided with immediate notice of the reason for their SMU
                        placement, which is mandated by the PBNDS SMU standard requiring that “ICE and the
                        detainee shall be immediately provided a copy of the administrative segregation order
                        describing the reasons for the detainee’s placement in the SMU.” (2011 PBNDS 2.12,
                        Special Management Units V.A.2.e, V.E) Related to these concerns, CRCL’s conditions of
                        detention expert recommends:
                             a. CCCC should ensure that ICE detainees conform to the PBNDS SMU standard
                                requiring that detainees placed in segregation immediately receive a copy of the
                                administrative segregation order describing the reason(s) for their placement in the
                                SMU.
                    25. Review of SMU records exposed operational inconsistencies between watch assignments.
                        Staff turnover and inadequate management oversight has contributed to the problems found
                        during the onsite, such as SMU records that are incomplete and not compliant with the
                        PBNDS. Daily activity logs are also not accurately maintained. (2011 PBNDS 2.12, Special
                        Management Units V.C.3) Related to these concerns, CRCL’s conditions of detention expert
                        recommends:
                             a. CCCC must maintain detailed SMU records of the detainees’ daily activities,
                                including but not limited to meals, showering, recreation, medical and mental health
                                staff rounds, access to law library, and telephones. All disciplinary orders and other
                                records created while the detainee is in the SMU must be appropriately detailed,
                                complete, and maintained. Upon a detainee’s release from the SMU, all records must
                                be placed in the detainee’s detention file.
                    26. Review of CCCC records and two group interviews with Limited English Proficient (LEP)
                        detainees demonstrated that the language access resources available at CCCC are not
                        consistently or effectively being used to assist LEP detainees. There were few records
                        demonstrating that either translation or interpretation services were being utilized. Further,
                        official forms and other documents found in detention files were in English and lacked
                        evidence that they were translated for the detainees. (2011 PBNDS 2.13, Staff-Detainee
                        Communication II.6, B.B and various other 2011 PBNDS; DHS Language Access Plan,
                        February 28, 2012; ICE Language Access Plan, January 17, 2017 10) Related to these
                        concerns, CRCL’s conditions of detention expert has the following four recommendations:


                    10
                       Consistent with Executive Order (EO) 13166, Improving Access to Services for Persons with Limited English
                    Proficiency) (August 11, 2000), ERO’s Language Access Plan (LAP or Plan) builds upon the ICE LAP released in
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                    August 2015, by describing the various means ERO uses to provide LEP persons with meaningful access to its
                    programs and activities. The LAP covers current language access activities and language access procedures. The
                    Plan also identifies future priorities for ERO to improve the efficiency and effectiveness of its LAP and to develop



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                            a. CCCC should provide training to staff on their obligations to provide meaningful
                               language access to LEP detainees, and on the various language access resources that
                               are available to assist staff in meeting this obligation. This training should be
                               documented.
                            b.




                            c. To ensure compliance with the screening and processing requirements for new
                               arrivals, CCCC should ensure that detainees understand necessary information by
                               using qualified interpreters and/or professionally translated informational postings
                               and forms that are commonly used (intake, the medical unit, commissary, facility
                               programs, disciplinary proceedings, and segregation). These should be translated into
                               Spanish, at a minimum, to ensure meaningful detainee access.
                            d.


                    27. The CCCC Grievance Coordinator was not providing detainees with grievance forms in
                        Spanish and was using “google translate” to understand the detainees’ grievances and to
                        provide grievance responses because she could not read or speak Spanish. However, the
                        Grievance Coordinator’s Google translated responses reviewed during the onsite did not
                        make sense. (2011 PBNDS 6.2, Grievance System II.1, II.3, II.9, V.A.9, V.C.1, V.C.3; 2.13
                        Staff-Detainee Communication V.B; DHS Language Access Plan, February 28, 2012; ICE
                        Language Access Plan, January 17, 2017) Related to these concerns, CRCL’s conditions of
                        detention expert recommends:
                            a. A qualified Spanish-speaker should be assigned to the position of Grievance
                               Coordinator or the language line must be used in reading and responding to
                               grievances written in Spanish by ICE’s LEP detainees.
                    28. Detainees’ access to recreation at CCCC demonstrated that transgender detainees are
                        routinely denied equal access to the large outside exercise yard, even though detainees in the
                        male housing units have regular access. In addition, the CCCC Detainee Handbook section
                        on outside recreation requires only two-hours of daily recreation, which does not comport
                        with the PBNDS. (2011 PBNDS 5.4, Recreation V.B) Related to these concerns, CRCL’s
                        conditions of detention expert has the following three recommendations:
                            a.




                    new methods of providing language assistance services to LEP persons. The DHS and ICE Language Access Plans
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                    may be found at https://www.dhs.gov/publication/dhs-language-access-plan.




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                             b.


                             c. CCCC should update their Detainee Handbook on “Access to Outside Recreation,” by
                                changing the required hours from 2-hours to 4-hours, in compliance with the PBNDS.
                    29. Based on review of a CRCL complaint alleging that a paroled detainee’s property was not
                        returned upon his departure from CCCC, it was found that there were incomplete detainee
                        property records, property receipts that were not consistently or accurately issued or
                        maintained, understaffed and inadequately supervised property operations, and property that
                        was not identified or stored appropriately. 11 (2011 PBNDS 2.5, Funds and Personal Property
                        II.2, V.A.2, V.A.5, V.C.4, V.C.5, V.G, V.L, V.L.3; 7.3 Staff Training II.1, V.C) Related to
                        these concerns, CRCL’s conditions of detention expert has the following three
                        recommendations:
                             a.


                             b. CCCC should conduct a comprehensive audit of all detainee property that is currently
                                retained in the property room and ensure that it is properly identified and stored, and
                                accurately recorded in the detainee detention files.
                             c. CCCC should hire an adequate number of staff for property needs, provide property
                                staff with appropriate training to prevent mistakes and losses, and ensure detainee
                                property is returned to the detainee upon their release or removal, as required by the
                                PBNDS.
                    30. Review of CCCC’s Sexual Assault and Abuse Prevention and Intervention policies and
                        procedures demonstrated that CCCC’s Detainee Handbook PREA/SAAPI section is difficult
                        to follow, lacks clarity, and lacks CCCC’s zero-tolerance policy statement. It also lacks clear
                        definitions of prohibited acts of assault and abuse pertaining to both staff and detainees.
                        (2011 PBNDS 2.11, Sexual Abuse and Assault Prevention and Intervention II.1, II.2, V.A,
                        V.F; 6.1 Detainee Handbook V.A, V.E) Related to these concerns, CRCL’s conditions of
                        detention expert has the following two recommendations:
                             a.


                             b.

                    31. Based on a 2018 ICE Office of Detention Oversight (ODO) audit finding that detainees
                        remained in hold rooms for excessive periods of time beyond the PBNDS-mandated 12-hour
                        limit, we reviewed hold room records for the month of July 2019 and found that 24 out of
                        314 hold room placements exceeded the 12-hour parameter. (2011 PBNDS 2.6, Hold Rooms
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                    11
                      The paroled detainee’s detention file contained a note that he arrived with luggage, clothing, jewelry, and other
                    personal belongings, but the file did not contain his property inventory records.



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                        in Detention Facilities II.2, V.B) Related to this concern, CRCL’s conditions of detention
                        expert recommends:
                            a. CCCC must ensure that ICE detainees are processed out of hold rooms within the
                               PBNDS mandated 12-hours.

                    Environmental Health and Safety
                    32. Floors in the food service area were found to be excessively worn and damaged. The epoxy
                        was eroded, which exposed the older tile floor in numerous areas rendering it no longer
                        “easily cleanable,” as required by the New Mexico Food Code. To maintain required levels
                        of floor-cleanliness, floors must be in good repair and be routinely cleaned. The PBNDS
                        Food Service standard mandates that floors are routinely cleaned. (2011 PBNDS 4.1, Food
                        Service II.3, II.7, V.J.5.c) Related to this concern, CRCL’s environmental health and safety
                        expert recommends:
                            a. In compliance with the 2011 PBNDS, CCCC should immediately renovate the
                               kitchen’s excessively worn and damaged floors.
                    33. The low levels of cleanliness and sanitation found on the floors in Unit 900 and the SMU do
                        not comply with thw PBNDS, Environmental Health and Safety standard stating, “Facility
                        cleanliness shall be maintained at the highest level.” The floors should be maintained in a
                        clean manner with thorough sweeping and mopping, including along the floor and wall
                        junctures, and particularly under the beds and lockers, to further ensure standards compliance
                        requiring that, “Floors shall be mopped daily and when soiled.” (2011 PBNDS 1.2,
                        Environmental Health and Safety II.1, V.A.3.d) Related to this concern, CRCL’s
                        environmental health and safety expert recommends:
                            a.


                    34. Unit 900’s walls were found to be extremely soiled and unsanitary. Of particular concern, as
                        discussed in the above Medical Care section, the medical expert found a detainee who had
                        HIV and rectal bleeding in Unit 900 and noted that the soiled walls could contain hazardous
                        body fluids. This must be immediately addressed. (2011 PBNDS 1.2, Environmental Health
                        and Safety II.1, II. 2, II.11, V.A, V.D.4.b; 4.3, Medical Care V.C.4) Related to this concern,
                        CRCL’s environmental health and safety expert has the following three recommendations:
                            a. CCCC administrators should ensure that blood and bodily fluid spills are handled in
                               accordance with the 2011 PBNDS, Environmental Health and Safety standard stating,
                               “Spills of blood and body fluids shall be cleaned up and the surface decontaminated
                               in an appropriate manner to minimize the possibility of workers becoming exposed to
                               infectious organisms, including HIV and HBV.”
                            b.
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                            c. As highlighted by the above examples, CCCC must ensure the facility is able to
                               provide appropriate and timely clean-up by obtaining a suitable “cleanup kit,” as




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                                required by the 2011 PBNDS, Environmental Health and Safety standard, stating, “A
                                suitable cleanup kit shall be maintained for use in cases of spills of blood and body
                                fluids. Cleanup kits may be obtained from commercial sources or may be compiled
                                by Health Services Department (HSD) staff or the designated health care provider.”
                    35. Inspection of housing units and other facility areas, commonly revealed buildup of dust and
                        dirty grime in corners, along floors and wall junctures, and under beds and lockers. The
                        observed accumulations suggest a lack of appropriate cleaning at CCCC for several weeks, if
                        not considerably longer. (2011 PBNDS 1.2, Environmental Health and Safety II.1, II.2,
                        V.A.3, V.D.2, V.D.6.4.b) Related to this concern, CRCL’s environmental health and safety
                        expert has the following two recommendations:
                            a. CCCC should ensure cleanliness and sanitation compliance throughout the facility
                               where ICE detainees are housed, work, and participate in facility programs, by
                               adhering to Environmental Health and Safety standards that mandate thorough
                               cleaning and sanitation, minimizing the potential harm to detainees’ health.
                            b. When the facility’s soiled areas, including walls and floors, are appropriately cleaned
                               and brought into compliance with the PBNDS, the facility administrator should then
                               ensure they are maintained in sanitary condition, as required by the PBNDS stating,
                               “The facility administrator shall ensure that staff and detainees maintain a high
                               standard of facility sanitation and general cleanliness.” (2011 PBNDS 1.2,
                               Environmental Health and Safety V.A.3)
                    36. Potentially hazardous foods that were not consumed during meal periods were observed in
                        Unit 900, creating serious health and safety hazards for ICE detainees. The 2011 PBNDS
                        define potentially hazardous foods as “those foods that provide a good medium for bacteria
                        growth. They include any perishable food that consists in whole or part of milk, milk
                        products, eggs, meat, poultry, fish or shellfish or other high-protein foods.” Also, per the
                        standard: hot foods, such as scrambled eggs, should be maintained at a temperature of at least
                        140 F degrees (120 F degrees in food trays) and foods that require refrigeration, including
                        milk should be maintained at 41 F degrees or lower. (2011 PBNDS 4.1, Food Service
                        V.A.1.d, V.F.2.a, V.F.7, V.D.2.a.3) Related to this concern, CRCL’s environmental health
                        and safety expert recommends:
                            a. To ensure food safety, detainees should not be allowed to store potentially hazardous
                               foods at room temperature inside the housing units.
                    37. The food tray pass slots in the SMU’s cell doors were found to be extremely dirty. The build-
                        up of dirt and grime suggests they have not been cleaned, or have not been cleaned
                        effectively or consistently, as required by the 2011 PBNDS Food Service standard stating,
                        “Equipment surfaces not intended for contact with food, but located in places exposed to
                        splatters, spills, etc., require frequent cleaning.” (2011 PBNDS 4.1, Food Service II.1,
                        V.J.7.c.2) Related to this concern, CRCL’s environmental health and safety expert
                        recommends:
                            a. The SMU food tray pass slots should be thoroughly cleaned and maintained in a
                               sanitary manner, in compliance with the PBNDS.
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                    38. ICE detainees are using damaged pillows and mattresses at CCCC. Because damaged
                        bedding items do not allow for appropriate cleaning and sanitation, all cracked or torn



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                   coverings should be replaced to prevent the transfer of disease-causing pathogens between
                   detainees. The 2011 PBNDS, Personal Hygiene standard requires that, “Each detainee shall
                   have suitable, clean bedding.” (2011 PBNDS 1.2, Environmental Health and Safety II.1; 4.5,
                   Personal Hygiene II.2, V.A) Related to this concern, CRCL’s environmental health and
                   safety expert recommends:
                       a. All mattresses and pillows should be immediately inspected and replaced when
                          damage is observed, in compliance with the 2011 PBNDS.
                39. The CCCC barber area was unsanitary and not appropriately cleaned and the barber chair
                    was damaged, rendering it unable to be appropriately sanitized. (2011 PBNDS 1.2,
                    Environmental Health and Safety 1.2, V.E.2, V.E.3, V.E.4; 4.5, Personal Hygiene V.F)
                    Related to this concern, CRCL’s environmental health and safety expert has the following
                    two recommendations:
                       a. CCCC should ensure that all barber tools and supplies are properly cleaned and
                          disinfected after each use as mandated by the 2011 PBNDS, Environmental Health
                          and Safety standard, which states, “After each detainee visit, all hair care tools that
                          came in contact with the detainee shall be cleaned and effectively disinfected.”
                       b.




                40. Due to the importance of disinfection in barber operations, it is imperative that postings
                    regarding barber procedures correspond with the actual procedures employed at CCCC.
                    Related to this concern, CRCL’s environmental health and safety expert recommends:
                       a. Barber postings should comply with the 2011 PBNDS, Environmental Health and
                          Safety standard stating, “Detailed hair care sanitation regulations shall be
                          conspicuously posted in each barbershop for the use of all hair care personnel and
                          detainees” and “are actually followed at the facility.” (2011 PBNDS 1.2,
                          Environmental Health and Safety V.E.4)

                It is CRCL’s statutory role to advise department leadership and personnel about civil rights and
                civil liberties issues, ensuring respect for civil rights and civil liberties in policy decisions and
                implementation of those decisions. We look forward to working with ICE to determine the best
                way to resolve these complaints. You may send your response and action plan by email. If you
                have any questions, please contact Senior Policy Advisor                          by telephone at
                            or by email at

                Copies to:

                Tae Johnson
                Deputy Executive Associate Director
                Enforcement and Removal Operations
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                    Enclosures
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                                                                 APPENDIX A

                                               BEST PRACTICE RECOMMENDATIONS

                    Mental Health Care
                        1.

                        2.




                        3.
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                Date:    07/19/2022
                To:     Enter Name of BIA or Immigration Court I-830 BIA

                        Enter BIA or Immigration Court Three Letter Code@usdoj.gov BIA
                From: Enter Name of ICE Office ERO - Cibola County Detention Center

                        Enter Street Address of ICE Office 2000 Cibola Loop

                        Enter City, State and Zip Code of ICE Office Milan, New Mexico, 87201

                Respondent: Enter Respondent's Name        Bozkus, Serhat
                               Alien File No: Enter Respondent's Alien Number     220 712 429


                This is to notify you that this respondent is:
                    Currently incarcerated by federal, state or local authorities. A charging document has been served on the respondent and an
                Immigration Detainer-Notice of Action by the ICE (Form I-247) has been filed with the institution shown below. He/she is
                incarcerated at:
                Enter Name of Institution where Respondent is being detained

                Enter Street Address of Institution where Respondent is being detained
                Enter City, State and Zip code of Institution where Respondent is being detained

                Enter Respondent's Inmate Number
                His/her anticipated release date is Enter Respondent's Anticipated Release Date.
                      Detained by ICE on Enter Date Respondent was Detained by ICE at:

                Enter Name of ICE Detention Facility where Respondent is being detained
                Enter Street Address of ICE Detention Facility where Respondent is being detained


                Enter City, State and Zip Code of ICE Detention Facility where Respondent is being detained


                    Detained by ICE and transferred on Enter Date Respondent was transferred to: 07/19/2022
                Enter Name of ICE Detention Facility where Respondent has been transferred Denver Contract Detention Facility
                Enter Street Address of ICE Detention Facility where Respondent has been transferred 3130 Oakland Street


                Enter City, State and Zip Code of ICE Detention Facility where Respondent has been transferred Aurora, CO 80010


                      Released from ICE custody on the following condition(s):
                          Order of Supervision or Own Recognizance (Form I-220A)
                          Bond in the amount of Enter Dollar Amount of Respondent's Bond
                          Removed, Deported, or Excluded
                          Other


                Upon release from ICE custody, the respondent reported his/her address and telephone number would be:
                Enter Respondent's Street Address

                Enter Respondent's City, State and Zip Code
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                Enter Respondent's Telephone Number (including area code)
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                     I hereby certify that the respondent was provided an EOIR-33 Form and notified that they must inform the Immigration Court
                of any further change of address.
                ICE Official: Enter Your First, Last Name and Title Paul Bryant Deportation Officer

               ICE Form I-830E (9/09)                                                                                             270     6561 of 1
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                                                       CERTIFICATE OF SERVICE




                     BO      US, Serhat
                     A# 220-712-429



                        I, Metin Serbest, do herby certify that I have served a true and correct copy of the attached
                         Motion for Expedited Decision and Supporting Exhibits upon the following via E-service
                                                             portal of DHS/ICE:
                           El Paso Office of Chief Counsel, 11541 Montana Avenue Suite O, El Paso, TX, 79936

                     This 27th day of July, 2022




                     Metin Serbest, Esq.
                     Counsel for Respondent


                     Law Office of Metin Serbest
                     2200 E Devon Ave Ste 358
                     Des Plaines IL 60018
                     312-473-5500
                     773-337-5544 fa
                     contact     Serbestlaw.com
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